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                                                                     EXHIBIT

                              Deposition of:                            N


                              John Reagan


                                    Case:

              AMERICAN HOME ASSURANCE CO.

                                     vs

         MAKITA CORPORATION OF AMERICA, et al.
                                    Date:

                               5-10-2023
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  ·1
  ·2· · · · · In the United States District Court
  ·3· · · · · · ·Northern District of Indiana
  ·4· · · · · · · · · South Bend Division
  ·5
  ·6· · · · · AMERICAN ASSURANCE COMPANY, as Subrogee
  ·7· ·of FOREST RIVER, INC.,
  ·8
  ·9· · · · · · · · · · PLAINTIFF,
  10
  11· · · · · vs.· · · ·Cause No. 3:21-CV-00252-JD-MGG
  12
  13· · · · · MAKITA CORPORATION OF AMERICA and MAKITA
  14· ·U.S.A., INC.,
  15· · · · · · · · · · PLAINTIFF.
  16
  17· · · · · · · ·Videographic Zoom
  18· · · · · · · ·Deposition of JOHN REAGAN
  19· · · · · · · ·MAY 10, 2023
  20
  21· · · · · · · ·Margaret M. Perry, MO CSR
  22· · · · · · · · 360 LITIGATION SERVICES
  23· · · · · · · · · 1332 Strassner Road
  24· · · · · · · ·St. Louis, Missouri· 63144
  25· · · · · · · · · · ·(314) 394-2206

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  ·2· · · · · · ·Northern District of Indiana
  ·3· · · · · · · · · South Bend Division
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  ·8· · · · · · · · · · PLAINTIFF,
  ·9
  10· · · · · vs.· · · ·Cause No. 3:21-CV-00252-JD-MGG
  11
  12· · · · · MAKITA CORPORATION OF AMERICA and MAKITA
  13· ·U.S.A. , INC.,
  14
  15· · · · · · · · · · PLAINTIFF.
  16
  17· · · · · ·Videographic Zoom Deposition of JOHN
  18· ·REAGAN, taken on behalf of the PLAINTIFF, on MAY
  19· ·10, 2023, between the hours of 9:00 a.m. and
  20· ·3:53 p.m., before Margaret M. Perry, Missouri
  21· ·CCR #948.
  22
  23
  24
  25

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  ·1· ·APPEARANCES OF COUNSEL:
  ·2· · · · · ·For DEFENDANT:
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  11
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  21· · · · · ·Ms. Molly Hodge, Videographer
  22· · · · · ·360 Litigation Services
  23· · · · · ·1332 Strassner Road
  24· · · · · ·St. Louis, Missouri· 63144
  25· · · · · ·(314) 394-2206

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  ·1· · · · · · · · · · · · JOHN REAGAN,
  ·2· · · · · · of lawful age, having been first duly
  ·3· · ·sworn to testify the truth, the whole truth, and
  ·4· · ·nothing but the truth in the case aforesaid,
  ·5· · ·deposes and says in reply to oral
  ·6· · ·interrogatories propounded as follows, to-wit:
  ·7· · · · · · · · · · · · EXAMINATION
  ·8· · · · · · QUESTIONS BY MR. LESNICK:
  ·9· · · · · · VIDEOGRAPHER:· We are on the record at
  10· ·8:59 a.m. Central Standard Time.· Today's date is
  11· ·May 10th, 2023.· All parties are attending remotely
  12· ·via Zoom videoconferencing.· We are here for the
  13· ·deposition of John Reagan in the case of American
  14· ·Home Assurance Company, as Subrogee of Forest River
  15· ·Incorporated versus Makita Corporation of America,
  16· ·in the United States District Court, Northern
  17· ·District of Indiana, South Bend Division, Cause
  18· ·Number 3:21-CV-00252-JD-MGG.· My name is Molly
  19· ·Hodge.· I'm here today as the legal videographer,
  20· ·and we are joined by Peggy Perry.· We both
  21· ·represent 360 Litigation Services in St. Louis,
  22· ·Missouri.· Will counsel please state their
  23· ·appearances for the record beginning with the
  24· ·noticing party?
  25· · · · · · MR. LESNICK:· Ben Lesnick on behalf of the

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  ·1· ·plaintiff.
  ·2· · · · · · MR. BARTON:· Jon Barton and Megan Oliver
  ·3· ·on behalf of Makita.
  ·4· · · · · · VIDEOGRAPHER:· Will the Court Reporter
  ·5· ·please swear in the witness?
  ·6· · · · · · MR. BARTON:· Ben, before we get going, is
  ·7· ·there anybody else in the room with you or
  ·8· ·monitoring on your end?
  ·9· · · · · · MR. LESNICK:· No, there's not.· Is there
  10· ·anybody else in the room with you or monitoring on
  11· ·your end?
  12· · · · · · MR. BARTON:· Just Megan, John and myself.
  13· ·You're in a big room, I couldn't see you, so I
  14· ·wasn't sure, but thank you.
  15· · · ·Q.· ·Mr. Reagan, can you please state your name
  16· ·for the record?
  17· · · ·A.· ·John Reagan.
  18· · · ·Q.· ·Your understanding you're here to have
  19· ·your deposition taken?
  20· · · ·A.· ·Correct.
  21· · · ·Q.· ·Where are you currently located?
  22· · · ·A.· ·In St. Louis at Stanton Barton's office.
  23· · · ·Q.· ·Great.· Have you ever had your deposition
  24· ·taken before?
  25· · · ·A.· ·I have.

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  ·1· · · ·Q.· ·I'll briefly go over some ground rules
  ·2· ·just so we're on the same page.· I will try not to
  ·3· ·talk over you and I would just ask you try not to
  ·4· ·talk over me; is that understood?
  ·5· · · ·A.· ·That's understood.
  ·6· · · ·Q.· ·If I ask you a question you don't
  ·7· ·understand, just please let me know and I will do
  ·8· ·my best to rephrase it in a different manner, okay?
  ·9· · · ·A.· ·Okay.
  10· · · ·Q.· ·If you need a break at any time, feel free
  11· ·to take one.· I would just ask that if I have a
  12· ·question posed to you, you answer that question
  13· ·before we take the break, okay?
  14· · · ·A.· ·Understand.
  15· · · ·Q.· ·All right.· And before we get started, I
  16· ·just wanted to make a note for the record that we
  17· ·received two hard drives of your file, Mr. Reagan,
  18· ·one Friday afternoon, one Monday of this week,
  19· ·containing over 500 gigabytes of material that is
  20· ·alleged to have contained Mr. Reagan's entire file
  21· ·materials.· Given the short time, we haven't had --
  22· ·we're placing an objection that we haven't had
  23· ·adequate time to thoroughly review these documents
  24· ·and that we may request additional time to continue
  25· ·the deposition once all the documents on these hard

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  ·1· ·drives have been adequately reviewed.
  ·2· · · · · · MR. BARTON:· For the record, that's not
  ·3· ·all the materials you received that compose Mr.
  ·4· ·Reagan's file, but regardless, you've had adequate
  ·5· ·and ample time to review the materials.· The
  ·6· ·information contained on the hard drive is either
  ·7· ·material that you already possess, which is general
  ·8· ·and common knowledge in the case, including
  ·9· ·depositions and exhibits or CT scans, which your
  10· ·experts failed to take on their own despite having
  11· ·years and opportunity to do so, and testified under
  12· ·oath that they don't need CT scans of all of the
  13· ·cells and they elected not to CT scan the cell, and
  14· ·in fact, made their analysis based on x-rays of 20
  15· ·cells and then lost the x-rays or never procured
  16· ·them, and then selected four cells, which they
  17· ·elected to CT, and that was sufficient for them and
  18· ·that's all that they needed.· So, make whatever
  19· ·motion you need to after Mr. Reagan's deposition
  20· ·and the lawyers will, I'm sure, fight that issue.
  21· ·Thank you.
  22· · · ·Q.· ·All right.· John, I'm going to pull up --
  23· ·or Mr. Reagan, I'm going to -- would you prefer I
  24· ·call you John?· Mr. Reagan?· Does it matter?
  25· · · ·A.· ·No, it doesn't matter.· Either is fine.

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  ·1· · · ·Q.· ·All right.· Mr. Reagan, I'm going to be
  ·2· ·pulling up documents throughout this deposition I'm
  ·3· ·going to be marking as exhibits.· Obviously we're
  ·4· ·doing this not in person, but over Zoom, so if you
  ·5· ·have any technical difficulties like you can't see
  ·6· ·the item I've pulled up, if you can't hear me when
  ·7· ·I'm talking, any of those types of things, please
  ·8· ·let me know and we'll get that all figured out,
  ·9· ·okay?
  10· · · ·A.· ·Okay.
  11· · · ·Q.· ·All right.· I'm going to pull up and we're
  12· ·going to mark this as Exhibit 1.
  13· · · · · · ·(Plaintiff's Exhibit 1 marked for
  14· · · · · · · · · · ·identification.)
  15· · · ·Q.· ·You let me know when you've seen the item
  16· ·I pulled up on my screen.
  17· · · ·A.· ·Okay.· I have that, yes.
  18· · · ·Q.· ·Okay.· This is a document entitled Notice
  19· ·of Deposition Duces Tecum of John Reagan.· Do you
  20· ·recognize this document?
  21· · · ·A.· ·I do.
  22· · · ·Q.· ·Okay.· I'm going to scroll down to Page
  23· ·3 -- let me ask you this.· Did you receive this
  24· ·exhibit here, Exhibit 1?
  25· · · ·A.· ·Yes.

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  ·1· · · ·Q.· ·When did you receive this exhibit?
  ·2· · · ·A.· ·It was e-mailed to me, but I also -- I
  ·3· ·received a printed copy yesterday.
  ·4· · · ·Q.· ·Okay.· I'm going to scroll down to Page 3,
  ·5· ·which is Exhibit A, Schedule of Requested
  ·6· ·Documents.· Have you seen this list before --
  ·7· · · ·A.· ·I believe so.
  ·8· · · ·Q.· ·-- of items that was requested of you --
  ·9· ·I'm sorry.· Of items that was requested of you to
  10· ·bring to this deposition?
  11· · · ·A.· ·Yes, I believe so.
  12· · · ·Q.· ·Did you bring anything with you to this
  13· ·deposition today?
  14· · · ·A.· ·Not printed copies.· The only printed
  15· ·thing I have in front of me is the Schaefer
  16· ·Engineering report.· I also have a hard drive with
  17· ·me.
  18· · · ·Q.· ·What's on the hard drive?
  19· · · ·A.· ·It contains the file materials.
  20· · · ·Q.· ·All those file materials, were they
  21· ·produced to your attorney?
  22· · · ·A.· ·Yes, that's correct.
  23· · · ·Q.· ·Do you know if those file materials were
  24· ·produced to us?
  25· · · ·A.· ·I believe they were.· I mean, it's been

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  ·1· ·reported to me that they were.
  ·2· · · ·Q.· ·On this exhibit here, I just want to go
  ·3· ·over this list real quick to make sure that we've
  ·4· ·got everything that we've requested.· The first
  ·5· ·one, the first item here requests internal
  ·6· ·inspection report, root cause failure analysis
  ·7· ·report, investigation reports, et cetera.· Have you
  ·8· ·produced all documents responsive to this request?
  ·9· · · ·A.· ·I believe so.
  10· · · ·Q.· ·And we received just one report from you,
  11· ·are there any other reports you've authored in this
  12· ·matter related to the fire?
  13· · · ·A.· ·There are not.
  14· · · ·Q.· ·Request 2 asks for all statements obtained
  15· ·by you from any witness.· Did you obtain any
  16· ·statements from any witnesses in this case?
  17· · · ·A.· ·I have some witness statements that were
  18· ·produced in file materials from Midwest.· I also
  19· ·have deposition transcripts from the witnesses that
  20· ·were deposed in this matter.
  21· · · ·Q.· ·Other than those file materials, any other
  22· ·file -- I'm sorry.· Any other -- besides those
  23· ·witness statements, any other witness statements?
  24· · · ·A.· ·Not that come to mind, but obviously, I
  25· ·have a list of all the documents I've reviewed in

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  ·1· ·the procedure section of my report on Pages 3 and
  ·2· ·4.
  ·3· · · ·Q.· ·Okay.· I didn't see in that section that
  ·4· ·you actually obtained any yourself from any
  ·5· ·witnesses, any statements; is that correct?
  ·6· · · ·A.· ·I did not interview anyone directly,
  ·7· ·that's correct.
  ·8· · · ·Q.· ·Request 3 asks for all internal
  ·9· ·memorandum, correspondence and e-mail communication
  10· ·regarding this incident.· Have you produced all of
  11· ·that information to us?
  12· · · ·A.· ·I believe so, yes.
  13· · · ·Q.· ·I saw in your file materials that was
  14· ·provided to us a folder called Miscellaneous
  15· ·Correspondence.· Do you know what folder I'm
  16· ·talking about?
  17· · · ·A.· ·I do.
  18· · · ·Q.· ·Do you know why it's called Miscellaneous
  19· ·Correspondence?
  20· · · ·A.· ·That's what I titled it as.· It was a
  21· ·place holder where I could drag all the
  22· ·communications into.
  23· · · ·Q.· ·Okay.· Other than the communications in
  24· ·the Miscellaneous Correspondence folder that we
  25· ·saw, and I think there were a few others randomly

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  ·1· ·throughout your file, any other correspondence that
  ·2· ·you have related to this matter that wasn't
  ·3· ·produced to us?
  ·4· · · ·A.· ·Not that I can think of, no.
  ·5· · · ·Q.· ·Do you know if any communications were
  ·6· ·withheld on the basis of privilege?
  ·7· · · ·A.· ·No, I don't believe there was.
  ·8· · · ·Q.· ·Request Number 4 asks for all documents
  ·9· ·removed by you or at your direction from the
  10· ·premises after the incident in question.· Do you
  11· ·have any documents responsive to this request?
  12· · · ·A.· ·It's not clear to me what's meant by
  13· ·premises.· If you mean the premises where the fire
  14· ·occurred, I have no documents from that, from those
  15· ·premises.
  16· · · ·Q.· ·Number 5 asks for all photographs or
  17· ·videos of the premises five years before the
  18· ·incident in question.· Do you have any of those
  19· ·items?
  20· · · ·A.· ·I do not.· Other than -- other than what's
  21· ·produced in my report.· I mean, I have some aerial
  22· ·images from Google Earth, things of that nature,
  23· ·but I don't have any photographs from the building
  24· ·in question, other than what I could obtain from
  25· ·the internet over Google Earth or Google Street

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  ·1· ·Maps.
  ·2· · · ·Q.· ·Okay.· Number 6 asks for all documents
  ·3· ·evidencing the sale and/or purchase of any Makita
  ·4· ·battery-powered tools, batteries, battery charges
  ·5· ·that were inside the members at the time of the
  ·6· ·incident in question.· Do you have any documents
  ·7· ·responsive to that in your file?
  ·8· · · ·A.· ·I believe there are.· It was in the
  ·9· ·production from Forest River.
  10· · · ·Q.· ·So besides those documents, do you have
  11· ·any others?
  12· · · ·A.· ·I can't think of any others.
  13· · · ·Q.· ·Did you ever speak with Makita about
  14· ·obtaining such type documents?
  15· · · ·A.· ·No.
  16· · · ·Q.· ·Request 7 asks for all documents
  17· ·concerning any inspections, tests or examinations
  18· ·of the products at issue after the incident in
  19· ·question.· What inspections were performed by you
  20· ·or some other third party, did you produce all of
  21· ·those documents that are responsive to that to us?
  22· · · ·A.· ·I believe so, yes.
  23· · · ·Q.· ·Number 8 says produce all documents
  24· ·evidencing the manufacturer, date, sales or
  25· ·purchase of all battery-powered products or

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  ·1· ·batteries, chargers located in the tool crib at the
  ·2· ·time of the incident in question.· Do you have any
  ·3· ·documents responsive to that?
  ·4· · · ·A.· ·That would be the same Forest River
  ·5· ·production that I sent back to you.
  ·6· · · ·Q.· ·Number 9 asks for copies of all x-ray
  ·7· ·imaging and CT scans performed on the battery cells
  ·8· ·recovered from the premises.· Aside from the
  ·9· ·imaging from Mr. Eskra and Mr. Hackett, is there
  10· ·any other imaging that you have in your possession
  11· ·that's responsive to this request?
  12· · · ·A.· ·Yes, and we arranged to have all of the --
  13· ·all of the complete batteries imaged and that
  14· ·imaging was provided to you.
  15· · · ·Q.· ·That's the hard drive that we received
  16· ·Friday afternoon?
  17· · · ·A.· ·I can't comment on when you received it,
  18· ·but there was a separate hard drive created for
  19· ·that purpose.
  20· · · ·Q.· ·When did you provide that?· Did you
  21· ·provide that hard drive to your attorney?
  22· · · ·A.· ·I believe it was provided to them directly
  23· ·from the imaging facility.
  24· · · ·Q.· ·Do you know when they received that hard
  25· ·drive?

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  ·1· · · ·A.· ·No, you'll have to ask them.
  ·2· · · ·Q.· ·Do you know when that imaging -- the
  ·3· ·imaging facility created the hard drive?
  ·4· · · ·A.· ·In a general sense, yes.
  ·5· · · ·Q.· ·Okay.· What's your general sense on that?
  ·6· · · ·A.· ·As soon as the scans were completed.
  ·7· · · ·Q.· ·Sorry?
  ·8· · · ·A.· ·As soon as the imaging scans were
  ·9· ·completed.
  10· · · ·Q.· ·Do you know what date that was?
  11· · · ·A.· ·No, not specifically.· It was over
  12· ·multiple days.
  13· · · ·Q.· ·Was that in the month of April?
  14· · · ·A.· ·I believe so.
  15· · · ·Q.· ·Did you review the hard drive that was
  16· ·sent to us before we received it regarding all of
  17· ·the CT scans?
  18· · · ·A.· ·I did not review that particular hard
  19· ·drive.· I reviewed a second version of the hard
  20· ·drive that was sent to my office.
  21· · · ·Q.· ·The CT scans we received, they didn't come
  22· ·from you, they came from a third party?
  23· · · ·A.· ·Well, the imaging was done by a third
  24· ·party, that's correct.
  25· · · ·Q.· ·All right.· Number 10 asks for all

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  ·1· ·communications between you and any attorneys
  ·2· ·representing Makita Corporation, Makita USA, Inc.,
  ·3· ·in this matter, including but not limited to any
  ·4· ·attorneys at Stanton & Barton.· Did you provide all
  ·5· ·communications responsive to this request?
  ·6· · · ·A.· ·I believe so, yes.
  ·7· · · ·Q.· ·I don't want to nitpick, you said you
  ·8· ·believe so, are there something.· Is it -- are you
  ·9· ·100 percent certain you did or --
  10· · · ·A.· ·I produced everything that I have in my
  11· ·possession.
  12· · · ·Q.· ·Okay.· Number 11, similar communications
  13· ·and correspondence between you and any agents,
  14· ·representatives of Makita concerning the product at
  15· ·issue and the incident in question.· Did you
  16· ·produce all documents responsive to that?
  17· · · ·A.· ·I don't believe there are any, but if I
  18· ·had anything along those lines, I would have
  19· ·produced it.
  20· · · ·Q.· ·Okay.· Number 12, communications between
  21· ·you and fire or police departments concerning the
  22· ·incident in question.· Do you have any documents
  23· ·responsive to that request?
  24· · · ·A.· ·I have the fire and police department
  25· ·documents that were produced.· Those were obtained

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  ·1· ·by others and provided to me.
  ·2· · · ·Q.· ·So nothing you've communicated with
  ·3· ·between those entities, correct?
  ·4· · · ·A.· ·Not directly, that's correct.
  ·5· · · ·Q.· ·Copy of all peer-reviewed scientific
  ·6· ·articles published by you that contain your
  ·7· ·methodology for determining when a lithium-ion
  ·8· ·battery cell is a cause of a fire as opposed to
  ·9· ·having been attacked by a fire.· Do you have any
  10· ·documents responsive to this request?
  11· · · ·A.· ·No, I do not.
  12· · · ·Q.· ·Copy of any other published document,
  13· ·whether peer-reviewed or not, that contains your
  14· ·methodology for determining whether a battery cell
  15· ·is the cause of the fire or has been attacked by
  16· ·the fire.· Do you have any documents responsive to
  17· ·this request?
  18· · · ·A.· ·Other than my report, no.
  19· · · ·Q.· ·15 asks for all photographs, videotapes,
  20· ·reports, et cetera, generated by you or your staff,
  21· ·received by you or your staff, in connection with
  22· ·employment in this case.· Did you produce all
  23· ·documents responsive to Number 15?
  24· · · ·A.· ·Yes.
  25· · · ·Q.· ·16, computer print-outs, diagrams, graphs,

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  ·1· ·photographs, animations, images or videos prepared
  ·2· ·by you or at your request or by you or that have
  ·3· ·been or will be used by you in connection with any
  ·4· ·aspect of this case.· Have you produced all
  ·5· ·documents responsive to this request?
  ·6· · · ·A.· ·Yes.
  ·7· · · ·Q.· ·17 asks for any exemplars used that were
  ·8· ·relied upon in connection with your opinions,
  ·9· ·including any documents evidencing your acquisition
  10· ·of any exemplars.· Do you have any documents or
  11· ·items responsive to this request in your file?
  12· · · ·A.· ·Yes.· So I did examine the exemplar items
  13· ·that were available at Midwest, and documentation
  14· ·is included in the file materials produced.
  15· · · ·Q.· ·The documentation, your notes from that
  16· ·inspection?
  17· · · ·A.· ·Notes and photographs.
  18· · · ·Q.· ·Besides notes and photographs, anything
  19· ·else?
  20· · · ·A.· ·No.
  21· · · ·Q.· ·18, copies of any reports including drafts
  22· ·prepared by you or furnished to counsel.· Do you
  23· ·have any -- other than the report we received, any
  24· ·other documents responsive to that request?
  25· · · ·A.· ·No.

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  ·1· · · ·Q.· ·19, copies of work sheets, schedules or
  ·2· ·questionnaires completed by the defendants, that's
  ·3· ·Makita, their representatives or any other
  ·4· ·individuals, which was provided to you in
  ·5· ·conjunction with this matter.· Do you have any
  ·6· ·documents responsive to that request?
  ·7· · · ·A.· ·I don't believe so.
  ·8· · · ·Q.· ·Okay.· I think we've talked about 20.· 21,
  ·9· ·is asking for all documents in the file you
  10· ·maintained.· You've produced all of those
  11· ·documents, correct?
  12· · · ·A.· ·That's correct.
  13· · · ·Q.· ·22, asks for all -- any and all notes,
  14· ·calculations or other data prepared by you or
  15· ·others in your office that were used in formulating
  16· ·your opinions that were relied upon in connection
  17· ·with this case.· Did you produce all documents
  18· ·responsive to that request?
  19· · · ·A.· ·Yes.
  20· · · ·Q.· ·Okay.· 23, payment records, time sheets,
  21· ·invoices and billing records indicating the time
  22· ·spent on your work in this case and the hourly
  23· ·charge.· Did you produce those documents?
  24· · · ·A.· ·I believe so, yes.
  25· · · ·Q.· ·So we received invoices, I didn't receive

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  ·1· ·any time sheets or billing records.· Do you keep
  ·2· ·time sheets or billing records for your work?
  ·3· · · ·A.· ·Not separate from the invoices, no.· It's
  ·4· ·all contained in one system.
  ·5· · · ·Q.· ·Is it -- I guess, how is it contained in
  ·6· ·one system?· Do you just type it into an invoice
  ·7· ·and then move on to the next line item?
  ·8· · · ·A.· ·I enter it into the database and the
  ·9· ·invoices are generated from the database.
  10· · · ·Q.· ·And what database is that?
  11· · · ·A.· ·I believe it's called Virtual Project
  12· ·Management, VPM.
  13· · · ·Q.· ·And then how is time entered into that
  14· ·database?
  15· · · ·A.· ·In tenths increments, if that's what you
  16· ·mean.
  17· · · ·Q.· ·Is there a description of the work that's
  18· ·done that you have to enter?
  19· · · ·A.· ·Any descriptors that are in the program
  20· ·are contained on the invoices.
  21· · · ·Q.· ·You have to enter the descriptor when
  22· ·you're entering your time?
  23· · · ·A.· ·No, so it's a pull-down menu.· For
  24· ·example, you might see -- you might see a line item
  25· ·in there 202.· Line item 202 gets you bench

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  ·1· ·examination, for example, or laboratory
  ·2· ·examination.
  ·3· · · ·Q.· ·And how do you keep track of the time that
  ·4· ·you enter into the time sheet -- or into the
  ·5· ·database?
  ·6· · · ·A.· ·I enter it as I go.
  ·7· · · ·Q.· ·There's no written notes that say, "Hey, I
  ·8· ·worked .5 on this today.· I worked .3 on something
  ·9· ·else"?
  10· · · ·A.· ·Well, there is, but it's contained in
  11· ·the -- I mean, I put that into the database as it
  12· ·occurs, so for example, if I were to travel today
  13· ·to Indiana to do an examination, when I return
  14· ·tomorrow, I would first thing in the morning put
  15· ·that into the system.
  16· · · ·Q.· ·You keep it all up in your head in order
  17· ·to remember how much time you spent on something?
  18· · · ·A.· ·Well, yeah, I mean, for the 24-hour
  19· ·period, sure.
  20· · · ·Q.· ·Number 24 asks for reports of any other
  21· ·experts which you have read and used in formulating
  22· ·any opinions in connection with this matter.· Did
  23· ·you read any reports of any experts that you used
  24· ·in formulating any opinions in this matter?
  25· · · ·A.· ·I read the plaintiff experts Johnson,

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  ·1· ·Hackett and Eskra prior to authoring my report.
  ·2· · · ·Q.· ·Other than those, any other reports that
  ·3· ·you relied on?
  ·4· · · ·A.· ·No.
  ·5· · · ·Q.· ·25 asks for any publications, treatises,
  ·6· ·textbooks, manuals or other documents used as
  ·7· ·reference by you in connection with this case, not
  ·8· ·limited to any peer-reviewed article setting forth
  ·9· ·criteria for determining when a lithium-ion battery
  10· ·cell has been attached by a fire as opposed to
  11· ·causing a fire.· Did you produce all responsive
  12· ·documents to this request?
  13· · · ·A.· ·No.· I mean, for example, I have NFPA-921
  14· ·is a document that I reference in my report.· I've
  15· ·not produced to you a copy of NFPA-921, so there
  16· ·are some documents like that that are not produced
  17· ·because they really aren't in my file.· They're on
  18· ·my shelves.
  19· · · ·Q.· ·What other documents besides that,
  20· ·NFPA-921?
  21· · · ·A.· ·For example, Kirk's Fire Investigation
  22· ·Handbook, which is a document that's readily
  23· ·available, Linden's Handbook of Batteries.· Some of
  24· ·these other reference materials that I have on my
  25· ·shelves, I've not sent those books to you.

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  ·1· · · ·Q.· ·You're reading off the list that's in Page
  ·2· ·4 of your report under "other"?
  ·3· · · ·A.· ·Correct.
  ·4· · · ·Q.· ·Is there specific sections of some of
  ·5· ·these reference documents that you relied upon?
  ·6· · · ·A.· ·Well, it certainly depends what questions
  ·7· ·are asked, but to prepare the report, from the
  ·8· ·other lists, let me look through that quickly.· No,
  ·9· ·I don't believe so.· I don't think I have any
  10· ·specific reliance on any of those items for the
  11· ·opinions in my report.
  12· · · ·Q.· ·Okay.· So then what type of reliance do
  13· ·you have on those items?
  14· · · ·A.· ·Well, they contribute to my general
  15· ·knowledge that was used in formulation of the
  16· ·opinions in this matter.
  17· · · ·Q.· ·Okay.· And how so?· What's in them -- what
  18· ·sections contribute to your general knowledge?
  19· · · ·A.· ·Well, for example, Linden's Handbook of
  20· ·Batteries, which is the third item on the list, has
  21· ·a large section on lithium-ion batteries, for
  22· ·example.
  23· · · ·Q.· ·Okay.· What's contained in that section
  24· ·that's relevant to this case?
  25· · · ·A.· ·Well, relative to my opinions that are

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  ·1· ·contained in my report, I don't believe any, but
  ·2· ·relative to my general knowledge of lithium-ion
  ·3· ·batteries, it provides a kind of a history of the
  ·4· ·development of the battery and some of the design
  ·5· ·features that are included in the battery.
  ·6· · · ·Q.· ·Is the history of the development of the
  ·7· ·battery relevant to your opinions in this case?
  ·8· · · ·A.· ·I don't believe so, not directly, not as
  ·9· ·contained in my report.· However, it depends on
  10· ·what questions are asked of me.
  11· · · ·Q.· ·Okay.· I can only ask you questions about
  12· ·what's in your report, so you're saying there's
  13· ·nothing in your report that makes any reference to
  14· ·that document in any sense, Linden's Handbook of
  15· ·Batteries?
  16· · · · · · MR. BARTON:· Object to form.· Misstates
  17· ·his testimony.· Go ahead.
  18· · · ·A.· ·Again, as I said, it provides a general
  19· ·knowledge, my general knowledge of the products
  20· ·that are being discussed in this matter.
  21· · · ·Q.· ·(By Mr. Lesnick) So?
  22· · · ·A.· ·So depending on what questions are asked
  23· ·will dictate what, if any, of those portions of
  24· ·those documents I'll refer to.
  25· · · ·Q.· ·All right.· Let me pull up that report

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  ·1· ·real quick.· We're going to mark it as Exhibit 2,
  ·2· ·your report.
  ·3· · · · · · ·(Plaintiff's Exhibit 2 marked for
  ·4· · · · · · · · · · ·identification.)
  ·5· · · ·Q.· ·You let me know when you're seeing the
  ·6· ·document I've just pulled up.
  ·7· · · ·A.· ·I can see the cover page.
  ·8· · · ·Q.· ·Okay.· 263 pages, correct?
  ·9· · · ·A.· ·That appears to be correct.
  10· · · ·Q.· ·Okay.· This is the report you authored and
  11· ·produced in this case; is that correct?
  12· · · ·A.· ·It appears to be, yes.
  13· · · · · · MR. BARTON:· Hey, Ben, can you blow up
  14· ·that window or enlarge the window?· The far right.
  15· ·Far right.· Keep going up.· Up.· Up.· Up.· To the
  16· ·far, you know, make it fill the whole screen, yes.
  17· · · ·Q.· ·(By Mr. Lesnick) Are you able to see this?
  18· ·My problem is I can't see you now, so give me a
  19· ·second.
  20· · · · · · MR. BARTON:· I promise, I'm not doing
  21· ·anything bad.
  22· · · · · · MR. LESNICK:· Give me a second here.· Give
  23· ·me a second, sorry.· Let me try sharing that again.
  24· ·Is that better?
  25· · · · · · MR. BARTON:· Yes.

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  ·1· · · ·Q.· ·(By Mr. Lesnick) Okay.· We're marking this
  ·2· ·as Plaintiff's Exhibit 2 for Mr. Reagan's
  ·3· ·deposition.· I'm going to scroll down here to Page
  ·4· ·4, which is the area I think we were talking about,
  ·5· ·right?· This "other" section?
  ·6· · · ·A.· ·Right.
  ·7· · · ·Q.· ·And this "other" section contains what?
  ·8· · · ·A.· ·And above it, you know, I mentioned -- I
  ·9· ·mentioned the codes and standards, for example, I
  10· ·don't -- I didn't send you a copy of NFPA-921,
  11· ·which is in J above.
  12· · · ·Q.· ·Okay.· So the codes and standards and
  13· ·others, none of this was produced to us?· None of
  14· ·these documents?
  15· · · ·A.· ·I did not send you copyrighted material
  16· ·such as NFPA-921, that's correct.
  17· · · ·Q.· ·But under Section K, "other", none of this
  18· ·was produced to us as well, correct?
  19· · · ·A.· ·I don't believe so.· That's correct.
  20· · · ·Q.· ·I think we talked about Number 3 here,
  21· ·which is Linden's handbook of batteries, that you
  22· ·generally relied on that, but you can't point me to
  23· ·a specific section of that book that you
  24· ·specifically relied on; is that fair?
  25· · · · · · MR. BARTON:· Object to form.· Misstates

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  ·1· ·his testimony on multiple occasions, and compound.
  ·2· ·Go ahead.
  ·3· · · ·A.· ·So what I said about that book is that it
  ·4· ·contributes to my general knowledge regarding some
  ·5· ·of the products that are being discussed in this
  ·6· ·matter.· I don't believe I have any specific -- I
  ·7· ·don't have any specific reference to it in my
  ·8· ·report other than it's listed as a document that
  ·9· ·contributes to my general knowledge of lithium-ion
  10· ·batteries.
  11· · · ·Q.· ·(By Mr. Lesnick) Why do you need a general
  12· ·knowledge of lithium-ion batteries for this matter?
  13· · · ·A.· ·Well, the plaintiff experts have alleged
  14· ·that a lithium-ion battery was the ignition -- both
  15· ·the ignition source and cause for this fire.
  16· · · ·Q.· ·Is there anything on here that provides a
  17· ·specific knowledge of your understanding of
  18· ·lithium-ion batteries as alleged by plaintiff's
  19· ·experts in this matter?
  20· · · · · · MR. BARTON:· Object to form.· Vague.
  21· ·Compound.
  22· · · ·A.· ·I don't understand the question either.
  23· · · ·Q.· ·(By Mr. Lesnick) So you're saying this
  24· ·provides a general knowledge, that Linden's
  25· ·Handbook, because of the allegations made by

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  ·1· ·plaintiff's expert regarding lithium-ion batteries,
  ·2· ·correct?
  ·3· · · ·A.· ·Correct.
  ·4· · · ·Q.· ·Okay.· So is there any item that's listed
  ·5· ·here that provides more specific information about
  ·6· ·your knowledge -- or let me rephrase that.· Is
  ·7· ·there any document on here that provides more
  ·8· ·specific information that relates to your opinions
  ·9· ·in this matter?
  10· · · · · · MR. BARTON:· Object to form.· Vague and
  11· ·compound.· Go ahead.
  12· · · ·A.· ·Again my opinions in this matter will be
  13· ·dictated by what questions are asked.· I have not
  14· ·referenced specifically in the text of my report
  15· ·any of these items, in part, because there are no
  16· ·batteries in the area of origin, and so we'll get
  17· ·to those opinions, I'm sure, but because there are
  18· ·no batteries in the area of origin, some of these
  19· ·details really aren't relevant and don't deserve a
  20· ·deep dive, but if at some point there are questions
  21· ·asked where we do need to do a deep dive on some of
  22· ·these issues, then I may refer to some of those
  23· ·reference materials as needed.
  24· · · ·Q.· ·(By Mr. Lesnick) If I'm asking you a
  25· ·question that refers to some of these -- that you

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  ·1· ·need to refer to some of these reference material,
  ·2· ·they haven't been produced to us, though, for us to
  ·3· ·see if what you're referring to is accurate, right?
  ·4· · · · · · MR. BARTON:· Objection.· Vague.· Compound.
  ·5· ·Argumentative.· Go ahead.
  ·6· · · ·A.· ·You're correct.· I did not send you a copy
  ·7· ·of Linden's Handbook of Batteries, but it's a
  ·8· ·commercially available book that is copyrighted.                               I
  ·9· ·can't -- I'm not going to buy you a copy.
  10· · · ·Q.· ·(By Mr. Lesnick) Okay.· What about this
  11· ·first one, Lithium Ion Batteries Safety For
  12· ·Consumers, National Fire Protection Association,
  13· ·what's that document?
  14· · · ·A.· ·It is a document produced by NFPA and you
  15· ·can go -- I give the website reference there,
  16· ·NFPA.org/education.· If you go to that
  17· ·NFPA.org/education, you'll find that document
  18· ·there.
  19· · · ·Q.· ·Okay.· DeHaan's Kirk's Fire Investigation,
  20· ·what is this document?
  21· · · ·A.· ·It's a common reference that's used in the
  22· ·fire investigation industry.· I reference the
  23· ·Seventh Edition there.
  24· · · ·Q.· ·Okay.· Number 4, this Lithium Ion Battery
  25· ·Hazard and Use and Assessment, what type of

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  ·1· ·document is that?
  ·2· · · ·A.· ·That's a -- it's a paper put out by the
  ·3· ·Fire Protection Research Foundation.
  ·4· · · ·Q.· ·Is that publicly available?
  ·5· · · ·A.· ·It is.
  ·6· · · ·Q.· ·Number 5, Examination of Arc Beads, what
  ·7· ·type of document is that?
  ·8· · · ·A.· ·That is a trade -- it's an article in a
  ·9· ·trade publications.
  10· · · ·Q.· ·Okay.· And why is that article referenced
  11· ·in your report?
  12· · · ·A.· ·I'm sure we'll get to my opinions in the
  13· ·matter, but if you -- Number 5 is a method that was
  14· ·at one point hypothesized as being a valid method
  15· ·for determining which arc on a particular wire was
  16· ·the cause of a fire and which one was the result of
  17· ·the fire, similar to -- similar to Mr. Eskra's
  18· ·hypothesized methodology where you can decipher one
  19· ·from the other, and this particular methodology,
  20· ·this Auger Spectroscopy was actually ultimately
  21· ·determined to be an invalid hypothesis.
  22· · · ·Q.· ·Is that document publicly available
  23· ·online?
  24· · · ·A.· ·It is.
  25· · · ·Q.· ·Okay.· I want to go back to Number 4,

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  ·1· ·though.· I forgot to ask.· Lithium Ion Batteries
  ·2· ·Hazard and Use Assessment, what is that article
  ·3· ·about?
  ·4· · · ·A.· ·I think we covered that, but that is --
  ·5· ·it's a Fire Protection Research Foundation-funded
  ·6· ·endeavor to look at some of the hazards associated
  ·7· ·with use and transportation of lithium-ion
  ·8· ·batteries.
  ·9· · · ·Q.· ·What is the relevance of that article to
  10· ·this case?
  11· · · ·A.· ·Well, it has some nice excerpts in it
  12· ·regarding the design and abuses of lithium-ion
  13· ·batteries.
  14· · · ·Q.· ·What excerpts are helpful for your
  15· ·purposes, I guess, of this case?
  16· · · ·A.· ·Specific to the opinions contained in my
  17· ·report, none, but to my general knowledge of
  18· ·lithium-ion batteries, it provides a basis for
  19· ·that.
  20· · · ·Q.· ·Okay.· Number 6, article by Mr. Hoffman,
  21· ·Beyond Tea Leaves Using Arc Mapping to Pinpoint
  22· ·Origin and Cause of a Fire.· What's that document?
  23· · · ·A.· ·Just what it says.· It discusses arc
  24· ·mapping and the reliability determining what
  25· ·anomalies on wires are arcs and which ones aren't.

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  ·1· ·Similar use to Number 5 on that list.
  ·2· · · ·Q.· ·Is that a publicly available document?
  ·3· · · ·A.· ·Yes.
  ·4· · · ·Q.· ·Number 7, Finnegan, In-Operandi High-Speed
  ·5· ·Tomography of Lithium Ion Batteries During Thermal
  ·6· ·Runaway.· Is that a peer-reviewed article?
  ·7· · · ·A.· ·I believe it is, yes.
  ·8· · · ·Q.· ·Okay.· What's the contents -- let me ask
  ·9· ·it differently.· What's the relevance of that
  10· ·article to this matter?
  11· · · ·A.· ·Again, it contributes to my general
  12· ·knowledge of lithium-ion batteries.
  13· · · ·Q.· ·Is there anything specific in that article
  14· ·that you're thinking about that contributes to your
  15· ·general knowledge?
  16· · · ·A.· ·No.
  17· · · ·Q.· ·What's that article about?
  18· · · ·A.· ·It's a -- some testing that was done by
  19· ·Finnegan and it shows thermal runaway of a
  20· ·lithium-ion battery.
  21· · · ·Q.· ·Does it show what causes thermal runway?
  22· · · ·A.· ·No.· It shows what happens to the battery
  23· ·internally when one is artificially created.
  24· · · ·Q.· ·Number 8, Ignition Handbook, Fire and
  25· ·Science Publishers.· What is the relevance of that

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  ·1· ·document to this matter?
  ·2· · · ·A.· ·That's about a four-inch thick book.· It
  ·3· ·costs about 700 bucks.· It's commercially available
  ·4· ·and it provides a broad range of topics.· It's
  ·5· ·probably the largest single collection of fire
  ·6· ·investigation topics that I'm aware of.
  ·7· · · ·Q.· ·Is there any specific portion of that
  ·8· ·handbook that you relied upon for this matter?
  ·9· · · ·A.· ·None that are referenced in my report.
  10· · · ·Q.· ·Any that are not referenced in your report
  11· ·that you relied upon?
  12· · · · · · MR. BARTON:· Objection.· Vague.
  13· · · ·A.· ·It depends on what questions are asked of
  14· ·me.· If I need to refer to that book, I may, but in
  15· ·order to -- in order to discuss the opinions that
  16· ·are contained in my report, I do not need to
  17· ·reference that document.
  18· · · ·Q.· ·(By Mr. Lesnick) For all of these other
  19· ·documents that are listed here, none of them are
  20· ·referenced anywhere in your report other than this
  21· ·section, correct?
  22· · · · · · MR. BARTON:· Objection.· Vague.· Go ahead.
  23· · · ·A.· ·Not that I recall.
  24· · · ·Q.· ·(By Mr. Lesnick) Is that because your
  25· ·opinions in your report, I'm not talking about

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  ·1· ·questions I'm asking you now, but the opinions in
  ·2· ·your report don't utilize these documents to form
  ·3· ·your opinions?
  ·4· · · ·A.· ·Again, my general knowledge of batteries,
  ·5· ·some of that is formed from the knowledge and data
  ·6· ·that's contained in these documents.· To that end,
  ·7· ·some of the opinions in my report from my general
  ·8· ·knowledge may reflect from those documents, but
  ·9· ·again, the specific opinions don't rely on any
  10· ·particular section of these documents.
  11· · · ·Q.· ·Any other documents other than what's
  12· ·listed under J and K that provided you general
  13· ·knowledge to form your opinions in this matter?
  14· · · ·A.· ·I don't believe so.
  15· · · ·Q.· ·Let's go back to -- we were on Exhibit 1.
  16· ·Let me know when you see this document back up on
  17· ·your screen.
  18· · · ·A.· ·Okay.
  19· · · ·Q.· ·Number 26 requested for any and all
  20· ·testing relied upon by you to establish criteria
  21· ·for determining when a lithium-ion battery cell has
  22· ·been attacked by a fire as opposed to causing the
  23· ·fire.· Did you produce any documents responsive to
  24· ·that request?
  25· · · ·A.· ·I don't believe so.· I don't have any.

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  ·1· · · ·Q.· ·Do you have any?
  ·2· · · ·A.· ·I don't believe I have any.
  ·3· · · ·Q.· ·Did you do any testing of any of the
  ·4· ·products in this matter?
  ·5· · · ·A.· ·I did visual examination of many of the
  ·6· ·products in this matter and I also did some testing
  ·7· ·of the exemplars that were produced for my
  ·8· ·examination at Midwest.
  ·9· · · ·Q.· ·Number 27 asks for any memorandum which
  10· ·was prepared by the attorney engaging you,
  11· ·investigator or paralegal in connection with the
  12· ·case upon which you rely in forming your opinions.
  13· ·Do you have any documents responsive to this
  14· ·request?
  15· · · ·A.· ·Let me read that again, please.· No, other
  16· ·than transmittals, I can't think of any and I've
  17· ·produced all of those to the extent that I -- yeah,
  18· ·to the extent that I received any transmittals,
  19· ·many of the documents I received were from a share
  20· ·file site.
  21· · · ·Q.· ·Okay.· 28, any other document or writing
  22· ·of any kind or description which you have viewed in
  23· ·formulating your opinion or opinions in connection
  24· ·with this case.· Did you produce all documents
  25· ·responsive to that request?

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  ·1· · · ·A.· ·I believe so, yes.
  ·2· · · ·Q.· ·You produced your resume with your report,
  ·3· ·correct?
  ·4· · · ·A.· ·I did, yes.
  ·5· · · ·Q.· ·You produced all of your notes that you
  ·6· ·took while contemplating or reaching your opinions
  ·7· ·in this case; is that correct?
  ·8· · · ·A.· ·I believe so, yes.
  ·9· · · ·Q.· ·Did you take any notes during any meetings
  10· ·with Makita or your attorneys?
  11· · · ·A.· ·There were no meetings with Makita, and I
  12· ·did not have any notes from any meetings with
  13· ·Stanton Barton.
  14· · · ·Q.· ·You provide a listing of all the cases
  15· ·that you've given testimony in deposition or trial
  16· ·in the last four years; is that correct?
  17· · · ·A.· ·Correct.
  18· · · ·Q.· ·Any documents you're aware of being
  19· ·withheld on the basis of privilege that were in
  20· ·your file?
  21· · · ·A.· ·I don't believe so.
  22· · · ·Q.· ·Okay.· Let me go back to Exhibit 2, which
  23· ·is your report.· I'm going to scroll far down to
  24· ·Page 254.· Do you see Page 254 on the screen?
  25· · · ·A.· ·I do.

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  ·1· · · ·Q.· ·So this says Professional Resume of John
  ·2· ·T. Reagan.· If I scroll down to Page 255 of Exhibit
  ·3· ·2, it looks like this is your resume; is that
  ·4· ·correct?
  ·5· · · ·A.· ·That's correct.
  ·6· · · ·Q.· ·It's five pages; is that correct?
  ·7· · · ·A.· ·That's correct.
  ·8· · · ·Q.· ·It's dated January 2023.· Have you made
  ·9· ·any edits to your resume since January of 2023?
  10· · · ·A.· ·Yes.
  11· · · ·Q.· ·You said yes?
  12· · · ·A.· ·Yes.
  13· · · ·Q.· ·What edits to your resume have you made
  14· ·since that time?
  15· · · ·A.· ·Additional training.
  16· · · ·Q.· ·Is that -- under which section would that
  17· ·be under, continuing education?
  18· · · ·A.· ·Correct.
  19· · · ·Q.· ·What additional training have you
  20· ·undergone since that time?
  21· · · ·A.· ·I'm required to take an annual asbestos
  22· ·and operations refresher and that was completed.
  23· · · ·Q.· ·Other than that, any other additional
  24· ·training?
  25· · · ·A.· ·Not that I can think of.

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  ·1· · · ·Q.· ·Other than that addition, any other
  ·2· ·additions or changes that you need to make to your
  ·3· ·resume since January 2023?
  ·4· · · ·A.· ·Not that I'm aware of.
  ·5· · · ·Q.· ·It said you've worked at Schaefer
  ·6· ·Engineering since 2003; is that correct?
  ·7· · · ·A.· ·That's correct.
  ·8· · · ·Q.· ·You haven't had any other jobs since then?
  ·9· · · ·A.· ·No.
  10· · · ·Q.· ·You haven't worked two jobs at once since
  11· ·you've been at Schaefer Engineering?
  12· · · ·A.· ·No.
  13· · · ·Q.· ·Page 3 of your resume under continuing
  14· ·education, 2021, it says you attended the IAAI-CFI
  15· ·Trainer Lithium Ion Batteries Fires, do you see
  16· ·that item there?
  17· · · ·A.· ·I do.
  18· · · ·Q.· ·What was that continuing education about?
  19· · · ·A.· ·Just like the title says, it's a general
  20· ·overview of lithium-ion battery fires.
  21· · · ·Q.· ·Is it -- did it discuss -- did it involve
  22· ·how to analyze lithium-ion batteries?
  23· · · ·A.· ·I don't recall the content, all content of
  24· ·that.
  25· · · ·Q.· ·What do you recall from that one?

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  ·1· · · ·A.· ·As I sit here, not much.
  ·2· · · ·Q.· ·Okay.· Underneath it has the DRI Advance
  ·3· ·Failure Analysis of Lithium Ion Batteries.· What
  ·4· ·does DRI stand for?
  ·5· · · ·A.· ·Defense Research Institute.
  ·6· · · ·Q.· ·Who puts on the Defense Research -- what
  ·7· ·is the Defense Research Institute?· What type of
  ·8· ·group is that?
  ·9· · · ·A.· ·I believe it's a group of defense-oriented
  10· ·folks.
  11· · · ·Q.· ·Defense-oriented, you mean, like, defense
  12· ·attorneys?
  13· · · ·A.· ·Defense attorneys, experts, yes.
  14· · · ·Q.· ·And this Advanced Failure Analysis of
  15· ·Lithium Ion Batteries, what was this continuing
  16· ·education about?
  17· · · ·A.· ·It was about considerations that deal with
  18· ·when you're looking at battery fires.
  19· · · ·Q.· ·Did it involve the analysis of lithium-ion
  20· ·battery cells themselves?
  21· · · ·A.· ·I don't recall all the content --
  22· ·actually, I don't recall much content of it.· That
  23· ·was two years ago.
  24· · · ·Q.· ·And then, if I keep scrolling down here,
  25· ·at the top of Page 4, in 2021, there's an ASM 3-D

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  ·1· ·Imaging of Lithium Ion Batteries; do you see that?
  ·2· · · ·A.· ·I do.
  ·3· · · ·Q.· ·What does ASM stand for?
  ·4· · · ·A.· ·I don't recall.· I don't know if it's
  ·5· ·ASTM, that may be a typo there, which used to have
  ·6· ·an acronym to it, but this was a program just
  ·7· ·really highlighting the value of conducting a 3-D
  ·8· ·imaging.
  ·9· · · ·Q.· ·What about it -- the value did it
  10· ·highlight?
  11· · · ·A.· ·If you want to know, for example, the
  12· ·condition of the inner workings of the battery,
  13· ·whether or not it had a mandrel, whether it, you
  14· ·know, does it have a mandrel, does it not have a
  15· ·mandrel.· Does it have a CID.· Does it not have a
  16· ·CID.· It went through the value of having that to
  17· ·understand what battery inner workings are.
  18· · · ·Q.· ·It has a number of -- sorry.· I did not
  19· ·mean to exit out of that.· It has under CV that you
  20· ·taught a number of courses here from 2000 all the
  21· ·way down to 2018.· Have any of these courses ever
  22· ·been about lithium-ion battery cell fire
  23· ·investigations?
  24· · · ·A.· ·No, not specifically that topic, no.
  25· · · ·Q.· ·Is says you're a license professional

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  ·1· ·engineer in a number of states.· Let me find that
  ·2· ·section here.· Missouri, Illinois, Indiana,
  ·3· ·Arkansas, Alabama, Kansas, Michigan, Kentucky,
  ·4· ·Tennessee.· Is that license active in all those
  ·5· ·states?
  ·6· · · ·A.· ·I believe so.
  ·7· · · ·Q.· ·And these certifications here, are these
  ·8· ·all current certifications?
  ·9· · · ·A.· ·They are.
  10· · · ·Q.· ·Let's go down to 260, which is Attachment
  11· ·5, your testimony history.· I'll show you that.
  12· ·It's a two-page document that shows your deposition
  13· ·testimony history from March 2019 to March 2023,
  14· ·correct?
  15· · · ·A.· ·Correct.
  16· · · ·Q.· ·Any depositions or trials in April before
  17· ·this deposition, or May?
  18· · · ·A.· ·I believe there's one more, yes.· I'm
  19· ·trying to remember the -- I'm trying to remember
  20· ·the matter that it involved.· Yes, there was one
  21· ·more.
  22· · · ·Q.· ·Was it trial testimony or deposition
  23· ·testimony?
  24· · · ·A.· ·It was deposition testimony, and the --
  25· ·what do you want to know about it?

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  ·1· · · ·Q.· ·What type of case was that?
  ·2· · · ·A.· ·It was an investigation involving a
  ·3· ·vehicle making contact with an overhead cable and
  ·4· ·an electrical distribution line.
  ·5· · · ·Q.· ·Do you know what the attorney was who
  ·6· ·hired you for that case?
  ·7· · · ·A.· ·I don't -- as I'm sitting here, I don't.
  ·8· · · ·Q.· ·It wasn't Mr. Barton's office, was it?
  ·9· · · ·A.· ·No, it was not.
  10· · · ·Q.· ·Okay.
  11· · · ·A.· ·I believe it was Brown & James, which is
  12· ·another law firm in St. Louis, but I could be
  13· ·mistaken on that.
  14· · · ·Q.· ·There's a number of cases listed on here,
  15· ·obviously one pops out, stood out to me.· This is
  16· ·Auto Owners versus Teva Properties and Makita USA.
  17· ·Who retained you for that case?· Which one of these
  18· ·defendants or parties?· Sorry.
  19· · · ·A.· ·I was retained on behalf of Makita USA.
  20· · · ·Q.· ·Okay.· And was it Mr. Barton that retained
  21· ·you on that file?
  22· · · ·A.· ·I believe so, yes.
  23· · · ·Q.· ·Did you come to any conclusions in that
  24· ·matter?
  25· · · ·A.· ·Yes.

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  ·1· · · ·Q.· ·And did you conclude -- what did you
  ·2· ·conclude in that matter?
  ·3· · · ·A.· ·I don't remember all of the details of my
  ·4· ·opinions.· This was two years ago.· But in general,
  ·5· ·that the cause of the fire was a lithium-powered RC
  ·6· ·car battery.
  ·7· · · ·Q.· ·Did you rule out a Makita product as a
  ·8· ·cause of the fire?
  ·9· · · ·A.· ·I did, yes.
  10· · · ·Q.· ·I'll get more into some of these here, but
  11· ·I see your trial testimony, the only one you listed
  12· ·is from March of this year, no other trials in the
  13· ·last four years that you've given testimony at?
  14· · · ·A.· ·That's correct.
  15· · · ·Q.· ·Did the judge qualify you as an expert in
  16· ·this trial?
  17· · · ·A.· ·Which trial?
  18· · · ·Q.· ·The one -- the only one that's listed on
  19· ·your list here.
  20· · · ·A.· ·I wasn't clear what you meant by "this".
  21· · · · · · MR. BARTON:· I'll just object to form.
  22· ·Vague as to qualification.
  23· · · ·A.· ·Yes, so I did testify at trial in that
  24· ·matter and the judge qualified me to testify in
  25· ·that matter, yes.

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  ·1· · · ·Q.· ·(By Mr. Lesnick) Okay.· Other than this
  ·2· ·matter here that we're talking about -- I'm sorry.
  ·3· ·This March matter that you testified in that trial,
  ·4· ·how many other times have you testified at trial?
  ·5· · · ·A.· ·A handful.· I don't know the exact number.
  ·6· · · ·Q.· ·Has your testimony ever been stricken
  ·7· ·either at trial or in a motion before trial?
  ·8· · · ·A.· ·I'm aware of one incident of that.                             I
  ·9· ·don't have a copy of the order, but it was an
  10· ·administrative -- it was an administrative issue
  11· ·where an attorney adopted -- an attorney who was
  12· ·not my client adopted a couple of my opinions and
  13· ·discarded the others and they were written off as
  14· ·being challenged and not defended.
  15· · · ·Q.· ·What type of case was that?
  16· · · ·A.· ·It was a fire case.
  17· · · ·Q.· ·Did it involve a product?
  18· · · ·A.· ·It did.
  19· · · ·Q.· ·Was it a lithium-ion battery-powered
  20· ·product?
  21· · · ·A.· ·No, it was a clothes dryer.
  22· · · ·Q.· ·It was a what?· I'm sorry.
  23· · · ·A.· ·A clothes dryer.
  24· · · ·Q.· ·Were you retained as an expert in that
  25· ·case?

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  ·1· · · ·A.· ·I was by the plaintiff.
  ·2· · · ·Q.· ·And what was the basis for your testimony
  ·3· ·getting stricken?
  ·4· · · ·A.· ·There were multiple parties involved and
  ·5· ·my client, the plaintiff, accepted a settlement
  ·6· ·from the manufacturer of the product and were no
  ·7· ·longer participating in the matter, and one of the
  ·8· ·other defendants in the matter, who was an
  ·9· ·installer of the product adopted some of my
  10· ·opinions, but not all of them.
  11· · · ·Q.· ·And so which testimony was stricken?· All
  12· ·of your opinions or the ones that were -- I guess
  13· ·I'm a little confused as to what was stricken.
  14· · · ·A.· ·The only thing that was stricken were the
  15· ·opinions that that particular party needed -- or
  16· ·did not need, so for example, I -- this just a for
  17· ·example, I don't know the exact because I don't
  18· ·have the copy of the order, he needed opinions --
  19· ·say, I had five opinions.· He needed opinions 1 and
  20· ·5, and he didn't need 2, 3 and 4, and the defendant
  21· ·said I will -- I'm going to strike those three
  22· ·opinions.· I said I don't care.· Strike them.                             I
  23· ·don't need them, I only need opinions 1 and 5.
  24· · · ·Q.· ·Do you know if the testimony was
  25· ·challenged on the basis of a reliability?

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  ·1· · · ·A.· ·Again I don't have the order.
  ·2· · · ·Q.· ·And do you know what case that was?
  ·3· · · ·A.· ·I only remember that it involved
  ·4· ·Whirlpool.· That's all I remember about it.· This
  ·5· ·was more than 10 years ago.
  ·6· · · ·Q.· ·How many times have you been qualified as
  ·7· ·an expert at trial?
  ·8· · · ·A.· ·I don't know how to answer that question.
  ·9· ·At trial?
  10· · · · · · MR. BARTON:· I'll just object on vague.
  11· · · ·Q.· ·(By Mr. Lesnick) I guess maybe a broader
  12· ·question.· How many times -- you may have already
  13· ·answered this.· How many times have you testified
  14· ·at trial?
  15· · · ·A.· ·A handful.· I don't know the exact number.
  16· · · ·Q.· ·When you testified at trial, what was your
  17· ·expertise that you were testifying on behalf of?
  18· · · · · · MR. BARTON:· Objection.· Vague and
  19· ·compound.· Go ahead.
  20· · · ·A.· ·It depends on the matter.· I don't
  21· ·remember all of the cases that I testified at trial
  22· ·sitting here, but in general, I can tell you that
  23· ·it was more likely than not either fire origin and
  24· ·cause or electrical engineering issues.
  25· · · ·Q.· ·(By Mr. Lesnick) Any time you've testified

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  ·1· ·at trial, the case involved a failure of a
  ·2· ·lithium-ion battery?
  ·3· · · ·A.· ·I don't believe so, not at trial.
  ·4· · · ·Q.· ·How many cases that you've given
  ·5· ·deposition testimony at have involved failures of
  ·6· ·lithium-ion batteries?
  ·7· · · ·A.· ·In the past four years, I can only think
  ·8· ·of one and that's the Teva case that we already
  ·9· ·discussed.
  10· · · ·Q.· ·Prior to the past four years, any others
  11· ·that you can think of?
  12· · · ·A.· ·I don't remember which ones went to trial
  13· ·or which ones went to deposition phase and which
  14· ·ones didn't, as I'm sitting here.
  15· · · ·Q.· ·In your job at Schaefer Engineering, let
  16· ·me just go back up here.· It says -- it lists your
  17· ·job duties here.· Does your job solely entail
  18· ·forensic investigations?
  19· · · ·A.· ·No.
  20· · · ·Q.· ·Of the percentage -- what percentage of
  21· ·your job entails forensic investigations and which
  22· ·percentage entails other types of work?
  23· · · ·A.· ·So I don't use the term forensic
  24· ·investigations to describe my job, so that makes it
  25· ·a little bit difficult to answer.· As you can tell,

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  ·1· ·that's not listed there in my CV.· I don't use the
  ·2· ·word forensic investigations, so I do evaluations,
  ·3· ·whether it's related to some legal issue or not,
  ·4· ·more often than not there is no legal issue
  ·5· ·involved.· It's a general investigation to advise
  ·6· ·someone on whatever questions they have.
  ·7· · · ·Q.· ·How much of your work involves litigation?
  ·8· ·What percentage of your work involves litigation?
  ·9· · · ·A.· ·That same answer to the prior question is,
  10· ·first of all, I don't always know when we start a
  11· ·project whether or not litigation is going to be an
  12· ·issue or whether a matter is going to be litigated,
  13· ·so I think the potential is that most of them could
  14· ·be at some point in time, but at the outset of a
  15· ·project, more often than not, it's go out and do an
  16· ·investigation to determine what happened, and so
  17· ·it's not really geared towards litigation.· Very
  18· ·few cases do I take where they're already in
  19· ·litigation.
  20· · · ·Q.· ·Your job duties don't involve designing
  21· ·electronics, correct?
  22· · · ·A.· ·Not in terms of new products, but
  23· ·evaluating them, yes.· Evaluating the design of
  24· ·products, I do that on a regular basis.
  25· · · ·Q.· ·I'm talking about creating new products,

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  ·1· ·though.· There's no, you know, your duties don't
  ·2· ·include creating new electrical products, right,
  ·3· ·designing those?
  ·4· · · ·A.· ·I think some of the work that we do does
  ·5· ·entail, ultimately end up creating new products or
  ·6· ·modifications to existing products and some of the
  ·7· ·work that we do is geared towards that.
  ·8· · · ·Q.· ·Have you ever been hired specifically that
  ·9· ·your scope of work is to design a new product or
  10· ·electrical system?
  11· · · ·A.· ·Indirectly, yes.· I have been asked to
  12· ·evaluate a product and determine why they're having
  13· ·the issue they're having and that's happened on a
  14· ·few different occasions and --
  15· · · ·Q.· ·Right.· But to create a brand new --
  16· · · ·A.· ·-- and the purpose of that is so that they
  17· ·can then make a modification either to the design
  18· ·or manufacturing processes to result in a better
  19· ·product.
  20· · · ·Q.· ·Is that specifically a company hires you
  21· ·to evaluate their products already in existence to
  22· ·help modify or better the design, is that what
  23· ·you're saying?
  24· · · ·A.· ·Correct.
  25· · · ·Q.· ·What are your -- who are your clients in

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  ·1· ·the past when it comes to that?
  ·2· · · ·A.· ·That's all confidential.
  ·3· · · ·Q.· ·Is Makita one of your clients when it
  ·4· ·comes to those types of projects?
  ·5· · · ·A.· ·No, not directly, no.
  ·6· · · ·Q.· ·What percentage of your work do you work
  ·7· ·for defense counsel?
  ·8· · · ·A.· ·I don't keep a statistic like that.
  ·9· · · ·Q.· ·If I go to all the depositions you had
  10· ·here in the last four years, they all are for
  11· ·defense that are listed here, correct?
  12· · · ·A.· ·That appears correct.
  13· · · ·Q.· ·I mean, you haven't given depositions on
  14· ·behalf of a plaintiff, have you?
  15· · · ·A.· ·I have.
  16· · · ·Q.· ·In the last four years?· In the last four
  17· ·years?· I apologize.
  18· · · ·A.· ·In the last four years, no.
  19· · · ·Q.· ·Okay.· How many cases do you have right
  20· ·now where you're representing a plaintiff?
  21· · · ·A.· ·That's a difficult question to answer, but
  22· ·I can tell you several, but how many is difficult
  23· ·to answer because I don't know the status of most
  24· ·of the cases that I have on my desk, you know, we
  25· ·bring things to a point.· We provide information to

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  ·1· ·the client, and what they're going to do with it
  ·2· ·after that, we just never know.
  ·3· · · · · · MR. BARTON:· Let me just insert an
  ·4· ·objection to the vague nature of the question.· Let
  ·5· ·the record reflect the witness answered before I
  ·6· ·could insert my objection.· Go ahead.
  ·7· · · ·Q.· ·(By Mr. Lesnick) The cases that you
  ·8· ·currently have in litigation, do you know how many
  ·9· ·that totals?
  10· · · ·A.· ·The same answer kind of applies there
  11· ·because I don't know what my client has done with
  12· ·the information I've given them, whether it's in
  13· ·litigation or not, they may not have advised me of
  14· ·that.
  15· · · ·Q.· ·So of cases you're aware that are in
  16· ·litigation, that you've been advised of, how many
  17· ·do you have right now that you're working on?
  18· · · ·A.· ·Well, I have no idea.· I have to go
  19· ·back --
  20· · · ·Q.· ·More than 10?
  21· · · ·A.· ·I'm not sure.· I mean, I would have to go
  22· ·to my desk and look.
  23· · · ·Q.· ·You don't know how many cases you're
  24· ·working that are in litigation?· That's your
  25· ·answer.

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  ·1· · · · · · MR. BARTON:· Objection.· Asked and
  ·2· ·answered.· Now argumentative.· Go ahead.
  ·3· · · ·A.· ·That's correct.· That's my answer.                             I
  ·4· ·don't know.· I can't give you a number, not without
  ·5· ·going to my desk and looking around my desk and
  ·6· ·seeing what I'm working on.· Additionally, as I
  ·7· ·mentioned, I don't know necessarily which ones are
  ·8· ·in litigation and which ones aren't.· I'm not
  ·9· ·always advised of that.· Things get resolved and we
  10· ·never hear about it.
  11· · · ·Q.· ·What percentage of your work do you work
  12· ·for defendants?
  13· · · · · · MR. BARTON:· Asked and answered.· Go
  14· ·ahead.
  15· · · ·A.· ·Again I don't keep a statistic like that.
  16· ·Over my career, it's probably been pretty balanced
  17· ·between defense and plaintiff.
  18· · · ·Q.· ·(By Mr. Lesnick) You say "pretty
  19· ·balanced," do you mean 50/50?· Is that what you're
  20· ·saying?
  21· · · ·A.· ·Pretty balanced over my career, that's
  22· ·correct.
  23· · · ·Q.· ·Is that close to 50/50?· Is that 60/40?
  24· ·What does -- I don't know what pretty balanced
  25· ·means?

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  ·1· · · ·A.· ·To me pretty balanced is just what I'm
  ·2· ·saying.· It's just pretty even.· I can't say 50/50,
  ·3· ·60/40.· You're asking me to give you a statistic
  ·4· ·now and I told you I don't have a statistic like
  ·5· ·that to give you.
  ·6· · · ·Q.· ·I just want to make sure I understand.
  ·7· ·When you say "pretty balanced," you don't know
  ·8· ·exactly a percentage, you just use the term "pretty
  ·9· ·balanced".
  10· · · · · · MR. BARTON:· Is that a question?
  11· · · · · · MR. LESNICK:· Yes.
  12· · · · · · MR. BARTON:· Objection.· Argumentative.
  13· ·Asked and answered in parts.· Vague in other parts
  14· ·and is a statement, not a question.· Go ahead if
  15· ·you understand.
  16· · · ·A.· ·Sure.· Pretty balanced to me means that I
  17· ·have gotten pretty equal amounts of work from
  18· ·plaintiffs and from defendants.· Pretty equal, I
  19· ·can't give you a number on that.
  20· · · ·Q.· ·(By Mr. Lesnick) Definitely not equal,
  21· ·though, right?
  22· · · ·A.· ·I have no idea.· It could be exactly
  23· ·equal.· I mean, I wouldn't know because that's not
  24· ·a statistic I keep.
  25· · · ·Q.· ·Who retained you in this matter?

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  ·1· · · ·A.· ·Stanton Barton law firm.
  ·2· · · ·Q.· ·Okay.· Other than this case and the Makita
  ·3· ·case we were talking about before that's up here on
  ·4· ·the Teva Properties matter, how many times have you
  ·5· ·been retained by Stanton Barton in the past?
  ·6· · · ·A.· ·A handful.
  ·7· · · ·Q.· ·What does handful mean?
  ·8· · · ·A.· ·In terms of a number, I'm sure it's
  ·9· ·probably more than 10.· How much more, I don't
  10· ·know.
  11· · · ·Q.· ·And how many of those cases that Stanton
  12· ·Barton retained you on involve Makita products?
  13· · · ·A.· ·I don't have a count of that.
  14· · · ·Q.· ·Well, we have a few here, correct?
  15· · · ·A.· ·Yeah, probably less than 10.
  16· · · ·Q.· ·More than nine?
  17· · · ·A.· ·I don't think there's much between nine
  18· ·and 10, so less than 10 means something less than
  19· ·that.· More than two, but less than 10.· I don't
  20· ·know the exact number.
  21· · · ·Q.· ·It could be nine.· It could be eight.· It
  22· ·could be seven.· It could be six.· It could be
  23· ·five.· It could be four.· It could be three.· But
  24· ·less than 10?
  25· · · ·A.· ·I believe less than 10, yes.· Again that's

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  ·1· ·without going through and trying to make a count of
  ·2· ·it, which would be a challenge, but...
  ·3· · · ·Q.· ·It's possible it's more than 10 if you
  ·4· ·went back and did a count of it?
  ·5· · · · · · MR. BARTON:· Objection.· Argumentative.
  ·6· ·Go ahead.
  ·7· · · ·A.· ·I don't think so.· Not from my
  ·8· ·recollection.
  ·9· · · ·Q.· ·(By Mr. Lesnick) How many times was Makita
  10· ·a defendant in a case that they retained you on?
  11· · · · · · MR. BARTON:· Asked and answered.
  12· · · ·A.· ·I can only think of a couple where they've
  13· ·been named as a defendant where something's gone to
  14· ·litigation.
  15· · · ·Q.· ·(By Mr. Lesnick) We have two here, right?
  16· ·So do you know how many more than the two that
  17· ·we're talking about, the one that's listed here and
  18· ·the one we're participating in now?
  19· · · ·A.· ·I can think of one other.
  20· · · ·Q.· ·How many of those cases that you were
  21· ·retained on behalf of Mr. Barton working on Makita
  22· ·files did those cases involve lithium-ion battery
  23· ·failures?
  24· · · ·A.· ·Well, you know, do you mean alleged
  25· ·lithium-ion battery failures or do you mean actual

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  ·1· ·lithium-ion battery failures?
  ·2· · · ·Q.· ·Sure.· Alleged.
  ·3· · · ·A.· ·Alleged?
  ·4· · · ·Q.· ·Alleged lithium-ion battery failures.
  ·5· · · ·A.· ·I can think of -- I can think of, again
  ·6· ·the two that we talked about, plus one other.
  ·7· · · ·Q.· ·So the other Makita cases that you worked
  ·8· ·on for them, those didn't involve alleged
  ·9· ·lithium-ion battery failures?
  10· · · ·A.· ·What other cases are you talking about?
  11· · · ·Q.· ·You said there was -- you said less than
  12· ·10, more than two, so now are you saying the number
  13· ·is three that you know for sure that you've worked
  14· ·on?
  15· · · · · · MR. BARTON:· Objection.· Argumentative.
  16· ·Misstates his testimony at various points in the
  17· ·compound nature of the question.· Go ahead if you
  18· ·understand.
  19· · · ·A.· ·No, I don't understand.
  20· · · ·Q.· ·(By Mr. Lesnick) You've previously
  21· ·testified that you've worked on at least 10 -- or
  22· ·less than 10 Makita cases with Mr. Barton's firm,
  23· ·didn't you just testify to that?· Somewhere between
  24· ·two and 10?
  25· · · · · · MR. BARTON:· Objection.· Misstates his

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  ·1· ·testimony at the end, but the first part of the
  ·2· ·question, which is compound, was asked and
  ·3· ·answered.· Go ahead.
  ·4· · · ·A.· ·Yeah, I believe that's correct, yes.
  ·5· · · ·Q.· ·(By Mr. Lesnick) Right.· So I'm asking you
  ·6· ·how many of those cases involved alleged
  ·7· ·allegations of Makita products and lithium-ion
  ·8· ·battery failures?
  ·9· · · · · · MR. BARTON:· Objection.· Asked and
  10· ·answered.· Go ahead again.
  11· · · ·A.· ·I'm only aware of three where an
  12· ·allegation was made.
  13· · · ·Q.· ·(By Mr. Lesnick) Okay.· Were cases where
  14· ·allegations weren't made, were lithium-ion
  15· ·battery-powered Makita products involved?
  16· · · · · · MR. BARTON:· Objection.· Vague.
  17· · · ·A.· ·I don't know what you mean.· I don't
  18· ·understand your question.
  19· · · ·Q.· ·(By Mr. Lesnick) Well, in the other cases,
  20· ·the three that -- there's only three where
  21· ·allegations were made.· The other ones where
  22· ·allegations weren't made.· Why was Makita involved
  23· ·in those files --
  24· · · · · · MR. BARTON:· Objection --
  25· · · ·Q.· ·(By Mr. Lesnick) -- as far as you know?

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  ·1· · · · · · MR. BARTON:· Objection.· Vague.· Compound.
  ·2· ·Parts of it calls for speculation.· Go ahead if you
  ·3· ·know.
  ·4· · · ·A.· ·So for me to remember the nature of every
  ·5· ·investigation as I'm sitting here.· I can't do
  ·6· ·that.· But what I can tell you generally, this is
  ·7· ·very general.· What I can tell you generally is
  ·8· ·that occasionally we're called out to conduct an
  ·9· ·investigation where there might be 10 parties
  10· ·placed on notice.· There's 10 different products
  11· ·that are potentially in this particular building or
  12· ·structure that needs to be looked at, and so
  13· ·there's never been, you know, of these other cases
  14· ·that's not one of the three are cases where we
  15· ·arrive and, A, it's possible there's no Makita
  16· ·product there, B, the product that someone thought
  17· ·was Makita is actually not Makita, it's another
  18· ·brand.· Or C, it's not a Makita product, it's a
  19· ·knock-off Makita product, meaning it's made by --
  20· ·it's made by a copycat company.· So there's all
  21· ·kinds of possibilities and, you know, it's across
  22· ·the gamut of possibilities.· So those are some
  23· ·possibilities of what might happen when we arrive
  24· ·and ultimately, there's no allegation made against
  25· ·Makita.

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  ·1· · · ·Q.· ·How many cases are you working on right
  ·2· ·now, aside from this one, that you were retained on
  ·3· ·behalf of Mr. Barton for a Makita allegation?
  ·4· · · ·A.· ·Again, I can't -- I can only think of the
  ·5· ·three where it's been alleged that Makita had an
  ·6· ·issue.
  ·7· · · · · · MR. BARTON:· Hey, Ben, when you get to a
  ·8· ·breaking spot, we've been going well over an hour
  ·9· ·here, so just when you get to a natural spot, we
  10· ·can take a quick break.
  11· · · · · · MR. LESNICK:· Sure.· No problem, Jon.
  12· · · ·Q.· ·(By Mr. Lesnick) Any of the times that
  13· ·you've been involved -- retained, I'm sorry, by Mr.
  14· ·Barton related to Makita products where the
  15· ·allegation is made and the Makita product caused
  16· ·something or not, how many cases did you conclude
  17· ·that a Makita product caused a fire?
  18· · · ·A.· ·I can't think of any.
  19· · · ·Q.· ·Have you ever had any case, whether
  20· ·retained by Mr. Barton or somebody else, where you
  21· ·determined that a Makita product caused a fire?
  22· · · ·A.· ·I can't think of any.
  23· · · ·Q.· ·Have you ever concluded that, in any case
  24· ·you've been hired on, have you ever concluded that
  25· ·a lithium-ion battery-powered tool caused a fire?

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  ·1· · · ·A.· ·When you say tool, I'm not sure what you
  ·2· ·mean by tool.· Does that include E cigarettes, just
  ·3· ·for clarification?· I don't know if you consider E
  ·4· ·cigarette's a tool or not, but I've concluded that
  ·5· ·there was a lithium-ion E cigarette fire before,
  ·6· ·yes.
  ·7· · · ·Q.· ·No cigarette is something that you smoke.
  ·8· ·I don't think you can use that as a tool, at least
  ·9· ·my understanding of E cigarettes.
  10· · · ·A.· ·Again I'm just trying to clarify your
  11· ·question to make sure I'm answering the right
  12· ·question.
  13· · · ·Q.· ·So you're right.· So E cigarettes are not
  14· ·tools in how I'm asking this question.· I'm asking
  15· ·about tools, something you use to construct a home
  16· ·or work on something outside of the home.· I didn't
  17· ·think tool was such a vague thought, but if you
  18· ·can't answer it, let me know.
  19· · · ·A.· ·Yes, so in terms of now how you've defined
  20· ·tool, I can think of a couple of instances where
  21· ·there were some knock-off batteries, and knock-off
  22· ·mean non-OEM batteries, that I believe probably
  23· ·were responsible for the fire, but weren't fully
  24· ·investigated.· In other words, I arrived at the
  25· ·conclusion that the product was not a genuine part

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  ·1· ·from that manufacturer and then stepped away from
  ·2· ·the investigation and did not go further to
  ·3· ·ultimately prove that that was the one and only
  ·4· ·thing that could have caused the fire, but that
  ·5· ·there was a knock-off product there, which was
  ·6· ·suspected of causing the fire, but stepped away
  ·7· ·because it was not the client who retained these
  ·8· ·product.· Those are the only instances that I can
  ·9· ·think of that.
  10· · · ·Q.· ·Okay.· Well, what steps weren't conducted
  11· ·in that case or cases you're talking about that you
  12· ·think needed to go further?
  13· · · ·A.· ·Well, I didn't do a complete
  14· ·investigation.· I stopped -- as soon as my client's
  15· ·product was -- as soon as the product was
  16· ·identified as not being of my client, I no longer
  17· ·had an interest and my client had no longer had an
  18· ·interest in that investigation, so we stepped away.
  19· · · ·Q.· ·Other than those knock-off battery cases,
  20· ·any other time that you may have concluded that a
  21· ·lithium-ion powered -- battery-powered tool caused
  22· ·a fire?
  23· · · ·A.· ·Not that I can think of.
  24· · · ·Q.· ·How many cases have you worked on where
  25· ·someone's made an allegation that a lithium-ion

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  ·1· ·battery-powered tool caused a fire?
  ·2· · · ·A.· ·Again only these three that I can think of
  ·3· ·right -- well, I mean, there are many that were
  ·4· ·investigated, but where someone actually ultimately
  ·5· ·reached a conclusion and made that allegation
  ·6· ·formally, just the three that we've talked about.
  ·7· ·I'm, you know, just to be clear, I've been involved
  ·8· ·in many others where ultimately it was concluded
  ·9· ·that it was other things that caused the fire, for
  10· ·example, a non battery-powered tool or an extension
  11· ·cord or a discarded cigarette, those types of
  12· ·things, so...
  13· · · ·Q.· ·On cases that Mr. Barton's firm has hired
  14· ·you on, how many times have you determined that Mr.
  15· ·Barton's client was responsible for causing the
  16· ·damage alleged?
  17· · · · · · MR. BARTON:· Objection.· Vague.· Go ahead.
  18· · · · · · THE WITNESS:· Could the Court Reporter
  19· ·read that one back?
  20· · · · ·(Whereupon, the requested portion of the
  21· · · · · ·transcript was read for the record.)
  22· · · · · · MR. BARTON:· Same objection.· Go ahead.
  23· · · ·A.· ·I can't think of any.
  24· · · ·Q.· ·(By Mr. Lesnick) Let's take a break here.
  25· ·Five minutes?

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  ·1· · · ·A.· ·Great.
  ·2· · · · · · MR. BARTON:· Sure.
  ·3· · · · · · VIDEOGRAPHER:· We are off the record at
  ·4· ·10:16 a.m.
  ·5· · · · · · · · · · · · (Recess.)
  ·6· · · · · · VIDEOGRAPHER:· We are back on the record
  ·7· ·at 10:27 a.m.
  ·8· · · ·Q.· ·(By Mr. Lesnick) Mr. Reagan, I'm going to
  ·9· ·pull back up what was marked as Exhibit 2 for your
  10· ·deposition.· Are you seeing your report back up on
  11· ·the screen?
  12· · · ·A.· ·Yes, the addendums on the screen.
  13· · · ·Q.· ·Yes.· All right.· I'm going to go up to
  14· ·Page 253.· This is Attachment 3, your fee schedule.
  15· ·It's 325 per hour regardless of the type of
  16· ·activity.· That's what you are charging for this
  17· ·deposition today; is that correct?
  18· · · ·A.· ·That's what Schaefer Engineering charges
  19· ·for my time.
  20· · · ·Q.· ·Let me pull up what we're going to mark as
  21· ·Exhibit 3.
  22· · · · · · ·(Plaintiff's Exhibit 3 marked for
  23· · · · · · · · · · ·identification.)
  24· · · ·Q.· ·Let me know when you see this document up
  25· ·on your screen.

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  ·1· · · ·A.· ·Okay.· I see the top portion of it.· Okay.
  ·2· · · ·Q.· ·Okay.· So this is a 17-page document.
  ·3· ·These are all the invoices you produced to us.
  ·4· ·They're in reverse chronological order.· That's how
  ·5· ·I put them together.· I'm going to zoom in here to
  ·6· ·Page 17, which is an invoice -- well, let me ask
  ·7· ·you this.· Do you recognize this document?
  ·8· · · ·A.· ·Sure.· It looks like an invoice.
  ·9· · · ·Q.· ·Okay.· And all of these documents here are
  10· ·invoices, as I scroll through them.· Did you
  11· ·produce to us all of your invoices in this matter?
  12· · · ·A.· ·I believe so.
  13· · · ·Q.· ·Okay.· Let me go to Page 17, which, like I
  14· ·said, is dated October 9th, 2020.· It says here on
  15· ·September 11th, there was client contact.· Was this
  16· ·the first day you were contacted about this file?
  17· · · ·A.· ·Approximately, yes.
  18· · · ·Q.· ·Let me pull up another document that maybe
  19· ·will refresh your memory a little bit better.· We
  20· ·are going to mark this as Exhibit 4.
  21· · · · · · ·(Plaintiff's Exhibit 4 marked for
  22· · · · · · · · · · ·identification.)
  23· · · ·Q.· ·Let me scroll down to Page 2 of Exhibit 4.
  24· ·It's an e-mail from Megan Oliver on Thursday,
  25· ·September 3rd, 2020.· This is the end of that

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  ·1· ·string, but it looks like it's an e-mail to you.
  ·2· ·Do you know if September 3rd, 2020, was the first
  ·3· ·day you were contacted about this file?
  ·4· · · ·A.· ·Approximately.
  ·5· · · ·Q.· ·Did you take any notes on the day that you
  ·6· ·were contacted about this file?
  ·7· · · ·A.· ·No.
  ·8· · · ·Q.· ·Who first contacted you about this matter?
  ·9· · · ·A.· ·The Stanton Barton law firm.
  10· · · ·Q.· ·Was it a phone call?
  11· · · ·A.· ·More likely than not.
  12· · · ·Q.· ·Okay.· I see on Page 5, these were
  13· ·documents produced to us with your file.· There's
  14· ·an e-mail from you to attorneys at Stanton Barton
  15· ·saying, "Attached is an engagement letter for the
  16· ·subject investigation," and then if I scroll down
  17· ·to Page 6, there's a letter dated September 29,
  18· ·2020, to Mr. Barton.· Do you recognize this letter?
  19· · · ·A.· ·I do.
  20· · · ·Q.· ·This is your engagement letter for this
  21· ·matter?
  22· · · ·A.· ·That's the Schaefer Engineering engagement
  23· ·letter.
  24· · · ·Q.· ·Okay.· Page 7 and 8 here on Exhibit 4, do
  25· ·you recognize these documents?

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  ·1· · · ·A.· ·They're part of the engagement letter,
  ·2· ·yes.
  ·3· · · ·Q.· ·Okay.· It says your scope of the project
  ·4· ·is fire and engineering analysis.· What does that
  ·5· ·mean?
  ·6· · · ·A.· ·Just what it says.· Fire analysis and
  ·7· ·engineering analysis.· It's both.
  ·8· · · ·Q.· ·What are you analyzing about a fire?· I'm
  ·9· ·trying to get a little more specific here.
  10· · · ·A.· ·Well, all facts and features of the fire
  11· ·in the documents that are available that document
  12· ·the conditions that were present at the time.
  13· · · ·Q.· ·Were you asked to form any conclusions in
  14· ·this analysis?
  15· · · ·A.· ·Ultimately.
  16· · · ·Q.· ·Does that mean you were asked to or you
  17· ·ultimately did?
  18· · · ·A.· ·Both.
  19· · · ·Q.· ·What types of conclusions were you asked
  20· ·to form in your analysis?
  21· · · ·A.· ·If you go to Page 2 under project summary,
  22· ·scope of project, it says, "Specifically Schaefer
  23· ·Engineering was requested to render professional
  24· ·opinions regarding what role, if any, the
  25· ·battery-powered tools and related

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  ·1· ·chargers/batteries had in the cause of this fire.
  ·2· ·Additionally, Schaefer Engineering was requested to
  ·3· ·provide an analysis of the fire investigation
  ·4· ·methodology demonstrated and opinions offered by
  ·5· ·the plaintiff expert team."
  ·6· · · ·Q.· ·So that was the scope of the project as of
  ·7· ·this date, September 29th, 2020?
  ·8· · · ·A.· ·No.
  ·9· · · ·Q.· ·The scope changed over time?
  10· · · ·A.· ·Well, the scope was just general fire and
  11· ·engineering analysis.· That was what was the
  12· ·initial request.· Ultimately, I was asked to
  13· ·provide opinions relative to what's in the scope of
  14· ·the project stated in the Schaefer Engineering
  15· ·report.
  16· · · ·Q.· ·Is fire and engineering analysis defined
  17· ·anywhere in your report?
  18· · · ·A.· ·I'm not aware where there's a specific
  19· ·definition of that, no.
  20· · · ·Q.· ·Okay.· So can you define for me as we're
  21· ·talking here what fire and engineering analysis
  22· ·means as it relates to this scope of the project
  23· ·here?
  24· · · ·A.· ·Well, I mean, fire analysis is just that.
  25· ·Analysis of the fire in accordance with accepted

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  ·1· ·industry methods.· And that includes everything
  ·2· ·that's covered by the scientific method, by 921, by
  ·3· ·Kirk's Fire Investigation Handbook, all those other
  ·4· ·documents that we talked about, and the engineering
  ·5· ·analysis are some of the engineering features that
  ·6· ·might support or refute the portions of the fire
  ·7· ·analysis.
  ·8· · · ·Q.· ·Does the fire analysis include an
  ·9· ·investigation into the area of origin?
  10· · · ·A.· ·It does.
  11· · · ·Q.· ·Does it include an investigation into the
  12· ·cause of the fire?
  13· · · ·A.· ·It does.
  14· · · ·Q.· ·If we go back to Exhibit 3.· Okay.· We're
  15· ·looking back at Page 17 here, which is your invoice
  16· ·dated 10/9/2020.· It has a note on 9/15 and 9/21 of
  17· ·reviewed documents, photos, for both of those
  18· ·entries.· What documents and photos are being
  19· ·discussed here?
  20· · · ·A.· ·Whatever documents they had in the Stanton
  21· ·Barton possession that they shared with me at that
  22· ·time, and I don't remember --
  23· · · ·Q.· ·Do you remember what those were?
  24· · · ·A.· ·I don't remember as I'm sitting here which
  25· ·of those that was.

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  ·1· · · ·Q.· ·If I go up to Page 16 here, it's another
  ·2· ·invoice from 12/7/2020.· There's a name here of
  ·3· ·Fischer.· Who is Fischer?
  ·4· · · ·A.· ·Fischer is Ben Fischer.· He's an employee
  ·5· ·of Schaefer Engineering.
  ·6· · · ·Q.· ·And what work did Mr. Fischer do on this
  ·7· ·file?
  ·8· · · ·A.· ·Sure.· He spent some time pulling out
  ·9· ·photographs of various products that were collected
  10· ·from the incident scene.
  11· · · ·Q.· ·Did he take notes during his work?
  12· · · ·A.· ·No.
  13· · · ·Q.· ·How did -- you said he was pulling out
  14· ·photographs of various products.· Did he organize
  15· ·that in some way for you?
  16· · · ·A.· ·You should have a folder of the
  17· ·photographs that he pulled out from other
  18· ·investigator photographs.· If I had --
  19· · · ·Q.· ·What is that folder called?
  20· · · ·A.· ·I think it's Fire Scene Artifacts or
  21· ·something to that effect.· It would have the word
  22· ·artifacts in it.· It would be a collection of
  23· ·photographs from the fire scene.
  24· · · ·Q.· ·You asked him to do this work?
  25· · · ·A.· ·I asked him to pull out photographs of the

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  ·1· ·artifacts that were collected from the incident
  ·2· ·scene.· In other words, separate out -- separate
  ·3· ·out from the general overall photographs,
  ·4· ·photographs of the artifacts that we were about to
  ·5· ·go examine at Midwest facility.
  ·6· · · ·Q.· ·This was related -- that scope of work was
  ·7· ·related to the artifact exam at Midwest?
  ·8· · · ·A.· ·Well, it wasn't related to that exam.· It
  ·9· ·was related to prepping for the exam.· In other
  10· ·words, I asked him to go in and find in the set of
  11· ·photographs that I had available at that time
  12· ·photographs that depict the artifacts that were
  13· ·collected so I could get a preview of what it was
  14· ·we were going to be looking at when we went to
  15· ·Midwest.
  16· · · ·Q.· ·If I scroll up here to the 15th page,
  17· ·invoice dated 2/8/2021, there's a couple of notes
  18· ·in here from you the service of exhibit
  19· ·preparation.· What is that in reference to?
  20· · · ·A.· ·I don't recall specifically.· I can tell
  21· ·you what possibly it could be, but again it would
  22· ·just be possibly it could be related to.· It could
  23· ·be related to an artifact examination protocol.· It
  24· ·could be related to imaging protocol, you know,
  25· ·some form of a protocol is what I might use that

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  ·1· ·code for.
  ·2· · · ·Q.· ·Did you draft a protocol in this matter?
  ·3· · · ·A.· ·I believe I did a couple of them actually,
  ·4· ·if I'm recalling correctly.
  ·5· · · ·Q.· ·Let me go back to Exhibit 4.· Do you see
  ·6· ·Exhibit 4 up on the screen?
  ·7· · · ·A.· ·I do.
  ·8· · · ·Q.· ·All right.· I'm going to go to Page -- if
  ·9· ·I can get there.· I guess I have to do it the old
  10· ·fashioned way right now, I'm going to go to Page 69
  11· ·of Exhibit 4, if I could just type it in.· It's
  12· ·having an issue.· Do you recognize this document
  13· ·I'm putting up on the screen as Page 69?
  14· · · ·A.· ·I do.· That looks like a protocol that I
  15· ·would have drafted.
  16· · · ·Q.· ·Is this the protocol you drafted for the
  17· ·February 2021 exam?
  18· · · ·A.· ·I think it was for all of the exams
  19· ·actually.· This was just -- I mean, it was for all
  20· ·of the -- all of the -- examination of all of the
  21· ·artifacts that were in possession of Midwest.
  22· · · ·Q.· ·Let me go back to Exhibit 3.· If I go up
  23· ·to Page 13 here, this is from a 3/5/2021 invoice.
  24· ·On 2/12/2021, there's a few entries with a Rackers
  25· ·B.· Who is Rackers B?

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  ·1· · · ·A.· ·Ben Rackers is an employee of Schaefer
  ·2· ·Engineering.
  ·3· · · ·Q.· ·Okay.· And what work did Mr. Rackers do in
  ·4· ·this matter?
  ·5· · · ·A.· ·He assisted me with some document
  ·6· ·evaluation in preparation.
  ·7· · · ·Q.· ·What document evaluation are you referring
  ·8· ·to?
  ·9· · · ·A.· ·Well, for example, he -- some of the
  10· ·graphics that are depicted in my report, he
  11· ·created.· If you go to, for example, if you go to
  12· ·Page 16, 17, and 18, he created those video frame
  13· ·excerpts.
  14· · · ·Q.· ·Okay.· What was he told about creating
  15· ·those video frame excerpts?
  16· · · ·A.· ·I'm sorry.· What was the question?
  17· · · ·Q.· ·Let me -- I said what was he told about
  18· ·those video frame excerpts.· Let me ask it a
  19· ·different way.· Why did he create those video frame
  20· ·excerpts?
  21· · · ·A.· ·Because I asked him to.
  22· · · ·Q.· ·And what was the purpose of you asking him
  23· ·to do that?
  24· · · ·A.· ·To include them in my report.· You know,
  25· ·again, I asked what work he did, so that's an

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  ·1· ·example of some of the work he did for me.· He
  ·2· ·also -- also we used his machine and some of his,
  ·3· ·some of his talent to create some of the other
  ·4· ·figures, for example, Figure 16 where we show some
  ·5· ·details of the features of some of the batteries in
  ·6· ·this pack, so at my request, he created some
  ·7· ·snapshot images of some of the batteries using the
  ·8· ·CT scans and then put some dimensional data on
  ·9· ·there at my request.
  10· · · ·Q.· ·How did you provide those requests to Mr.
  11· ·Rackers?
  12· · · ·A.· ·More often than not, just verbally.                             I
  13· ·might have sent him -- I think at one point in
  14· ·time, I might have sent him an e-mail saying, "Hey,
  15· ·are you getting this done or not" kind of a thing,
  16· ·but other than that, other than that, normally it's
  17· ·just a verbal request.
  18· · · ·Q.· ·Do you know if Mr. Rackers created any
  19· ·notes while he worked on this matter?
  20· · · ·A.· ·He did not.· Everything that he has is
  21· ·what's produced in the report and in the file.
  22· · · ·Q.· ·On Exhibit 3 here, it talks further down
  23· ·that there was a lab disassembly and examination
  24· ·beginning on 2/16 and ending on 2/17.· Do you see
  25· ·those notations there on your invoice?

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  ·1· · · ·A.· ·I do.
  ·2· · · ·Q.· ·Okay.· What are those notations in
  ·3· ·relation to?
  ·4· · · ·A.· ·I expect those -- I don't have all my
  ·5· ·notes in front of me, but I expect those are two of
  ·6· ·the days that we were at Midwest.
  ·7· · · ·Q.· ·Do you remember if you attended a lab exam
  ·8· ·at Midwest Forensics in February of 2021?
  ·9· · · ·A.· ·Again, like I said, I don't recall the
  10· ·dates of all of those.· You have the file with my
  11· ·notes in them.· I know I was there in February of
  12· ·2021, whether it was exactly the 16th and the 17th,
  13· ·I can't comment on that sitting here without
  14· ·pulling up file material, which would take some
  15· ·time to do.· If you'd like me to do that, I can
  16· ·pull those open.
  17· · · ·Q.· ·No, I mean, so the invoice doesn't provide
  18· ·you the information to know what days you attended
  19· ·the lab exam?
  20· · · ·A.· ·It's certainly intended to.· Yes, it's
  21· ·certainly intended to.
  22· · · ·Q.· ·Okay.· And what this is showing us is the
  23· ·intention of the invoice as to what dates you
  24· ·attended a lab exam in Midwest Forensics?
  25· · · ·A.· ·Correct.· On 2 --

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  ·1· · · ·Q.· ·On which dates?· I just want to make sure
  ·2· ·I'm reading this correctly.
  ·3· · · ·A.· ·Sure.· On 2/16 of 2021, it had 10 and a
  ·4· ·half hours for labs, assembly and examination.· I'm
  ·5· ·fairly confident that line item is for work done in
  ·6· ·examination of items at Midwest Forensics.· Same
  ·7· ·for 2/17/2021, where there's 8.5 hours.
  ·8· · · ·Q.· ·And then other than this invoice, you
  ·9· ·think the notes would be the best place to know
  10· ·what days you were doing items that are reflected
  11· ·in your invoice?
  12· · · ·A.· ·That's correct.
  13· · · ·Q.· ·Okay.· Let me pull up what we'll mark as
  14· ·Exhibit 5.
  15· · · · · · ·(Plaintiff's Exhibit 5 marked for
  16· · · · · · · · · · ·identification.)
  17· · · ·Q.· ·You let me know when you see the item I've
  18· ·pulled up on my screen.
  19· · · ·A.· ·Correct.· That's a set of my notes, that's
  20· ·correct.
  21· · · ·Q.· ·This is a 22-page document that was in
  22· ·your file called lab notes 1, 2/16 and 17, 2021.
  23· ·Do you recognize this document?· This 22-page
  24· ·document?
  25· · · ·A.· ·If you go to the end for me, I would

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  ·1· ·appreciate that.· Yes, those are my notes from
  ·2· ·those two days.
  ·3· · · ·Q.· ·Any other notes from those two days that
  ·4· ·we should know about?
  ·5· · · ·A.· ·No.
  ·6· · · ·Q.· ·Did you take any notes after the exam
  ·7· ·related to this two-day inspection?
  ·8· · · ·A.· ·I don't believe so, no.
  ·9· · · ·Q.· ·I'm going to go up to --
  10· · · ·A.· ·I mean, related -- your question was
  11· ·related to those two days of inspections, right?
  12· ·Because there were subsequent days of inspections
  13· ·that I have additional notes for, but --
  14· · · ·Q.· ·I'm referring to related to those two
  15· ·days.
  16· · · ·A.· ·-- for those two days, that's the totality
  17· ·of my notes, that's correct.
  18· · · ·Q.· ·I want to go up to Page 11 here.
  19· · · ·A.· ·Actually it's not.· Now that you went to
  20· ·the end, if you go to the last page of that.· If
  21· ·you would please go to Page 22.· Scroll up a little
  22· ·bit.· Go to Page 21, maybe.
  23· · · · · · MR. BARTON:· Can you see that?
  24· · · · · · THE WITNESS:· Barely.· That's why I'm
  25· ·leaning in.

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  ·1· · · · · · MR. BARTON:· Would you blow that up a
  ·2· ·little bit?· Thank you.
  ·3· · · ·A.· ·Yes.· So I think that is correct, yes.
  ·4· ·That is all the notes, it looks like.
  ·5· · · ·Q.· ·(By Mr. Lesnick) This is the last page
  ·6· ·right here, Page 22.
  ·7· · · ·A.· ·Right, right, right.
  ·8· · · ·Q.· ·These are all the notes, is that correct?
  ·9· · · ·A.· ·I believe that is correct, yes.· I wanted
  10· ·to make sure that the battery -- I was making sure
  11· ·that the battery notes were included in that set,
  12· ·and they are.
  13· · · ·Q.· ·I want to go to Page 11, there's a number
  14· ·of items discussed on this page.· I wanted to
  15· ·figure out what you're talking about here on Page
  16· ·11, what's being discussed?
  17· · · ·A.· ·Sure.· So that is the start of notes
  18· ·related to my first physical examination of the
  19· ·artifacts that were set aside as batteries.
  20· · · ·Q.· ·You have a note "Murata?"· Why did you
  21· ·write that down?
  22· · · ·A.· ·I believe that was from the -- from the
  23· ·designator US 18650 VTC5.· That would be a, I
  24· ·believe, a Murata battery printing.
  25· · · ·Q.· ·There's a Number 1 here, a Number 2, a

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  ·1· ·Number 3, what are those designations for?
  ·2· · · ·A.· ·Those are the artifact numbers as they
  ·3· ·exist on the Midwest artifact listing.
  ·4· · · ·Q.· ·And what are you writing down about these
  ·5· ·artifacts?· This Number 1 artifact, what type of
  ·6· ·information?
  ·7· · · ·A.· ·Just some general observations as I'm
  ·8· ·going through and looking at each of the artifacts.
  ·9· · · ·Q.· ·Like for example --
  10· · · ·A.· ·For example, out to the right, you can see
  11· ·in brackets I've got one cell, so item 1 was 1
  12· ·cell.
  13· · · ·Q.· ·Right.· So for example, here, you have
  14· ·bowed anode, right?· That's correct that that's
  15· ·what that says?
  16· · · ·A.· ·That's what that says, that's correct.
  17· · · ·Q.· ·Why did you make that observation?
  18· · · ·A.· ·Just general observations about the
  19· ·batteries.
  20· · · ·Q.· ·Is bowed anode relevant to analysis you
  21· ·were performing?
  22· · · ·A.· ·Again, it's just a data point.
  23· · · ·Q.· ·Is it -- what type of data point were you
  24· ·attempting to collect during your visual
  25· ·observation?

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  ·1· · · ·A.· ·Data points relative to the artifacts.
  ·2· ·What's the condition of the artifacts that we're
  ·3· ·looking at, were they fire damaged or not, for
  ·4· ·example.· How many were there?· And this was a
  ·5· ·first pass through those artifacts.
  ·6· · · ·Q.· ·Underneath bowed anode, it says material
  ·7· ·partial ejected out ap/vent, correct?· That's what
  ·8· ·that says?
  ·9· · · ·A.· ·Correct.
  10· · · ·Q.· ·Why did you put that as an observation?
  11· · · ·A.· ·Because that's what existed with the
  12· ·artifact.
  13· · · ·Q.· ·Was that a type of data point you utilized
  14· ·when examining whether or not cells collected from
  15· ·the scene were caused or attacked by the fire in
  16· ·this matter?
  17· · · ·A.· ·Not necessarily.· It's just a data point
  18· ·about the artifact.
  19· · · ·Q.· ·Narrow crimp.· What does narrow crimp
  20· ·mean?
  21· · · ·A.· ·Well, at the top of the battery, there's a
  22· ·rolled crimp and it was not a crimp that was
  23· ·expanded or pushed out.
  24· · · ·Q.· ·What does that tell you?
  25· · · ·A.· ·Again, it's a data point.· In and of

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  ·1· ·itself, it doesn't tell me anything.
  ·2· · · ·Q.· ·Okay.· And then you have -- does it say
  ·3· ·multiple dents?
  ·4· · · ·A.· ·Yes.
  ·5· · · ·Q.· ·Is that what that says?
  ·6· · · ·A.· ·Yes.
  ·7· · · ·Q.· ·What does that mean?
  ·8· · · ·A.· ·Just what it says.· That the steel case
  ·9· ·was dented.· It looked like it had been walked on
  10· ·or driven over.
  11· · · ·Q.· ·If I go down to Page 19, there's a note
  12· ·here that says 3-B-17, and then there's a highlight
  13· ·that says x-ray first.· Why is that highlighted?
  14· · · ·A.· ·That was nomenclature that was on the bag
  15· ·itself.
  16· · · ·Q.· ·Okay.· And then 3-B-18 is highlighted.
  17· ·Why is 3-B-18 highlighted?
  18· · · ·A.· ·Again, easy recall of which ones were
  19· ·being imaged so you could see there where there's
  20· ·notation on the bag in green that says CT scan and
  21· ·also had, I believe, CT plates.
  22· · · ·Q.· ·Let me go to Page 20, we have a 3-C-01,
  23· ·why is that highlighted?
  24· · · ·A.· ·Same reason.· If you look out to the
  25· ·right, it says "x-ray first, CT."· Those are

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  ·1· ·nomenclatures that were written on the bags.
  ·2· · · ·Q.· ·This last line here, what does that say?
  ·3· ·I was having trouble reading it as I'm scrolling
  ·4· ·over on the 2 cell.
  ·5· · · ·A.· ·Sir, if you could hit the plus sign one
  ·6· ·more time for me, I'd appreciate it.· Both had
  ·7· ·pressure relief with push -- hit it one more time.
  ·8· ·There you go, thank you.· I can't tell.· Push out.
  ·9· ·So it looks like that some of the -- some of the
  10· ·contents had been ejected.
  11· · · ·Q.· ·With regard to how this February exam was
  12· ·conducted, you don't have any critiques of the
  13· ·exam, do you?
  14· · · · · · MR. BARTON:· Objection.· Vague.
  15· · · ·A.· ·I don't have any critiques of the February
  16· ·exam, no.· February 2021, no.
  17· · · ·Q.· ·(By Mr. Lesnick) Did you draw any
  18· ·conclusions after this exam occurred?
  19· · · ·A.· ·No.
  20· · · ·Q.· ·Were you able to eliminate any ignition
  21· ·sources after this exam?
  22· · · ·A.· ·Would I have been able or did I?· What's
  23· ·the question?
  24· · · ·Q.· ·Did you?
  25· · · ·A.· ·Did I?· No.

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  ·1· · · ·Q.· ·Would you have been able to?
  ·2· · · ·A.· ·It depends.· It's not a --
  ·3· · · ·Q.· ·What --
  ·4· · · ·A.· ·It's not a piece of work I did at that
  ·5· ·point in time.· It would be improper to do so
  ·6· ·because at that point in time, I didn't have all
  ·7· ·the data points collected.
  ·8· · · ·Q.· ·Let me go back to Exhibit 3 for your
  ·9· ·invoices.· Page 13 where we're at, it says on 2/19,
  10· ·client contact, one hour.· What does client contact
  11· ·mean?
  12· · · ·A.· ·Client contact means I had a conversation
  13· ·with the Stanton Barton law firm.
  14· · · ·Q.· ·Did you take any notes during that
  15· ·conversation?
  16· · · ·A.· ·I doubt it.· If I did, I would have
  17· ·produced it to you --
  18· · · ·Q.· ·Do you know --
  19· · · ·A.· ·-- I do not recall.
  20· · · ·Q.· ·Do you know who was on that phone call?
  21· · · ·A.· ·I do not.
  22· · · ·Q.· ·Do you remember what was said?
  23· · · ·A.· ·No.
  24· · · ·Q.· ·If I go up to Page 12, this is the invoice
  25· ·dated 4/8/2021.· On 4/8 -- I'm sorry.· On 3/8/'04,

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  ·1· ·it says -- on 3/4/'21 and 3/8/'21, it says special
  ·2· ·photography model, B. Rackers.· Is this more of
  ·3· ·the -- is this -- what is being discussed here?                              I
  ·4· ·guess let me just ask you that.
  ·5· · · ·A.· ·Again it's work that Ben Rackers did on
  ·6· ·the file.
  ·7· · · ·Q.· ·Okay.· And do you remember what specific
  ·8· ·work related to these invoices?
  ·9· · · ·A.· ·I can't tell you exactly what he did on
  10· ·those days, but I can tell you the totality of what
  11· ·he did.· We have talked about some of that already.
  12· · · ·Q.· ·If I go to Page 9 of this exhibit, which
  13· ·is the invoice from 7/8/2022, there is entries in
  14· ·your invoice of lab disassembly and examination on
  15· ·6/27, 6/28, and 6/29.· Do you recall attending an
  16· ·exam at Midwest Forensics on those three days?
  17· · · ·A.· ·I believe that is correct, yes.
  18· · · ·Q.· ·Did you take notes during those days
  19· ·during the exam?
  20· · · ·A.· ·I expect I did.
  21· · · ·Q.· ·Let me pull up what we'll mark as Exhibit
  22· ·6.
  23· · · · · · ·(Plaintiff's Exhibit 6 marked for
  24· · · · · · · · · · ·identification.)
  25· · · ·Q.· ·Let me know when you see the item I've

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  ·1· ·brought up on my screen.
  ·2· · · ·A.· ·Right.· So I see -- can you go to the very
  ·3· ·top of the page?· Okay.
  ·4· · · ·Q.· ·This is a 26 page document that was in
  ·5· ·your file as lab 2 battery notes 6/27/2022, do you
  ·6· ·recognize these notes?
  ·7· · · ·A.· ·Yes, those look like notes that I would
  ·8· ·have prepared.
  ·9· · · ·Q.· ·And then there was another item in your
  10· ·file that was called lab.· So this one that --
  11· ·Exhibit 6, we were looking at was lab 2 battery
  12· ·note 6/27/2022, and then there was another one, lab
  13· ·2 notes 6/27/2022, we're going to mark this as
  14· ·Exhibit 7.
  15· · · · · · ·(Plaintiff's Exhibit 7 marked for
  16· · · · · · · · · · ·identification.)
  17· · · ·Q.· ·Do you see that document on my screen?
  18· · · ·A.· ·I do.
  19· · · ·Q.· ·Is there -- is this -- is Exhibit 7 a
  20· ·continuation of your Exhibit 6?
  21· · · ·A.· ·No, they're separate documents.
  22· · · ·Q.· ·It said lab continued here, and then it's
  23· ·titled 6/27, so I'm just trying to figure out what
  24· ·the difference of Exhibit 6 and Exhibit 7 were.
  25· · · ·A.· ·Sure, Exhibit 7 is the continuation of the

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  ·1· ·work that was started in February of 2021.· So we
  ·2· ·started --
  ·3· · · ·Q.· ·Okay.
  ·4· · · ·A.· ·Let me make sure I got that date, yeah,
  ·5· ·February of 2021 was the first part of the lab.· We
  ·6· ·continued it -- I hope those dates are right.                             I
  ·7· ·guess they are right.· It looks like it was a year
  ·8· ·plus that we got back to going and looking at the
  ·9· ·rest of the items.· It's over a year later, but I'm
  10· ·assuming I got those dates right on there, but yes,
  11· ·that's quite a long time to wait to get going on
  12· ·the rest of the artifacts, but yes, it's a
  13· ·continuation of that lab.· The Item 6, to further
  14· ·clarify, separately, there was a separate -- a
  15· ·separate examination that not all of the
  16· ·participants were interested in going through where
  17· ·Tim Johnson and I went through the battery
  18· ·artifacts, front to back again.
  19· · · ·Q.· ·Okay.· So I'm just trying to wrap my head
  20· ·around what you're saying.· Exhibit 6 is titled in
  21· ·your file lab 2 battery notes 6/27/2022.· Exhibit 7
  22· ·was titled lab 2 notes, 6/27/2022.· Are these notes
  23· ·that you took during your examination on 6/27/2022?
  24· · · ·A.· ·Yes, both are.· Yes, that's correct.
  25· · · ·Q.· ·Okay.· Right.· So Exhibit -- there's two

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  ·1· ·documents, but Exhibit 7 is a continuation of
  ·2· ·Exhibit 6 or do you know what order these are
  ·3· ·supposed to be written in?
  ·4· · · ·A.· ·Well, I mean --
  ·5· · · · · · MR. BARTON:· Asked and answered.· Go
  ·6· ·ahead.
  ·7· · · ·A.· ·The order is not important.· What's
  ·8· ·important is the data that is on it, but anyway,
  ·9· ·Exhibit 7 is a continuation from February, right?
  10· ·So February of 2021, we started going through Mr.
  11· ·Hackett's artifact list and we picked up on 6/27
  12· ·with that list and started with Number 4 on that
  13· ·particular day.· Exhibit 6, there was a separate
  14· ·examination conducted on that same day where we
  15· ·went back, Tim Johnson and I both, went back and
  16· ·pulled out all the battery artifacts again and went
  17· ·through those.· The first time I went through
  18· ·those, I went through them again with permission of
  19· ·folks at Midwest, I went through them on my own,
  20· ·and Tim Johnson continued looking at other items on
  21· ·those days in February of 2021.· And then we went
  22· ·through all of the battery artifacts separately,
  23· ·but, for example, Mr. Kaps, who was there during
  24· ·most of the exam, did not participate in this exam.
  25· ·Mr. Hackett, who was there for part of the exam, in

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  ·1· ·and out, did not participate in that piece of work.
  ·2· · · ·Q.· ·Got it, okay.· So if I go to Exhibit 7,
  ·3· ·there's a note here on the first page, it says
  ·4· ·possible, I believe it says, charger, am I wrong?
  ·5· · · ·A.· ·No, that's what my note says.
  ·6· · · ·Q.· ·Do you know which grid this was found in?
  ·7· · · ·A.· ·Number 4 is on the artifact list, so if we
  ·8· ·went to the artifact list, it would tell us what
  ·9· ·grid that was.· Those notations exist on the
  10· ·artifact list.
  11· · · ·Q.· ·Do you know if -- did you ever determine
  12· ·if this was a charger?
  13· · · ·A.· ·There was no further work done on it.· We
  14· ·examined it that day to the extent that we did and
  15· ·moved on.
  16· · · ·Q.· ·Did you ever ask to do additional work
  17· ·related to determining whether that was a charger?
  18· · · ·A.· ·I did not.
  19· · · ·Q.· ·Exhibits 6 and 7, while they're -- one's a
  20· ·continuation of the February exam and the other is
  21· ·a re-looking at the batteries, are these all of the
  22· ·notes on Exhibits 6 and 7 that you took on June 27,
  23· ·2022?
  24· · · ·A.· ·I believe that is correct.· Again, you
  25· ·have all of my notes.· If there's a Part 2,

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  ·1· ·sometimes my note-taking device would get -- the
  ·2· ·file would get a little large, so I would have to
  ·3· ·split it up.· That might have existed on some of
  ·4· ·the days, but on 6/27, that's probably all of them,
  ·5· ·but again I've produced all of my notes to you,
  ·6· ·so...
  ·7· · · ·Q.· ·I'm going to pull up and mark as Exhibit
  ·8· ·8, and I'm going to bring up Exhibit 9, too, we'll
  ·9· ·go back and forth.
  10· · · · ·(Plaintiff's Exhibits 8 and 9 marked for
  11· · · · · · · · · · ·identification.)
  12· · · ·Q.· ·All right.· We're going to mark this
  13· ·document as Exhibit 8.· It was in your file as lab
  14· ·2 notes, 6/28/2022-A.· Do you recognize this
  15· ·31-page document?
  16· · · ·A.· ·I believe so, yeah.· Could you scroll --
  17· ·could you just hit control end, it will go all the
  18· ·way to the end.· Not on your machine apparently.                               I
  19· ·apologize.· I just want to make sure what the last
  20· ·page looks like.· Yeah, that looks correct, yes.
  21· ·So I think this is an example, if it's got the A
  22· ·designation on it, this is an example of where
  23· ·maybe the file started to get too big, so I broke
  24· ·it up into two parts.
  25· · · ·Q.· ·Okay.· So let me pull up what we marked as

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  ·1· ·Exhibit 9.· This was in your file as lab 2 notes,
  ·2· ·6/28/'22-B.· Is that what you're talking about?
  ·3· · · ·A.· ·Correct.· So I split that day up into two
  ·4· ·different documents.
  ·5· · · ·Q.· ·On Exhibit A -- Exhibit 8, which is
  ·6· ·6/28/'22-A, let me go to Page 3 and ask you a quick
  ·7· ·question.· Do you know where the item on this
  ·8· ·bottom right photograph here was found at the
  ·9· ·scene?
  10· · · ·A.· ·Again, if you go up, if you scroll up just
  11· ·a little bit to the top of that page, and if you
  12· ·hit the plus sign for me, zoom in just a little
  13· ·bit.· So it's Number 13, again I could go to the
  14· ·artifact list, Mr. Hackett's artifact list would
  15· ·tell us where that came from.
  16· · · ·Q.· ·Okay.· On this bottom right photograph
  17· ·here on Page 3, it says -- I believe it says KO
  18· ·present; is that correct?
  19· · · ·A.· ·KO, right.
  20· · · ·Q.· ·What does that stand for?
  21· · · ·A.· ·Knock-out.
  22· · · ·Q.· ·What do you mean by knock-out present?
  23· · · ·A.· ·So, device boxes and junction boxes have
  24· ·pre-stamped knock-outs for cables and/or conduits
  25· ·to attach to the box, so I'm noting that there was

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  ·1· ·an open knock-out at that location.
  ·2· · · ·Q.· ·If I go to Page 26, zoom out a little bit
  ·3· ·so you can see the full page.· There's two
  ·4· ·photographs at the top here and it says DC
  ·5· ·something.· Can you tell me what that says?
  ·6· · · ·A.· ·DC motor, I believe it says.
  ·7· · · ·Q.· ·Is this photograph in the bottom right
  ·8· ·just a zoom in of the arrow in the upper left
  ·9· ·photograph?
  10· · · ·A.· ·We lost something there.· All right.
  11· ·We're back.· Your question again?· I apologize.                              I
  12· ·missed the question there.
  13· · · ·Q.· ·Yeah.· Is this photograph in the bottom
  14· ·right a zoom in of where the arrow is pointing on
  15· ·the top left photograph?
  16· · · ·A.· ·Well, I think it's a second -- I think
  17· ·it's a second image with the scale ended.
  18· · · ·Q.· ·What were you trying to -- I guess, why
  19· ·were you having a marking through it?· Are you just
  20· ·identifying that it was a motor?
  21· · · ·A.· ·That this was a DC motor, correct.
  22· · · ·Q.· ·Do you know what that DC motor went to?
  23· · · ·A.· ·I do not.
  24· · · ·Q.· ·Page 29, you have some yellow markings in
  25· ·this photograph here.· What does this say next to

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  ·1· ·these yellow indications on the top in blue?
  ·2· · · ·A.· ·Sure.· That says tool chuck and motor, so
  ·3· ·that's just a --
  ·4· · · ·Q.· ·What are you --
  ·5· · · ·A.· ·Again I'm just flagging.· I'm just
  ·6· ·flagging what is in the image.
  ·7· · · ·Q.· ·Do you know what this tool chuck and motor
  ·8· ·went to?
  ·9· · · ·A.· ·Probably a tool of some sort, but other
  10· ·than that, no.
  11· · · ·Q.· ·If we go to Exhibit 9, which is your
  12· ·6/28/2022-B notes, these are the continuation of
  13· ·your notes from that day, right?· We already said?
  14· · · ·A.· ·Correct.
  15· · · ·Q.· ·And the first page here, I see an x-ray
  16· ·signature, why did you write x-ray here?
  17· · · ·A.· ·If we were going to do further examination
  18· ·of those items, I would want an x-ray of them.
  19· · · ·Q.· ·Did you ask for those items to be x-rayed
  20· ·at any point?
  21· · · ·A.· ·I did not.
  22· · · ·Q.· ·Why not?
  23· · · ·A.· ·Ultimately, I ended up not needing to.
  24· · · ·Q.· ·If we go to Page 4, in this top
  25· ·photograph, what is this item; do you know?

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  ·1· · · ·A.· ·It's item 9.7 -- actually it's 19.7.· So
  ·2· ·the .7 was something that, by agreement with Tim
  ·3· ·Johnson, because there were so many items and some
  ·4· ·of the items we decided to put some additional
  ·5· ·designators on there, so we could later on talk
  ·6· ·about 19.7 as opposed to 19 bag number whatever
  ·7· ·because they didn't have bag numbers on them, so
  ·8· ·those designators were added during the course of
  ·9· ·the examination for tracking purposes, and that
  10· ·item appears to be a drill.
  11· · · ·Q.· ·Did you ever identify the manufacturer of
  12· ·this drill?
  13· · · ·A.· ·It's not legible.· The data on it is not
  14· ·legible.· It certainly could be a Makita product
  15· ·based on its color, but again that could be, but
  16· ·the markings are not legible.
  17· · · ·Q.· ·Let me go down to Page 12.· I saw here, I
  18· ·think it says after market plug; is that correct?
  19· · · ·A.· ·That's correct.
  20· · · ·Q.· ·How did you determine that this was an
  21· ·after market plug?
  22· · · ·A.· ·Because the manufacturers don't put extra
  23· ·terminals on their cord terminations at the male
  24· ·blades.
  25· · · ·Q.· ·Do you know what this cord was utilized

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  ·1· ·with?
  ·2· · · ·A.· ·No.
  ·3· · · ·Q.· ·If I go to Page 26, it says here on this
  ·4· ·photograph impact tool inside box, and it says
  ·5· ·copper foil adhered to box.· What kind of impact
  ·6· ·tool did you find?
  ·7· · · ·A.· ·Can you scroll down so I can see the top
  ·8· ·of the -- I don't recall, as I'm sitting here.                              I
  ·9· ·would have to go through all of my photographs from
  10· ·that day.· Keep in mind, these are just my notes
  11· ·that include kind of an overview and that I would
  12· ·have additional detailed photographs, companion
  13· ·photographs that went with these notes, and so from
  14· ·my notes I can't tell you what kind of impact tool
  15· ·that was.
  16· · · ·Q.· ·Where would I find those -- I guess how
  17· ·would I know what's the companion photograph for
  18· ·these photographs?
  19· · · ·A.· ·Well, it's my intention when I start
  20· ·photographing an item is I would take an image of
  21· ·the bag itself and so you'd have to scroll through
  22· ·them to find the bag marking that matched the note.
  23· ·So for example, if you scroll up on this one a
  24· ·little bit, please?· This is Item Number -- it
  25· ·appears to be Item Number 22, so if you went to my

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  ·1· ·photographs, complete set of photographs, you
  ·2· ·would -- the first photograph for this item would
  ·3· ·be an image of the bag or the tote or whatever it
  ·4· ·was that it was contained in, the packaging in
  ·5· ·general, and then the subsequent photographs would
  ·6· ·be what's contained inside are with that particular
  ·7· ·item.
  ·8· · · ·Q.· ·Okay.· I'm going to pull up what we're
  ·9· ·going to mark as Exhibit 10.
  10· · · · · · (Plaintiff's Exhibit 10 marked for
  11· · · · · · · · · · ·identification.)
  12· · · ·Q.· ·This is a document in your file.· This was
  13· ·a document in your file titled lab 2 note
  14· ·6/29/2022-A.· I'm going to pull up and we're going
  15· ·to mark as Exhibit 11 as well because I believe
  16· ·it's the companion we've been discussing.
  17· · · · · · (Plaintiff's Exhibit 11 marked for
  18· · · · · · · · · · ·identification.)
  19· · · ·Q.· ·Are you seeing what I've pulled up here
  20· ·that we're going to mark as Exhibit 11?
  21· · · ·A.· ·Yeah, but we have so many open that I
  22· ·can't tell what the numbers are anymore, but that's
  23· ·okay.· I'll take your word for it you're marking
  24· ·that one as 11.
  25· · · ·Q.· ·Sure.· I will exit out so you can see.

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  ·1· · · ·A.· ·So 10 looks like the first part of the
  ·2· ·note and 11 looks like -- Exhibit 11 looks like the
  ·3· ·second part for that day.
  ·4· · · ·Q.· ·And that day is 6/29/2022, right?
  ·5· · · ·A.· ·Both of those sets, 10 and 11, appear to
  ·6· ·be 6/29/2022, that's correct.
  ·7· · · ·Q.· ·These are all the notes you took on
  ·8· ·6/29/2022?
  ·9· · · ·A.· ·I believe that is correct.
  10· · · ·Q.· ·The lab exam ended, that portion of the
  11· ·lab exam ended on 6/29/2022, correct?
  12· · · ·A.· ·That sounds correct.
  13· · · ·Q.· ·Did you have any critiques of how that
  14· ·portion of the lab exam was conducted?
  15· · · ·A.· ·No.
  16· · · ·Q.· ·Did you draw any conclusions about this
  17· ·case after that exam on those days?
  18· · · ·A.· ·No.
  19· · · ·Q.· ·Did you eliminate any ignition sources
  20· ·after the exam on those days?
  21· · · ·A.· ·No.
  22· · · ·Q.· ·Let me go back to Exhibit 3, which are
  23· ·your invoices.· If I go up to Page 7, it's an
  24· ·invoice dated 10/5/2022.· There is an entry on
  25· ·9/7/2022 and 9/8/2022, for lab disassembly and

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  ·1· ·examination.· What are those entries referencing?
  ·2· · · ·A.· ·I believe those are two additional days of
  ·3· ·exams at Midwest.
  ·4· · · ·Q.· ·Okay.· Did you attend lab exams at Midwest
  ·5· ·on those days?
  ·6· · · ·A.· ·I did, yes.
  ·7· · · ·Q.· ·Let me ask, the June lab exam we were just
  ·8· ·talking about, you followed the same protocol from
  ·9· ·the February lab exam, correct?
  10· · · ·A.· ·Correct.· I don't believe there was a new
  11· ·protocol developed.
  12· · · ·Q.· ·For this September exam, was that same
  13· ·protocol followed as well?
  14· · · ·A.· ·I believe that's correct.
  15· · · ·Q.· ·Quick question.· It says you purchased a
  16· ·tool for battery disassembly, and I just wanted to
  17· ·make sure because I remember, I think, there was an
  18· ·issue getting opened some of the batteries, right?
  19· ·That's not -- that was a tool used for the lab
  20· ·exam, not an exemplar-type tool, correct?
  21· · · ·A.· ·No, that was -- are you asking -- is your
  22· ·question related to the tool or the artifact?
  23· · · ·Q.· ·The tool for battery disassembly.
  24· · · ·A.· ·All right.· But what was your question
  25· ·again?· Was it related to the tool or the artifact

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   ·1· ·we were looking at?
   ·2· · · ·Q.· ·Well, my recollection is we had a purchase
   ·3· ·of tool, the experts had to purchase a tool to get
   ·4· ·into some of the batteries or something like that
   ·5· ·that wasn't onsite at the lab, and I was just
   ·6· ·curious what this -- if this entry related to you
   ·7· ·purchasing something.· I don't remember if that's
   ·8· ·what you did or not.· I can ask it a different way.
   ·9· ·That's what I initially asked.
   10· · · ·A.· ·Yes, I went and purchased -- I had to go
   11· ·out and try to purchase something to enable
   12· ·disassembly of exemplars, some of the artifact
   13· ·exemplars that were presented.
   14· · · ·Q.· ·You didn't go out and purchase a Makita
   15· ·tool, right?
   16· · · ·A.· ·No.· No, sir.
   17· · · ·Q.· ·Okay.· I just wanted to clarify that.· All
   18· ·right.· Did you take notes from your lab exam on
   19· ·9/7 and 9/8?
   20· · · ·A.· ·I expect so.
   21· · · ·Q.· ·I'll pull up what we're going to mark as
   22· ·Exhibit 12 and Exhibit 13.
   23· · · · ·(Plaintiff's Exhibit 12 and 13 marked for
   24· · · · · · · · · · ·identification.)
   25· · · ·Q.· ·Are you seeing the document I pulled up

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   ·1· ·that we're going to mark as Exhibit 12?
   ·2· · · ·A.· ·Yes.
   ·3· · · ·Q.· ·I'm going to zoom out a little bit.· This
   ·4· ·is a 20-page document.· It was in your file titled
   ·5· ·lab 3 notes 9/7/'22-A, and then I'm going to pull
   ·6· ·up what we're going to mark as Exhibit 13, which
   ·7· ·was also in your file, and it was labeled lab 3
   ·8· ·notes, 9/7/'22-B.· Do you recognize both of these
   ·9· ·documents?
   10· · · ·A.· ·I do, yes.· The pages that you've shown
   11· ·me.
   12· · · ·Q.· ·What are these documents?
   13· · · ·A.· ·Those are notes that I've made at Midwest.
   14· · · ·Q.· ·Are these all of the notes you took on
   15· ·September 7th, 2022 and September 8th, 2022?
   16· · · ·A.· ·I believe that's correct.
   17· · · ·Q.· ·With regard to how this exam, this portion
   18· ·of the exam went, do you have any critiques?
   19· · · · · · MR. BARTON:· Objection.· Vague.
   20· · · ·A.· ·No.· The artifacts were presented for
   21· ·examination and I examined them to the extent I
   22· ·needed to on those dates.
   23· · · ·Q.· ·(By Mr. Lesnick) Did you draw any
   24· ·conclusions after this exam?
   25· · · ·A.· ·I did not formalize any conclusions at

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   ·1· ·that point.
   ·2· · · ·Q.· ·Were you able to eliminate any ignition
   ·3· ·sources after this exam?
   ·4· · · ·A.· ·I did not formulate any conclusions either
   ·5· ·way on those dates.
   ·6· · · ·Q.· ·Let me go back to the invoice, which is
   ·7· ·Exhibit 3, and I am going to scroll up to Page 4.
   ·8· ·Invoice dated 2/7/2023.· I had a question.· On
   ·9· ·1/19/2023, it says witness other person contact.
   10· ·What is that entry about?
   11· · · ·A.· ·It looks like I contacted somebody other
   12· ·than -- other than the Stanton Barton law firm.
   13· · · ·Q.· ·Okay.· Who was that?
   14· · · ·A.· ·I don't recall, as I sit here.
   15· · · ·Q.· ·What information did you learn during that
   16· ·contact?
   17· · · ·A.· ·I don't recall.· I don't recall that I
   18· ·learned anything.· It might have just been a
   19· ·scheduling call.
   20· · · ·Q.· ·Page 2 here, it says -- I'm sorry.· Let me
   21· ·scroll up to Page 2.· There's a Markiewicz on here.
   22· ·Who is Markiewicz?
   23· · · ·A.· ·Jack Markiewicz is an employee of Schaefer
   24· ·Engineering.
   25· · · ·Q.· ·It says he traveled on 1/30 and 1/31, what

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   ·1· ·travel is that related to?
   ·2· · · ·A.· ·It's related to retrieving the battery
   ·3· ·artifacts from Midwest and delivering them to the
   ·4· ·imaging facility.
   ·5· · · ·Q.· ·What imaging facility is that?
   ·6· · · ·A.· ·Safety Engineering Labs.
   ·7· · · ·Q.· ·And why was the evidence transferred to
   ·8· ·Safety Engineering Labs for imaging?
   ·9· · · ·A.· ·That's the CT scans that are on that drive
   10· ·that you received.
   11· · · ·Q.· ·Okay.· And why did you decide to have SEL
   12· ·scan that evidence?
   13· · · ·A.· ·I'm not clear on what your question is.
   14· · · ·Q.· ·Why did you have SEL perform CT scans on
   15· ·the evidence?
   16· · · ·A.· ·Well, SEL is a pretty good reputable firm
   17· ·and I thought that they had quality equipment and
   18· ·could do a good job of it.
   19· · · ·Q.· ·Okay.· Putting aside the quality of their
   20· ·work, what was the reason you had CT scans
   21· ·performed of the battery cells?
   22· · · ·A.· ·For data points.
   23· · · ·Q.· ·Okay.· What data points were you trying to
   24· ·obtain?
   25· · · ·A.· ·The condition of the remaining cells that

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   ·1· ·the plaintiff experts did not scan.
   ·2· · · ·Q.· ·What work did SEL perform?
   ·3· · · ·A.· ·They imaged the batteries and sent the
   ·4· ·images to us on a flash drive -- or on a hard
   ·5· ·drive.· Hard drive.
   ·6· · · ·Q.· ·What type of imaging did they perform?
   ·7· · · ·A.· ·CT scans.
   ·8· · · ·Q.· ·Did they do any x-rays?
   ·9· · · ·A.· ·No, I don't believe so.
   10· · · ·Q.· ·Did you ask anyone to x-ray any of the
   11· ·cells collected in this matter?
   12· · · ·A.· ·No, I don't recall that we -- I think they
   13· ·did.· They may have -- they may have -- again, it's
   14· ·not an x-ray that I reviewed or relied upon, but
   15· ·they may have done a quick x-ray to determine if
   16· ·there was anything inside one of the cells before
   17· ·spending the money to CT scan it.· I think the
   18· ·initial -- I remember some discussion with the
   19· ·operator saying, "Hey, this cell looks and feels
   20· ·like it's empty, there's not going to be anything
   21· ·inside of it.· Do you want me to spend the money on
   22· ·doing a CT scan?"· He said I could just do a quick
   23· ·x-ray of it.· I think the answer, we ultimately did
   24· ·not get a CT scan of that particular device.                           I
   25· ·think we note in our report, which those are.

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   ·1· · · ·Q.· ·Did you do any x-rays?
   ·2· · · ·A.· ·If he x-rayed it, it was only to determine
   ·3· ·if there was anything worth CT scanning in there,
   ·4· ·and I don't know if he provided those x-rays or
   ·5· ·not.· It's not something I used in my analysis of
   ·6· ·this matter.
   ·7· · · ·Q.· ·So he was utilizing the x-ray to determine
   ·8· ·whether or not a CT scan was necessary?
   ·9· · · · · · MR. LESNICK:· Object to form.· Vague.· Go
   10· ·ahead.
   11· · · ·A.· ·That's not what I said.· What I said was
   12· ·he was -- he said, "If I run a quick x-ray to see
   13· ·if there's anything inside and there's nothing
   14· ·inside, do you still want me to provide a CT scan
   15· ·of it?"· I said, "No, if it's empty, don't worry
   16· ·about it," and I make note of that in my report.
   17· · · ·Q.· ·So you used an x-ray to determine whether
   18· ·or not a CT scan was needed?
   19· · · · · · MR. BARTON:· Object to form.
   20· ·Mischaracterizing the witness' statement a second
   21· ·time.· Go ahead.
   22· · · ·A.· ·So I did not do that.· I've never seen
   23· ·that x-ray.· It may be on that drive, I don't know.
   24· ·I was only interested in CT scans of the batteries.
   25· · · ·Q.· ·(By Mr. Lesnick) Are there x-rays that

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   ·1· ·you're not -- some that you don't know for certain
   ·2· ·if SEL took any x-rays of the cells?
   ·3· · · ·A.· ·As I mention in my report, we conducted
   ·4· ·scans of most of the battery artifacts that were
   ·5· ·shipped from Midwest to SEL or delivered by Mr.
   ·6· ·Markiewicz.· I received a call from the lab asking
   ·7· ·if I wanted to have an x-ray of an empty canister
   ·8· ·and my answer was probably not.· It won't be of any
   ·9· ·value because there's nothing inside to see.· He
   10· ·said, "Well, if I make a quick x-ray of it to see
   11· ·if it's empty," this to one cell, "If that canister
   12· ·is empty, do you still want me to spend the money
   13· ·to CT scan it," and I said, "Don't do that," and
   14· ·that was discussed in my report.
   15· · · ·Q.· ·Are you aware of any other x-rays that
   16· ·were performed or not performed?
   17· · · ·A.· ·Yes, so the plaintiff experts made x-rays,
   18· ·relied on those x-rays.· I've asked for them on
   19· ·numerous times and I have not received.
   20· · · ·Q.· ·You asked for x-rays of your own -- of the
   21· ·cells in this matter that you sent to SEL?
   22· · · · · · MR. BARTON:· Object to form.· Misstates
   23· ·the witness' testimony.· Go ahead.
   24· · · ·A.· ·What is your question again?
   25· · · ·Q.· ·(By Mr. Lesnick) The question is; did you

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   ·1· ·ask for x-rays of the cells that you sent to SEL?
   ·2· · · ·A.· ·No, I did not.· I sent them --
   ·3· · · ·Q.· ·Is there a reason why?
   ·4· · · ·A.· ·Because I was going to have them CT scan,
   ·5· ·which is a much better image.
   ·6· · · ·Q.· ·You do not feel that x-ray was necessary,
   ·7· ·I guess, you said -- let me rephrase.· You said you
   ·8· ·feel CT scan is a much better image, right?· That's
   ·9· ·what you said?
   10· · · ·A.· ·Correct.· It provides more information
   11· ·than an x-ray.
   12· · · ·Q.· ·Do you know if any information can be
   13· ·taken from an x-ray to help evaluate cells?
   14· · · · · · MR. BARTON:· Objection.· Vague.
   15· · · ·A.· ·I believe there is information that's
   16· ·contained in other data points, x-rays provided a
   17· ·data point.
   18· · · ·Q.· ·(By Mr. Lesnick) Is there a reason why you
   19· ·didn't utilize x-rays to obtain additional data
   20· ·points in your evaluation in this case.
   21· · · · · · MR. BARTON:· Objection.· Asked and
   22· ·answered.· It misstates parts of his testimony.· Go
   23· ·ahead.
   24· · · ·A.· ·Because I was getting them CT scanned,
   25· ·which again is a better image, has more

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   ·1· ·information.
   ·2· · · ·Q.· ·(By Mr. Lesnick) So other than the CT
   ·3· ·scans that you directed to have performed, can --
   ·4· ·was it you that directed to have the CT scans
   ·5· ·performed?
   ·6· · · ·A.· ·It was done at my request, yes.
   ·7· · · ·Q.· ·Other than those CT scans, did you direct
   ·8· ·any other imaging to be performed on any of the
   ·9· ·cells in this matter?
   10· · · ·A.· ·No.
   11· · · ·Q.· ·Other than the laboratory examinations we
   12· ·talked about in February of 2021, June 2022 and
   13· ·September of 2022, did you perform any other
   14· ·laboratory examinations during your analysis of
   15· ·this matter?
   16· · · ·A.· ·I don't believe so, no.
   17· · · ·Q.· ·You didn't participate in the evidence
   18· ·collection process from the scene, did you?
   19· · · ·A.· ·That's correct, I did not.
   20· · · ·Q.· ·How did you gather information related to
   21· ·that process?
   22· · · ·A.· ·From file materials from -- I have
   23· ·photographs from the scene that were taken by Mr.
   24· ·Sacco and photographs from the scene that were
   25· ·taken by Mr. McGinley.· Subsequently, I received

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   ·1· ·file materials from Mr. Hackett and from Mr.
   ·2· ·Johnson.
   ·3· · · ·Q.· ·Other than those photographs from Mr.
   ·4· ·McGinley and Mr. Sacco.· Did you receive any other
   ·5· ·information from Mr. McGinley and Mr. Sacco?
   ·6· · · ·A.· ·I believe two diagrams may have been
   ·7· ·included with the McGinley, and these aren't
   ·8· ·diagrams that he had produced, they were diagrams
   ·9· ·that he was provided by Mr. Hackett, or I should
   10· ·say, Mr. Hackett or Mr. Kaps.· Basically it's the
   11· ·grid --
   12· · · ·Q.· ·Did you have any information -- sorry.· Go
   13· ·ahead.
   14· · · ·A.· ·Basically it was the grid diagram of what
   15· ·grid 3-C meant relative to the grid.
   16· · · ·Q.· ·And what Grid 3-C meant?
   17· · · ·A.· ·Right.· So as you know, we've been talking
   18· ·at different points during this deposition about
   19· ·you asked where something came from, what grid it
   20· ·came out of.· So there was an agreed upon map of
   21· ·the area that was processed that had, for example,
   22· ·grid 1 through 8 and then it went through A through
   23· ·D, I believe, or something along those lines.                            I
   24· ·don't have it in front of me, something to that
   25· ·effect.

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   ·1· · · ·Q.· ·Do you know who -- you said it was an
   ·2· ·agreed upon map.· Agreed upon between who?
   ·3· · · ·A.· ·The experts that were present for the site
   ·4· ·investigation.· This is the way we're going to do
   ·5· ·it.· There were survey tape flag lines put out and
   ·6· ·it was processed grid by grid.
   ·7· · · ·Q.· ·Have you ever had any phone conversations
   ·8· ·with Mr. McGinley about this case?
   ·9· · · ·A.· ·Other than scheduling, I can't think of
   10· ·any, no.
   11· · · ·Q.· ·Did SEL, how did SEL provide to you the
   12· ·imaging that they took?
   13· · · ·A.· ·They provided a hard drive that was
   14· ·shipped to me.
   15· · · ·Q.· ·Do you know if a receipt of that hard
   16· ·drive is found anywhere on your invoice?
   17· · · ·A.· ·So I did not pay for any of those.· I did
   18· ·not directly pay for any of those shipping charges
   19· ·with the exception of Mr. Markiewicz' time to
   20· ·deliver those items to SEL from Midwest, that's the
   21· ·only --
   22· · · ·Q.· ·Is there any --
   23· · · ·A.· ·Those are the only line items that should
   24· ·be on the invoices, in other words, I didn't direct
   25· ·any --

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   ·1· · · ·Q.· ·Is there any --
   ·2· · · ·A.· ·I did not directly pay SEL.
   ·3· · · ·Q.· ·Who paid SEL?
   ·4· · · · · · MR. BARTON:· Objection to form.· Calls for
   ·5· ·speculation.
   ·6· · · ·A.· ·I don't know who wrote the check.
   ·7· · · ·Q.· ·(By Mr. Lesnick) Is there any indication
   ·8· ·on your invoice when you first began reviewing the
   ·9· ·CT scans that SEL created?
   10· · · ·A.· ·No, I don't have an indicator like that.
   11· · · ·Q.· ·Did you take any notes upon your review of
   12· ·the CT scans that SEL created?
   13· · · ·A.· ·I had some images created and those are in
   14· ·the report.· Those are the extent of my notes.
   15· · · ·Q.· ·Extent of your notes are the images
   16· ·created?
   17· · · ·A.· ·The extent of my notes regarding those
   18· ·images are those that exist in my report.
   19· · · ·Q.· ·Okay.· And which figures in your report
   20· ·are the ones you're referring to?
   21· · · ·A.· ·So on Page 44, Figure 16, for example, it
   22· ·shows a sectional view of two battery cells that
   23· ·were in a bag marked 3-B.15 and there are some
   24· ·notations marked on those images.
   25· · · ·Q.· ·But you said, I think, Rackers put those

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   ·1· ·notations on, right?
   ·2· · · ·A.· ·At my direction, that's correct.
   ·3· · · ·Q.· ·Are there any --
   ·4· · · ·A.· ·Just to be clear --
   ·5· · · ·Q.· ·-- any photographs that --
   ·6· · · ·A.· ·Just to be clear --
   ·7· · · · · · MR. BARTON:· Wait --
   ·8· · · ·A.· ·Just to be clear --
   ·9· · · ·Q.· ·-- any images that were --
   10· · · · · · MR. BARTON:· Ben, the witness is trying to
   11· ·speak, please.
   12· · · ·A.· ·Just to be clear, he's the one that put
   13· ·the mark on the paper and saved the image because
   14· ·we used his -- he has a very -- he has a custom
   15· ·built machine that's good at processing large files
   16· ·like this.· Not every computer -- not every
   17· ·computer out there can handle this kind of data
   18· ·very efficiently.· They can all handle -- it's not
   19· ·very efficiently, but this machine that he built
   20· ·himself is very good at handling this type of data,
   21· ·so we used his machine and he and I sat together
   22· ·and created these documents.
   23· · · ·Q.· ·Are there any other images that contain
   24· ·notes on the images, whether it was created by Mr.
   25· ·Rackers or yourself, that are not included in your

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   ·1· ·report?
   ·2· · · ·A.· ·If they were, they were in the file
   ·3· ·production, so I've copied everything off of my --
   ·4· ·off of my project file into -- onto either the
   ·5· ·share file or the hard drive that was sent to you.
   ·6· · · ·Q.· ·That's the hard drive I received on
   ·7· ·Friday?
   ·8· · · ·A.· ·I can't comment on when you received it,
   ·9· ·but it's a hard drive that I shipped out,
   10· ·certainly.· You would have gotten it from my
   11· ·office, I don't know when that got there.
   12· · · ·Q.· ·If I didn't see any other images in your
   13· ·hard drive that had notations on it, you know, as
   14· ·we were just looking at Figure 16, that means the
   15· ·notations on those photos don't exist, right?
   16· · · · · · MR. BARTON:· Object to form.· Speculation.
   17· ·Compound in different parts, and vague.· Go ahead.
   18· · · ·A.· ·So the images in my report are the
   19· ·notations that I created for use in preparing the
   20· ·report.· If there are others, and there certainly
   21· ·could be, they would be contained on those -- on
   22· ·that drive or in the share file, so they would have
   23· ·been produced to you.· If they're not there, they
   24· ·don't exist.· I'm not hiding anything.· I'm not
   25· ·holding anything back.· I've got no reason to do

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   ·1· ·that.
   ·2· · · ·Q.· ·(By Mr. Lesnick) I'm going to bring back
   ·3· ·up this Exhibit 3.· All right.· This page here on
   ·4· ·Page 1, it ends on 3/21/2023.· Before today, is
   ·5· ·that the last time you worked on this file?
   ·6· · · ·A.· ·Is your question have I worked on the file
   ·7· ·since 3/31?
   ·8· · · ·Q.· ·Yes.
   ·9· · · ·A.· ·Well, I expect I have.· I got prepped for
   10· ·today.
   11· · · ·Q.· ·When did your prep occur?
   12· · · ·A.· ·Well, it was after 3/31 and before today.
   13· ·Exactly what days I prepped, I don't recall.
   14· · · ·Q.· ·Did it happen yesterday?
   15· · · ·A.· ·I did some prep yesterday, yes.
   16· · · ·Q.· ·With Mr. Barton?
   17· · · ·A.· ·We did meet for a little while yesterday,
   18· ·yes.
   19· · · ·Q.· ·So you're saying other than yesterday
   20· ·there were additional times you met with -- I'm
   21· ·sorry, not met, but prepped for this deposition?
   22· · · ·A.· ·Yes, yeah, I probably spent a little time
   23· ·on it Monday.· Other than that, I can't recall any,
   24· ·but there certainly could be.
   25· · · ·Q.· ·Was your report finalized as of 3/31/2023?

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   ·1· · · ·A.· ·I think it was finalized on April 6th,
   ·2· ·2023, the date issued -- the date of the report is
   ·3· ·April 6,2023.
   ·4· · · ·Q.· ·Did you work on the report between 3/31
   ·5· ·and April 6th, 2023?
   ·6· · · ·A.· ·It's possible.· I would have to look.
   ·7· · · ·Q.· ·So it's possible that it was finalized on
   ·8· ·3/31/2023, right?
   ·9· · · · · · MR. BARTON:· Object to form.
   10· ·Argumentative.· Go ahead.
   11· · · ·A.· ·It's possible, yes.
   12· · · ·Q.· ·(By Mr. Lesnick) Do you know what day you
   13· ·finalized your opinions in this matter?
   14· · · ·A.· ·April 6th, 2023, when the report was
   15· ·issued.
   16· · · ·Q.· ·Let me just pull up Exhibit 4 again.· I'm
   17· ·going to go to Page 144.· This is an e-mail between
   18· ·Benjamin Rackers and you on January 5th, 2023.                            I
   19· ·think you made mention of this e-mail before.· It
   20· ·says, "Ben in mid-December, we discussed you doing
   21· ·work on this matter completing by mid-January,
   22· ·checking on your availability to complete the
   23· ·work."· And he said, "John, don't worry.· I haven't
   24· ·forgotten."· Do you know what is being referenced
   25· ·here in this e-mail?

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   ·1· · · ·A.· ·Not -- generally, yes.· I mean, he was
   ·2· ·helping me with some of the imaging.· At this point
   ·3· ·in time, we didn't have our own CT scanner, so he
   ·4· ·might have been -- he might have -- I might have
   ·5· ·gotten other scans -- I think actually you provided
   ·6· ·some scans to Mr. Barton's office and he shared
   ·7· ·those with me.· I think you probably have in the
   ·8· ·share file that I sent to you or in the -- on the
   ·9· ·hard drive, a folder called Lesnick scans or shared
   10· ·scans or something to that effect, so he might have
   11· ·been looking at those, the couple of scans that Mr.
   12· ·Eskra had arranged or requested, however you want
   13· ·to put that.· It certainly could be that.· It could
   14· ·be that he was helping me with some other work on
   15· ·the matter.
   16· · · · · · MR. BARTON:· Are we frozen?
   17· · · · · · MR. LESNICK:· Do you guys want to take a
   18· ·five-minute break here real quick.
   19· · · · · · THE WITNESS:· If you don't mind my asking,
   20· ·and I'm not trying cut you short.· If you're going
   21· ·to go to 3:00 or 4:00 o'clock, I'm going to eat
   22· ·some lunch.· If you're not --
   23· · · · · · VIDEOGRAPHER:· We are off the record at
   24· ·11:42 a.m.
   25· · · · · · · · · · · · ·(Recess.)

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   ·1· · · · · · VIDEOGRAPHER:· We are back on the record
   ·2· ·at 11:54 a.m.
   ·3· · · ·Q.· ·(By Mr. Lesnick) Mr. Reagan, there were
   ·4· ·two files in the -- two folders in the file
   ·5· ·materials that we received titled PG1 4.2 to 4.5.
   ·6· ·Another PG2, 5.6 to 5.10.· Do you know what folders
   ·7· ·I'm discussing?
   ·8· · · ·A.· ·Possibly.· Could you show me one of them
   ·9· ·or not?· No?
   10· · · ·Q.· ·I can.
   11· · · ·A.· ·I mean, I'm guessing that those are Pat
   12· ·McGinley photographs from the site exam.
   13· · · ·Q.· ·And that's what I was trying to figure
   14· ·out, if those were Pat McGinley's photographs?
   15· · · ·A.· ·I think that's probably correct.
   16· · · ·Q.· ·All right.· Since April -- or I'm sorry.
   17· ·March 31st, do you know how many more costs you've
   18· ·incurred in this matter?
   19· · · ·A.· ·No.· It's something I could find out, but
   20· ·I don't have that number.
   21· · · ·Q.· ·Do you know how many more hours you've
   22· ·worked on this matter?
   23· · · ·A.· ·Well, that would be the same answer.                            I
   24· ·mean, the hours and the costs are synonymous, so I
   25· ·don't know the answer, no.· It's a number I can

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   ·1· ·get.· It's certainly a number I can get.
   ·2· · · ·Q.· ·I saw, when I totaled up the invoices that
   ·3· ·were produced to us, it was more than $90,000 in
   ·4· ·costs.· Does that sound right to you?
   ·5· · · ·A.· ·I don't know.· I haven't added it up
   ·6· ·myself.
   ·7· · · ·Q.· ·Since March 31st, 2023, did you ever speak
   ·8· ·with Lawrence Sacco about this file?
   ·9· · · ·A.· ·No.
   10· · · ·Q.· ·Other than the photographs, Mr. McGinley's
   11· ·photographs that you have in your file, is there
   12· ·any other information you relied upon in this
   13· ·matter that Mr. McGinley created?
   14· · · ·A.· ·No.
   15· · · ·Q.· ·Since March 31st, 2023, have you spoken
   16· ·with Mr. McGinley at all?
   17· · · ·A.· ·Yes.
   18· · · ·Q.· ·Okay.· When?
   19· · · ·A.· ·I saw him on a site exam up in North
   20· ·Dakota.
   21· · · ·Q.· ·I mean, about this?· Did you speak to him
   22· ·about this case?
   23· · · ·A.· ·No.
   24· · · ·Q.· ·All right.· Let me go back to Exhibit 2,
   25· ·which is your report.· All the way to the top.

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   ·1· ·There we go.· Okay.· Let me zoom out a bit.· As we
   ·2· ·talked about, this 260-page document, this is your
   ·3· ·report in this matter?
   ·4· · · ·A.· ·That's correct.
   ·5· · · ·Q.· ·Okay.· And as we were just discussing
   ·6· ·before, it's dated April 6th, 2023.· That's the
   ·7· ·date you finalized your report?
   ·8· · · ·A.· ·That's correct.
   ·9· · · ·Q.· ·Does this report contain all of your
   10· ·opinions in this matter?
   11· · · ·A.· ·It contains all my core opinions.· It
   12· ·depends on what questions I'm asked, but yes, sir,
   13· ·I could offer other opinions if I'm asked certain
   14· ·questions, but it just depends on what questions
   15· ·I'm asked.
   16· · · ·Q.· ·So you have opinions in this matter that
   17· ·may not be contained in this report depending on
   18· ·what questions I ask you during the testimony
   19· ·today; is that what you're saying?
   20· · · ·A.· ·No.· What I'm saying is these are my core
   21· ·opinions, opinions I've formalized and put to
   22· ·writing, but if there's any other questions that
   23· ·are asked that I can answer, I will certainly
   24· ·answer them and some of those may be in the form of
   25· ·an opinion.

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   ·1· · · ·Q.· ·Do you expect to testify at trial about
   ·2· ·anything other than what is contained in this
   ·3· ·report?
   ·4· · · ·A.· ·I don't have plans to.
   ·5· · · ·Q.· ·Do you have any plans on drafting any
   ·6· ·additional reports?
   ·7· · · ·A.· ·I do not.
   ·8· · · ·Q.· ·You were engaged by Mr. Barton's law firm
   ·9· ·in this matter; is that correct?
   10· · · · · · MR. BARTON:· Asked and answered.
   11· · · ·A.· ·That is correct.
   12· · · ·Q.· ·(By Mr. Lesnick) Okay.· And I think we
   13· ·talked about this a little bit, but this scope here
   14· ·on Page 3 of the PDF, but 2 of your report, does
   15· ·that accurately describe the scope of work as you
   16· ·understand that this report is addressing?
   17· · · ·A.· ·That's correct.
   18· · · ·Q.· ·Were you asked to address any other topics
   19· ·other than what's described in this scope of work
   20· ·in informing your opinions?
   21· · · ·A.· ·Well, I mean, there's steps to the process
   22· ·that aren't discussed there.· But there's a lot of
   23· ·steps in the process that need to be done in order
   24· ·to fulfill that scope of the project.
   25· · · ·Q.· ·Okay.

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   ·1· · · ·A.· ·So, for example, if you're asking was I
   ·2· ·asked to do an origin and cause investigation,
   ·3· ·well, in order to do the work that is in the scope
   ·4· ·there, I had to do an origin and cause
   ·5· ·investigation.· Was I asked to -- was I asked to
   ·6· ·evaluate witness information?· Yes, I was asked to
   ·7· ·do that.· It's not in the scope, but it's necessary
   ·8· ·steps in the process to reach reliable conclusions.
   ·9· · · ·Q.· ·And I guess that is one of the things I
   10· ·was going to ask about was; did you -- did your
   11· ·scope of work include determining an area of origin
   12· ·for this fire?
   13· · · ·A.· ·It did, yes.
   14· · · ·Q.· ·The third page of your report here is
   15· ·entitled Procedures.· What does that heading mean?
   16· · · ·A.· ·It's the general activity that I undertook
   17· ·on the project.
   18· · · ·Q.· ·Okay.· And your opinions, when you
   19· ·formulate them, they were based upon those general
   20· ·activities that you conducted in this matter?
   21· · · ·A.· ·I think that's true, yes.
   22· · · ·Q.· ·And the information that you received came
   23· ·through the course of you conducting those
   24· ·activities in this matter?
   25· · · ·A.· ·I believe that's correct, yes.

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   ·1· · · ·Q.· ·And after you conducted all of those
   ·2· ·activities listed here in this procedure page, you
   ·3· ·formed your opinions in this matter; is that
   ·4· ·correct?
   ·5· · · ·A.· ·Yes, I think that's probably correct.
   ·6· · · ·Q.· ·Pages 3 and 4 list the number of
   ·7· ·activities you perform, is there anything not
   ·8· ·listed on here that you conducted in your work in
   ·9· ·this matter?
   10· · · ·A.· ·I'm not clear on what your question is.
   11· · · ·Q.· ·There's a number of -- it says you
   12· ·conducted the following tasks right here on Page 3.
   13· ·It lists all of your tasks, that you reviewed the
   14· ·following documents.· Anything not listed in either
   15· ·of those two sections in this matter that you
   16· ·relied upon to form your opinions?
   17· · · · · · MR. BARTON:· Object to form.· Vague.· What
   18· ·two sections?
   19· · · ·A.· ·So the documents that are listed in
   20· ·procedures are intended to be a listing of the
   21· ·documents that I reviewed as part of my work in
   22· ·this matter.· That's the purpose of that list
   23· ·there.· Here's what I've reviewed in this matter,
   24· ·and after review of that, I've drafted this report.
   25· · · ·Q.· ·(By Mr. Lesnick) This contains all of the

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   ·1· ·documents you reviewed in this matter?
   ·2· · · ·A.· ·It's intended to, yes.· I'm not aware --
   ·3· ·I'm not aware of anything that's not on the list
   ·4· ·that I've reviewed for this matter.
   ·5· · · ·Q.· ·We were talking before about this "other"
   ·6· ·section and your codes and standards, but
   ·7· ·specifically this "other" section.· Do you know if
   ·8· ·there's any peer-reviewed literature out there that
   ·9· ·tells you the steps you can take on how to
   10· ·determine whether a cell is causal in a fire or has
   11· ·been attacked by a fire?
   12· · · ·A.· ·I'm not aware of any peer-reviewed
   13· ·documents out there like that.
   14· · · ·Q.· ·Are there scenarios -- well, your scope of
   15· ·work in this matter was fire analysis, right?
   16· ·You've testified to that.
   17· · · ·A.· ·I don't think that's what I said.· I think
   18· ·I said fire and engineering analysis is the general
   19· ·scope at the outset of the project, and that was
   20· ·later refined, as indicated on Page 2, where it
   21· ·says scope of project.
   22· · · ·Q.· ·During investigations where fire analysis
   23· ·is performed that you performed, have you ever
   24· ·encountered a scenario where examination of a
   25· ·battery cell is required to complete your analysis?

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   ·1· · · · · · MR. BARTON:· Objection.· Vague.· Improper
   ·2· ·hypothetical.· Go ahead.
   ·3· · · ·A.· ·I've evaluated battery cells on prior
   ·4· ·projects in order to reach my conclusions, yes.
   ·5· · · ·Q.· ·(By Mr. Lesnick) Are there any
   ·6· ·peer-reviewed documents that describe the actions
   ·7· ·that must be taken under those -- when you have had
   ·8· ·to do that previously?
   ·9· · · ·A.· ·Well, first, you've got to go back to the
   10· ·bigger picture of NFPA-921 and the scientific
   11· ·method and how you first arrive at the area of
   12· ·origin, an ignition source and first fuel ignited
   13· ·and a cause for the fire, so you've got to follow
   14· ·that process, the scientific that's outlined in
   15· ·NFPA 921, that's first and foremost, and then
   16· ·depending on what you find within your area of
   17· ·origin that needs to be evaluated, then you have to
   18· ·go through and examine each of those artifacts and
   19· ·what materials are available to support an opinion
   20· ·about each of those artifacts.
   21· · · ·Q.· ·So, if you have a cell found in your area
   22· ·of origin that's a potential ignition source, is
   23· ·there any peer-reviewed literature out there that
   24· ·describes how to evaluate that cell as an ignition
   25· ·source or not for the fire?

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   ·1· · · ·A.· ·I'm not aware of a peer-reviewed document
   ·2· ·that says, "This is the criteria and the method to
   ·3· ·do that."
   ·4· · · ·Q.· ·Okay.· Page 5 here is discussion
   ·5· ·background.· What's the purpose of this background
   ·6· ·section in your report?
   ·7· · · ·A.· ·Just that, to give a general background.
   ·8· · · ·Q.· ·Of the facility?· Of the fire?· Of what?
   ·9· ·General background of what?
   10· · · ·A.· ·Just what it says here.· It's about the
   11· ·building where the fire occurred and the fire
   12· ·department response, how it was discovered, when it
   13· ·was discovered.
   14· · · ·Q.· ·Okay.· These two photographs here, Figure
   15· ·2 and Figure 3, why do you have these in your
   16· ·report?
   17· · · ·A.· ·So Figure 2 is an overall plan.· It's not
   18· ·a photograph.· It's a plan view of the plant that I
   19· ·understand this came from the folks at Forest
   20· ·River.· Figure 3 is an aerial image of the
   21· ·post-fire condition of the overall building.
   22· · · ·Q.· ·On Page 7, there's a section called data
   23· ·collection.· What's this section supposed to tell
   24· ·us?
   25· · · ·A.· ·Again, that's part of the scientific

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   ·1· ·method, so I explained above what my methodology
   ·2· ·is.· I'm going to follow the scientific method, and
   ·3· ·then I have a collection data section where I go
   ·4· ·through, I identify all the data that I was
   ·5· ·collecting in order to conduct my investigation, so
   ·6· ·I go through public agency information, witness
   ·7· ·information and video information on the date of
   ·8· ·collection in addition to review of all
   ·9· ·photographs.
   10· · · ·Q.· ·Under the public agency information
   11· ·heading, there's an Elkhart Fire Department
   12· ·heading.· At the top of this second paragraph here,
   13· ·it says, "The Elkhart Fire Department reports were
   14· ·reviewed.· The NFIRS-1 basic report indicated an
   15· ·alarm, et cetera, et cetera."· The -- and then at
   16· ·the second paragraph here, which you're still
   17· ·talking about the NFIRS, this is on Page 8 now of
   18· ·your report, you say that, "The basic report
   19· ·concluded the fire heat source and item first
   20· ·ignited were undetermined.· The cause of ignition
   21· ·was indicated as cause undetermined after
   22· ·investigation."· That came from that document,
   23· ·correct?
   24· · · ·A.· ·I believe so, yes.
   25· · · ·Q.· ·When coming to those conclusions, do you

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   ·1· ·know what steps the fire department took to make
   ·2· ·those conclusions?
   ·3· · · ·A.· ·I know some of the steps.· I don't know
   ·4· ·all of the steps.· So some of the steps are that
   ·5· ·they were there during the process of the fire
   ·6· ·scene, for example.· So they have -- I have fire
   ·7· ·department photographs that show that they were
   ·8· ·there at various stages during the fire scene
   ·9· ·processing, but I know that they were there because
   10· ·I have their photographs.· So they were there when
   11· ·the, for example, when the -- when the parts and
   12· ·shipping area was reconstructed, when the tool crib
   13· ·area was reconstructed, so I know that much.                           I
   14· ·don't know anything beyond what's contained in the
   15· ·report or photographs.
   16· · · ·Q.· ·Do you know if the author of that NFIRS-1
   17· ·basic report conducted the -- do you know who the
   18· ·author is of that?
   19· · · ·A.· ·I believe, I thought it was Assistant
   20· ·Chief Dale wrote the report, because the chief was
   21· ·on vacation or in training or something like that.
   22· · · ·Q.· ·So there's a difference between the
   23· ·NFIRS-1 basic report and then the incident report,
   24· ·correct?
   25· · · ·A.· ·Yes, I believe there are two reports,

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   ·1· ·right.
   ·2· · · ·Q.· ·Okay.· So do you know who authored the
   ·3· ·NFIRS-1 basic report?
   ·4· · · ·A.· ·If you pull up the document, I can tell
   ·5· ·you, but offhand I would expect it to be Chief Dale
   ·6· ·or Assistant Chief Dale, but I don't know that for
   ·7· ·a fact.
   ·8· · · ·Q.· ·Do you know the author, if the author of
   ·9· ·the NFIRS report conducted an investigation in
   10· ·accordance with NFPA-921?
   11· · · · · · MR. BARTON:· Objection.· Calls for
   12· ·speculation.· Go ahead.
   13· · · ·A.· ·Again I don't know all the steps that he
   14· ·took, so to say he did or did not comply would be
   15· ·overstepping.
   16· · · ·Q.· ·(By Mr. Lesnick) Page 8 here underneath,
   17· ·you start talking about the Elkhart Fire Department
   18· ·official law enforcement report authored by
   19· ·Assistant Chief Rodney Dale.· Mr. Dale, he was the
   20· ·lead investigator for the Elkhart Fire Department
   21· ·for this fire, correct?
   22· · · ·A.· ·I think That is correct, yes.
   23· · · ·Q.· ·Do you know if he testified if he had any
   24· ·prior experience examining collapsed fire scenes
   25· ·like this before?

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   ·1· · · ·A.· ·I don't recall all of his testimony as I
   ·2· ·sit here.· Certainly we can go through that, if
   ·3· ·you'd like.
   ·4· · · ·Q.· ·Well, he testified he had no experience as
   ·5· ·a lead fire -- I'm sorry, with collapsed buildings.
   ·6· ·Do you know if he testified if he had ever utilized
   ·7· ·an excavator in any investigation he conducted
   ·8· ·previously?
   ·9· · · · · · MR. BARTON:· Object to the representations
   10· ·about counsel to the extent it misstates the
   11· ·witness' testimony.· Go ahead.
   12· · · ·A.· ·Again, his deposition will speak for
   13· ·itself.· I don't remember every detail of every
   14· ·deposition I've read in this matter.· We certainly
   15· ·can go to the record and look at that, if you'd
   16· ·like me to answer that question in more detail.· If
   17· ·you want me to take the time to go through that
   18· ·deposition, I will do that.
   19· · · ·Q.· ·(By Mr. Lesnick) That's okay.· Do you
   20· ·believe the investigation you performed in this
   21· ·matter was a complete investigation?
   22· · · ·A.· ·I believe it was, yes.
   23· · · ·Q.· ·Do you believe you took all the necessary
   24· ·steps to form your opinions in this matter?
   25· · · ·A.· ·I took every step I could, every step

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   ·1· ·possible.
   ·2· · · ·Q.· ·Okay.· And in that investigation, you
   ·3· ·determined an area of origin, correct?
   ·4· · · ·A.· ·I did, yes.
   ·5· · · ·Q.· ·And that was based off of all of the data
   ·6· ·you reviewed in this matter; is that correct?
   ·7· · · ·A.· ·That's correct.
   ·8· · · ·Q.· ·And there was nothing else you could have
   ·9· ·done to -- or performed to reach your area of
   10· ·origin opinion, could you?
   11· · · ·A.· ·I don't know what the question is asking.
   12· · · ·Q.· ·Was there anything else you could have
   13· ·done to determine your area of origin in this
   14· ·matter?
   15· · · · · · MR. BARTON:· Object to form.· Vague.
   16· ·Calls for speculation.· Go ahead, if you know.
   17· · · ·A.· ·I don't know how to answer that question
   18· ·other than I did everything I could with the
   19· ·available resources and documents that I had.
   20· · · ·Q.· ·(By Mr. Lesnick) You examined the evidence
   21· ·that was collected from the loss site, correct?
   22· · · ·A.· ·I did.
   23· · · ·Q.· ·If you had not examined that evidence
   24· ·collected from the loss site, would you have been
   25· ·able to form your area of origin conclusions in

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   ·1· ·this matter?
   ·2· · · · · · MR. BARTON:· Object to form.· Vague.
   ·3· ·Improper hypothetical.· Calls for speculation.
   ·4· ·Lacks foundation.· Go ahead, if you can imagine.
   ·5· · · ·A.· ·If you could give me that question again?
   ·6· · · ·Q.· ·(By Mr. Lesnick) Yes.· If you hadn't
   ·7· ·examined the evidence collected from the loss site
   ·8· ·in this matter, would -- would you -- I'm sorry.
   ·9· ·Would you have been able to form your area of
   10· ·origin opinion?
   11· · · · · · MR. BARTON:· Same objections.
   12· · · ·A.· ·So again, I considered all the data that I
   13· ·collected through the methodology that was applied.
   14· ·To take away some piece of it now and say could I
   15· ·have -- what could I have done with that data, that
   16· ·would have been a different analysis that I haven't
   17· ·done.· I've not sat down and gone through, if you
   18· ·take this piece away, what would your analysis look
   19· ·like?· I would have to sit down and do that
   20· ·analysis and I'm not going to do that on the fly.
   21· · · ·Q.· ·That's because you have to have all the
   22· ·data before you -- available to you before you can
   23· ·come to your conclusions, right?
   24· · · ·A.· ·That's the general process, correct.· If
   25· ·you're going to formulate opinions, you get the

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   ·1· ·data in front of you and then you formulate your
   ·2· ·hypothesis, tests those hypotheses against all of
   ·3· ·the known data and you select the hypothesis, a
   ·4· ·viable hypothesis that fits the data.
   ·5· · · ·Q.· ·Mr. Dale didn't form his opinion after the
   ·6· ·evidence collection exams that you participated in
   ·7· ·this matter, did he?
   ·8· · · · · · MR. BARTON:· Object to the extent it calls
   ·9· ·for speculation.· Go ahead.
   10· · · ·A.· ·I believe his report probably predates
   11· ·some of those, some, if not all, of those
   12· ·examinations, and so he would not have had the
   13· ·benefit of my examinations' artifacts.· However, he
   14· ·was there at the fire scene when those artifacts
   15· ·were collected, I believe, because they show up --
   16· ·many of those artifacts show up in his photographs,
   17· ·so it's not that he hasn't seen those artifacts
   18· ·because he was there at the fire scene on multiple
   19· ·days.
   20· · · ·Q.· ·(By Mr. Lesnick) But he didn't participate
   21· ·in any of the lab exams of the collected evidence
   22· ·that you did, correct?
   23· · · ·A.· ·I don't believe he was present at any of
   24· ·the lab exams at Midwest, that's correct.
   25· · · ·Q.· ·So his causal -- I'm sorry.· Area of

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   ·1· ·origin determination, that was made without having
   ·2· ·participated in those lab exams, correct?
   ·3· · · · · · MR. BARTON:· Object to form.· That
   ·4· ·misstates his opinions.· Go ahead.
   ·5· · · ·A.· ·Yeah, he was not present.· He was not
   ·6· ·present for those exams.· Again, what all he
   ·7· ·included in his analysis, you'll have to ask him.
   ·8· ·I don't have -- I'm not privy to everything that
   ·9· ·he's done in this matter.
   10· · · ·Q.· ·(By Mr. Lesnick) Right.· My question to
   11· ·you was; he formed his opinions without having
   12· ·participated in the lab exams that you were present
   13· ·at, correct?
   14· · · · · · MR. BARTON:· Object to form.· Vague.
   15· ·Calls for speculation.· Go ahead.
   16· · · ·A.· ·I can only say that he was not present at
   17· ·those lab exams.
   18· · · ·Q.· ·(By Mr. Lesnick) Right.· So if he was not
   19· ·present at the lab exams that you were present at,
   20· ·he did not form his opinions based off the evidence
   21· ·found at the lab exams that you were at, correct?
   22· · · · · · MR. BARTON:· Object to form.· Vague.
   23· ·Asked and answered now three times.· Calls for
   24· ·speculation.· And what opinion are you talking
   25· ·about, Ben?· This witness -- Mr. Dale provided

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   ·1· ·opinions in his testimony that occurred after these
   ·2· ·examinations, so your question is vague.· Go ahead,
   ·3· ·Mr. Reagan, if you can answer.
   ·4· · · ·A.· ·Again he wasn't present.· Yeah, I don't
   ·5· ·know what information he had.· Again you've got to
   ·6· ·ask him whether he had any benefit of any of the
   ·7· ·knowledge that was obtained through those
   ·8· ·examinations.· I have no way of knowing.
   ·9· · · ·Q.· ·(By Mr. Lesnick) But you had said before,
   10· ·right, that his report was done before the exam
   11· ·occurred, correct?
   12· · · ·A.· ·I think that's probably true.
   13· · · ·Q.· ·Okay.· So his opinions in his report were
   14· ·formed prior to any of the evidence exams that you
   15· ·attended in this case, isn't that correct?
   16· · · · · · MR. BARTON:· Say that question again, Ben.
   17· ·You broke up at one part.
   18· · · · · · MR. LESNICK:· Yes.
   19· · · ·Q.· ·(By Mr. Lesnick) The opinions in his
   20· ·report were formed prior to any of the evidence
   21· ·exams that you attended in this case, correct?
   22· · · ·A.· ·The dates or the days, I don't have all
   23· ·those documents in front of me.· My recollection is
   24· ·his report did predate some, if not all, of those
   25· ·examinations at Midwest.

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   ·1· · · ·Q.· ·Did the laboratory exams that you
   ·2· ·participated in provide you with data that you
   ·3· ·relied upon in forming your conclusions in this
   ·4· ·matter?
   ·5· · · ·A.· ·Yes.
   ·6· · · ·Q.· ·With regard to Mr. Dale's investigation,
   ·7· ·do you know the exact steps he took to come to his
   ·8· ·conclusions?
   ·9· · · ·A.· ·I do not.
   10· · · ·Q.· ·So if I were to say -- if I were to ask
   11· ·you if his investigation conformed with NFPA-921,
   12· ·would you be able to tell me that it did?
   13· · · · · · MR. BARTON:· Objection.· Asked and
   14· ·answered.· Calls for speculation again.
   15· · · ·A.· ·I've already answered that question, as
   16· ·you know, you've asked me that already.· I have no
   17· ·idea whether he did or did not.· I don't know what
   18· ·all the steps or methods or processes that he used.
   19· ·I've not had that conversation with him.
   20· · · ·Q.· ·(By Mr. Lesnick) Do you know if -- I'm
   21· ·sorry.· Go ahead.
   22· · · ·A.· ·I'm done.
   23· · · ·Q.· ·Do you know if he interviewed each of the
   24· ·eye witnesses that were deposed in this matter?
   25· · · · · · MR. BARTON:· Object to forms.· Calls for

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   ·1· ·speculation again.· Go ahead.
   ·2· · · ·A.· ·Same answer.· I don't know what all steps
   ·3· ·he took as part of his investigation.
   ·4· · · ·Q.· ·(By Mr. Lesnick) In your investigation,
   ·5· ·without relying on those witness statements that
   ·6· ·were found in the deposition testimony, and let me
   ·7· ·rephrase this.· For your investigation, without
   ·8· ·having the deposition testimony at your disposal to
   ·9· ·review, were you able to determine an area of
   10· ·origin?
   11· · · · · · MR. BARTON:· Objection.· Calls for
   12· ·speculation.· Improper hypothetical and vague.· Go
   13· ·ahead.
   14· · · ·A.· ·So the hypothetical you're asking me is
   15· ·to, if I had a different set of data that I had,
   16· ·would my opinions be the same?· And the answer is I
   17· ·haven't done that analysis.· Again I operate by
   18· ·taking the data set that I have available to me.                             I
   19· ·try to make that data set as comprehensive as
   20· ·possible, and then evaluate the data.· Now you're
   21· ·asking me a hypothetical, if we exclude some of the
   22· ·data, what my analysis would be and that's an
   23· ·analysis I'm not going to do on the fly, so you'd
   24· ·have to give me a list of here's what -- I would
   25· ·have to have a list, here's what you do know and

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   ·1· ·you don't know and then I would go do that
   ·2· ·analysis.· That's not something I'm going to sit
   ·3· ·here and do in a two-minutes conversation or in
   ·4· ·answer to a question.
   ·5· · · · · · MR. BARTON:· Hey, Ben, our lunch has
   ·6· ·arrived, so whenever you come to a natural stopping
   ·7· ·point, let us know and we'll take a 15 or 20 minute
   ·8· ·break to have lunch, but please continue until you
   ·9· ·get to that natural spot.
   10· · · · · · MR. LESNICK:· Yeah, not a problem.
   11· ·Thanks, Jon.
   12· · · ·Q.· ·(By Mr. Lesnick) In your area of origin
   13· ·opinions in this matter, was there any physical
   14· ·evidence you relied upon to create that -- to make
   15· ·that opinion?
   16· · · ·A.· ·I relied on all the data I collected, so
   17· ·including physical evidence, photograph evidence,
   18· ·witness testimony evidence.· All the data that's
   19· ·listed, I relied on all of that.
   20· · · ·Q.· ·Did any of the physical evidence that you
   21· ·relied upon indicate to you a specific area of
   22· ·origin in the building?
   23· · · ·A.· ·It provided information that the -- the
   24· ·physical data, physical evidence provided data
   25· ·about the building, about the contents of the

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   ·1· ·building, that inputted into my analysis.
   ·2· · · ·Q.· ·Did any physical data indicate a specific
   ·3· ·place in the building where the area of origin was
   ·4· ·located?
   ·5· · · · · · MR. BARTON:· Objection.· Vague.· Go ahead.
   ·6· · · ·A.· ·Yeah, I don't know what data point you
   ·7· ·want me to talk about and what each data point
   ·8· ·means in and of itself.· That's not the way
   ·9· ·investigations are done.· You don't take one data
   10· ·point and say, "Okay.· Based on this one data
   11· ·point, what's my opinion?"· You take all the data,
   12· ·and why you would ever ask anybody to formulate an
   13· ·opinion based on part of the data, I have no idea,
   14· ·but you take all of the data.· That's the process.
   15· ·And when you get all the data in front of you, you
   16· ·say what hypotheses should I formulate based on
   17· ·this data and test those hypotheses against the
   18· ·data.· So, I'm not sure what you're asking.
   19· · · ·Q.· ·(By Mr. Lesnick) What physical data did
   20· ·you consider in this matter that -- to help you
   21· ·formulate your hypotheses?
   22· · · · · · MR. BARTON:· Object to form.· Vague.
   23· ·Asked and answered.· Go ahead.
   24· · · ·A.· ·I considered all of the data that was
   25· ·available to me, so I didn't formulate --

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   ·1· · · ·Q.· ·(By Mr. Lesnick) Specifically is what I'm
   ·2· ·asking you.· I'm asking what specifically.
   ·3· · · ·A.· ·All the data.· You want me to list every
   ·4· ·item in my report?· Because it's all the data.
   ·5· · · · · · MR. BARTON:· Asked and answered as to the
   ·6· ·data Mr. Reagan relied on in forming his opinions
   ·7· ·in this case.· Go ahead.
   ·8· · · ·A.· ·So my answer --
   ·9· · · ·Q.· ·(By Mr. Lesnick) Yes, please --
   10· · · ·A.· ·It's all the data.
   11· · · ·Q.· ·-- list -- go ahead and list it out for
   12· ·me.· What's all of the physical data you relied
   13· ·upon?
   14· · · ·A.· ·Everything that's contained in my report.
   15· ·Everything that's contained in the documents
   16· ·referenced in my report.
   17· · · ·Q.· ·I'm sorry.· Treat me like a toddler here
   18· ·and I don't understand what's in your report, which
   19· ·is why I'm here deposing you to ask you questions
   20· ·about what I'm not understanding.· So tell me what
   21· ·physical data you're talking about that you relied
   22· ·upon to help form your opinion as to where the area
   23· ·of origin was in this fire.
   24· · · · · · MR. BARTON:· Objection.· Vague.· Compound.
   25· ·Asked and answered.· Nobody is treating you like a

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   ·1· ·toddler, Ben, and it is insulting for you to --
   ·2· · · · · · MR. LESNICK:· I'm asking him to treat me
   ·3· ·like --
   ·4· · · · · · MR. BARTON:· Let me finish speaking and do
   ·5· ·not speak over me.· No one is treating you like a
   ·6· ·toddler.· You are asking the same question multiple
   ·7· ·times.· I don't know why, but that's what you've
   ·8· ·chosen to with your time here today.· He's already
   ·9· ·answered you with respect to what he has reviewed
   10· ·in formulating his opinions, not only in
   11· ·formulating his opinions, but in formulating his
   12· ·opinions as to the area of origin as you have asked
   13· ·him.· He has gone through in painstaking detail --
   14· · · · · · MR. LESNICK:· Jon, come on, man.
   15· · · · · · MR. BARTON:· He has pointed out in his
   16· ·report those details and you are asking him again.
   17· ·That is not us treating you like a toddler, as you
   18· ·suggest improperly.· It is us asking your
   19· ·questions.· Mr. Reagan is free to do so once again
   20· ·as it has been asked and answered.· If you
   21· ·understand his question, Mr. Reagan, please answer
   22· ·it.
   23· · · · · · MR. LESNICK:· Jon, you didn't listen to
   24· ·what I said.· Hold on, Jon.· You didn't listen to
   25· ·what I said because I said treat me like a toddler.

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   ·1· ·I didn't say he was treating me like a toddler.
   ·2· ·Okay?· So I just want to make sure that that's
   ·3· ·clear for the record.· Nobody's saying anybody was
   ·4· ·calling anybody a toddler, okay?· I'm asking him to
   ·5· ·do that and explain to me exactly in his report
   ·6· ·what -- where it says what physical evidence he
   ·7· ·relied upon to determine his area of origin.
   ·8· ·That's what I'm asking.· I don't think I've gotten
   ·9· ·an answer.
   10· · · · · · MR. BARTON:· Fair enough.· We will treat
   11· ·you like a product liability company who is suing
   12· ·our client for seven million dollars who is taking
   13· ·the deposition of his expert witness, nothing less.
   14· · · ·A.· ·I'm going to go to the area of origin
   15· ·section in the report, and if you look on Page 19
   16· ·under the area of origin, area of fire origin
   17· ·methodology, it says that, "Determiners of the area
   18· ·of origin of the fire involves coordination of
   19· ·information derived from one or more of the
   20· ·following.· Witness information and/or electronic
   21· ·data," which is contained in my report.· I looked
   22· ·through all the witness -- available witness
   23· ·information that was in depositions.· Interview
   24· ·notes that were contained in the Midwest file,
   25· ·interview information that was contained in the

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   ·1· ·fire department report, I looked up all that
   ·2· ·witness information, and the video, which I'm
   ·3· ·considering another witness to the fire, the video
   ·4· ·information.· I looked at fire patterns and the
   ·5· ·extent to which fire pattern exist and the extent
   ·6· ·to which fire patterns would be a reliable
   ·7· ·indicator of where the fire started, and I
   ·8· ·considered fire dynamics in terms of fire chemistry
   ·9· ·and physics and what was present in the area of
   10· ·origin that would have contributed to the fire
   11· ·spread in the manner in which it spread.· So those
   12· ·are the types of data that I looked at.
   13· ·Specifically those are the types of data.· If you
   14· ·want something more specific, ask me a more
   15· ·specific question, I can do that.
   16· · · ·Q.· ·(By Mr. Lesnick) Is witness information
   17· ·physical data?
   18· · · ·A.· ·It's data that's included in your area of
   19· ·origin.
   20· · · ·Q.· ·Right.· But I mean, physical data, that's
   21· ·something you can feel and touch, right?· Witness
   22· ·data?
   23· · · · · · MR. BARTON:· Objection.· Vague.
   24· · · ·A.· ·I don't know what you're definition of
   25· ·physical data is, but for example, I just indicated

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   ·1· ·that part of the witness information is a video
   ·2· ·that was shot by Mr. Tanner and that's part of the
   ·3· ·witness information, that I would consider that
   ·4· ·electronic data that gives a good indication of the
   ·5· ·area of origin of this fire.
   ·6· · · ·Q.· ·(By Mr. Lesnick) Do fire patterns, do the
   ·7· ·fire patterns in this matter give you any idea of
   ·8· ·where the fire originated?
   ·9· · · · · · MR. BARTON:· Objection.· Vague.· Go ahead.
   10· · · ·A.· ·I'm not sure what pattern you're referring
   11· ·to, but I don't believe there was any usable fire
   12· ·patterns contained on the physical evidence
   13· ·remaining at the fire scene that would give you a
   14· ·reliable area of origin.· However, the fire
   15· ·patterns that I see in the video certainly tell you
   16· ·a lot about where the fire was and where the fire
   17· ·wasn't.
   18· · · ·Q.· ·(By Mr. Lesnick) Fire dynamics, the
   19· ·physics and chemistry of the fire, do you consider
   20· ·that physical data?
   21· · · · · · MR. BARTON:· Objection.· Form.· Misstates
   22· ·his testimony.
   23· · · ·A.· ·Again, we looked at a lot of artifacts
   24· ·that were retained from the area of origin of this
   25· ·fire, including dozens of containers of flammable

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   ·1· ·materials, and so those materials that were present
   ·2· ·in that area of the building certainly would have
   ·3· ·contributed to the dynamics of the fire spread.
   ·4· · · ·Q.· ·(By Mr. Lesnick) Any other physical data
   ·5· ·that you can point me to?
   ·6· · · · · · MR. BARTON:· Objection.· Vague.
   ·7· · · ·A.· ·I can't give you any other answer than
   ·8· ·what I've already given in terms of a general
   ·9· ·sense.· If you've got a more specific question, I
   10· ·can certainly try to answer that.
   11· · · ·Q.
   12· · · · · · MR. LESNICK:· Okay.· You want to take the
   13· ·20-minute break here for your lunch?
   14· · · · · · MR. BARTON:· Yes.· Thank you.
   15· · · · · · VIDEOGRAPHER:· We are off the record at
   16· ·12:27 p.m.
   17· · · · · · · · · · · · ·(Recess.)
   18· · · · · · VIDEOGRAPHER:· We are back on the record
   19· ·at 12:53 p.m.
   20· · · ·Q.· ·(By Mr. Lesnick) All right.· Mr. Reagan,
   21· ·I'm going to pull back up Exhibit 2 and go to Page
   22· ·11 of your report.· This is a discussion in the
   23· ·Elkhart Police Department's findings in this
   24· ·matter.· There's a statement here that you wrote
   25· ·saying, "The report primarily narrates an arson

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   ·1· ·investigation with reports of occupants in the
   ·2· ·building intentionally igniting flammable materials
   ·3· ·starting the fire."· Other than mention of this in
   ·4· ·the report, did you, during your investigation,
   ·5· ·find any other data that this fire was the result
   ·6· ·of an arson?
   ·7· · · ·A.· ·Not any hard data points, no.
   ·8· · · ·Q.· ·Any soft data points?
   ·9· · · ·A.· ·Well, I mean, it's certainly -- it's
   10· ·certainly a consideration when you have layoffs
   11· ·whether or not any of those employees may have been
   12· ·disgruntled because of the layoff.· It's my
   13· ·understanding that one of the employees actually
   14· ·made his way into that particular building to ask
   15· ·why he was being laid off or to complain about
   16· ·being laid off.· That was Tommy McGuffey, and that
   17· ·that particular individual was seen by one witness
   18· ·leaving the building smoking, so you know, is it
   19· ·something that needs to be addressed and evaluated?
   20· ·Certainly.· They stopped their investigation.· They
   21· ·suspended their investigation at the end of the
   22· ·day, so that's as far as it went.
   23· · · ·Q.· ·So other than the McGuffey discussion and
   24· ·the report, any other data that would support that
   25· ·there was an arson that caused this fire?

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   ·1· · · ·A.· ·Well again, it's certainly something that
   ·2· ·needs to be considered because of the nature of the
   ·3· ·day.· Because of the -- because of the layoffs and
   ·4· ·whether or not somebody was disgruntled and had an
   ·5· ·issue with their position being terminated.
   ·6· · · ·Q.· ·So other than the understanding that
   ·7· ·people were laid off that day, Mr. McGuffey having
   ·8· ·been in the facility after being laid off, in the
   ·9· ·police report, any other data that supports that
   10· ·there could have been an arson that caused this
   11· ·fire?
   12· · · ·A.· ·In some of the deposition transcripts,
   13· ·there's discussion of another video that -- I think
   14· ·we might have lost you.· We lost something.
   15· · · ·Q.· ·Yeah, I don't know what that is.
   16· · · ·A.· ·I didn't know.· You're back.· Let me start
   17· ·that answer over, just so we have it all.· There
   18· ·certainly was some deposition testimony and
   19· ·investigation into another video that existed, and
   20· ·it's also mentioned in the police department
   21· ·report, and whether or not that video exists or
   22· ·ever existed or somebody misinterpreted it, again I
   23· ·don't have enough information on it one way or the
   24· ·other, but certainly that other data is out there,
   25· ·that there was potentially another video of folks

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   ·1· ·playing with aerosol cans.
   ·2· · · ·Q.· ·You never saw that video, did you?
   ·3· · · ·A.· ·I have not seen the video.· There's plenty
   ·4· ·of aerosol cans that are in evidence that were in
   ·5· ·that corner, but I never saw that video, that's
   ·6· ·correct.
   ·7· · · ·Q.· ·So other than the deposition testimony
   ·8· ·about a second video, Mr. McGuffey, people being
   ·9· ·laid off and the police report, any other data
   10· ·points that support potentially an arson as being
   11· ·the cause of the fire?
   12· · · ·A.· ·Not that come to mind.
   13· · · ·Q.· ·And you guys saw us having some technical
   14· ·difficulties with my system, which I still have.
   15· ·What the hell just happened?
   16· · · · · · MR. LESNICK:· Can we go off the record for
   17· ·a second?
   18· · · · · · MR. BARTON:· Yes.
   19· · · · · · VIDEOGRAPHER:· We are off the record at
   20· ·12:57 p.m.
   21· · · · · · · · · · ·(Off the record.)
   22· · · · · · VIDEOGRAPHER:· We are back on the record
   23· ·at 1:09 p.m.
   24· · · ·Q.· ·(By Mr. Lesnick) Great.· I'm going to pull
   25· ·up what we were just looking at, which is

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   ·1· ·Plaintiff's Exhibit 2, and here we go.· All right.
   ·2· ·We were on discussing the Elkhart Police Department
   ·3· ·report.· I think we've finished those questions.
   ·4· ·Let me go to Page 12 here of your report.· Mr.
   ·5· ·Reagan, are you seeing Page 12 of your report on
   ·6· ·the screen?
   ·7· · · ·A.· ·I am, yes.
   ·8· · · ·Q.· ·Okay.· What is the heading witness
   ·9· ·information for?
   10· · · ·A.· ·Well, it's just, that's off the -- starts
   11· ·off the section about the witness statements and
   12· ·depositions, so it's a section heading for that
   13· ·section.
   14· · · ·Q.· ·All right.· Paragraph 6 here, you discuss
   15· ·Derek Null's testimony, correct?
   16· · · ·A.· ·Correct.
   17· · · ·Q.· ·I guess here this section underneath
   18· ·witness information, this is regarding the location
   19· ·of the fire first observed.· That means where these
   20· ·witnesses saw the fire, is that what that means?
   21· · · ·A.· ·Generally, yes.
   22· · · ·Q.· ·Okay.· You have a -- Derek Null, you have
   23· ·a statement here, "He was not certain whether or
   24· ·not there was fire inside of the tool crib."                           I
   25· ·want to bring up what we're going to mark as

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   ·1· ·Exhibit 14.
   ·2· · · · · · (Plaintiff's Exhibit 14 marked for
   ·3· · · · · · · · · · ·identification.)
   ·4· · · · · · MR. LESNICK:· Are you guys there?· Can you
   ·5· ·hear me?
   ·6· · · · · · MR. BARTON:· Yes.
   ·7· · · · · · THE WITNESS:· Yes.
   ·8· · · · · · MR. LESNICK:· Okay.· I just wanted to make
   ·9· ·sure.
   10· · · ·Q.· ·(By Mr. Lesnick) I imagine I'm still
   11· ·sharing my screen window.· Why can't I get out of
   12· ·this now?· Let me disconnect this.· I'm trying to
   13· ·pull up what I want to pull up.· I continue to have
   14· ·difficulties.· All right.· Okay.· I'm going to pull
   15· ·up what we'll mark as Exhibit 14.· Let me know when
   16· ·you see that on your screen.
   17· · · ·A.· ·Okay.· I see an excerpt from a deposition.
   18· · · ·Q.· ·Okay.· This is an excerpt from Derek
   19· ·Null's deposition from August 3rd, 2022.· I want
   20· ·you to read this page and the next page, which are
   21· ·Pages 46 and 47 from his deposition, and tell me
   22· ·when you've read it.
   23· · · ·A.· ·Can you make it just a skosh bigger?
   24· · · ·Q.· ·Yes.· If you want me to scroll down, just
   25· ·tell me to scroll down.

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   ·1· · · ·A.· ·Okay.· Scroll down.· I've gone through
   ·2· ·Line 15.· Okay.
   ·3· · · ·Q.· ·I'm sorry.
   ·4· · · ·A.· ·Okay.· Let's see here.· Hold on there.
   ·5· ·Hold there.· Okay.· I'm through 15.· Okay.· I'm
   ·6· ·through 25.
   ·7· · · ·Q.· ·Okay.· So on Page 46 here at the bottom,
   ·8· ·it says, "So actually inside the tool crib?"· He
   ·9· ·said, "There was definitely fire inside there,
   10· ·yeah.· I don't know if it was just running over
   11· ·from the left side or if it was already in there."
   12· ·To me that seems like he's saying there's fire
   13· ·inside the tool crib, is he not?
   14· · · · · · MR. BARTON:· Object to form.· The
   15· ·testimony speaks for itself.· Go ahead.
   16· · · ·A.· ·And so you're taking one excerpt out of it
   17· ·and not the totality of what he said.· There's
   18· ·another section in his testimony where he says,
   19· ·"You know, I'm not really sure about inside, but
   20· ·I'm sure it was outside," and it was outside from,
   21· ·like, from the door to the tool crib over to the,
   22· ·what he calls the 14-inch door, I think he really
   23· ·means the 14-foot door, the overhead door, so later
   24· ·on he clarifies that further.
   25· · · ·Q.· ·(By Mr. Lesnick) So he was asked a

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   ·1· ·question once.· He said he was definitely -- it was
   ·2· ·definitely inside there.· He's asked the question
   ·3· ·again and he's not as sure.· That's what you're
   ·4· ·saying?
   ·5· · · · · · MR. BARTON:· Object to form.· You
   ·6· ·misstated the testimony of Mr. Null.· It's been
   ·7· ·asked and answered to the second part of your
   ·8· ·compound question.· Go ahead.
   ·9· · · ·A.· ·Again I took the totality of his testimony
   10· ·and summarized it here where he is not certain
   11· ·whether or not there was fire inside the tool crib.
   12· · · ·Q.· ·And you ignored this sentence here, right?
   13· ·This response where he says it was definitely
   14· ·inside there, and you're using some other
   15· ·testimony?
   16· · · · · · MR. BARTON:· Objection.· Argumentative.
   17· ·Asked and answered.· Misstates Derek Null's
   18· ·testimony, specifically the "I don't know" part of
   19· ·the sentence that you're choosing not to read, as
   20· ·well as the totality of his testimony.· Go ahead.
   21· · · ·A.· ·Again I didn't ignore anything.                            I
   22· ·reviewed the entire transcript and put in my report
   23· ·some excerpts from it where he's just not certain
   24· ·whether or not the fire was inside the tool crib,
   25· ·so you are correct that my report does not contain

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   ·1· ·all the pages from his transcript because it would
   ·2· ·be ridiculous to do that, but I put in here the
   ·3· ·high points from each of these particular witnesses
   ·4· ·that first observed the fire.
   ·5· · · ·Q.· ·(By Mr. Lesnick) This wasn't considered a
   ·6· ·high point for you, correct?
   ·7· · · · · · MR. BARTON:· Object to form.
   ·8· ·Argumentative.· Misstates the witness' testimony,
   ·9· ·the report and the document.· Go ahead.
   10· · · ·A.· ·Again I looked at the totality of his
   11· ·statements, the witness statement that's contained
   12· ·in this transcript, and the totality of what he's
   13· ·saying is, "You know, I'm really not sure whether
   14· ·it was in the crib or not, but I'm sure -- I'm sure
   15· ·it was outside the crib."
   16· · · ·Q.· ·(By Mr. Lesnick) If I go to Page -- let's
   17· ·see here, 13 of your report, there's a heading
   18· ·that's titled, and I'll share it back up on the
   19· ·screen.· There's a heading entitled appearance and
   20· ·features of the first fire observed, is that
   21· ·telling us -- is this section supposed to tell us
   22· ·how the fire looked in layman's terms?
   23· · · ·A.· ·It's what they had to say about it.· What
   24· ·they had to say about the appearance of the fire
   25· ·and the features of it.· How big was it.· Where was

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   ·1· ·it.· Specifically, besides in a physical location
   ·2· ·of the building, where was it relative to the
   ·3· ·contents, what did it look like.· How big was it.
   ·4· · · ·Q.· ·Under Mr. Shaffer here, this last sentence
   ·5· ·says, "The canisters just kept blowing up like
   ·6· ·popcorn as he left.· Let me pull up Mr. Shaffer's
   ·7· ·testimony section of that.· We're going to mark it
   ·8· ·as Exhibit 15.
   ·9· · · · · · (Plaintiff's Exhibit 15 marked for
   10· · · · · · · · · · ·identification.)
   11· · · ·Q.· ·This is Pages 29 through 32 of Mr.
   12· ·Shaffer's testimony.· I would like you to read
   13· ·these four pages when you get a chance.· Let me
   14· ·zoom out for you.· It runs from left to right along
   15· ·the top and bottom.· Can you just tell me when you
   16· ·want me to move it.
   17· · · ·A.· ·Okay.· Hold on.· If you could scroll down
   18· ·a little bit so I can get the first part -- the
   19· ·last part of 29.· Okay.· Back up to the top of 30.
   20· ·All right.· The bottom of 30.· Okay.· 31, please.
   21· ·Bottom of 31.· Okay.· Top of 32.· Okay.· Bottom of
   22· ·32.· Okay.· What's the question?· Because I may
   23· ·need to reread this based on whatever question
   24· ·you're asking about it.
   25· · · ·Q.· ·Sure.· Page 30 here discusses about what

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   ·1· ·Mr. Shaffer -- what boxes were outside of the tool
   ·2· ·crib that he saw on fire and he says the brake
   ·3· ·cleaner, the spray glue.· I think spray paint even,
   ·4· ·okay.· Did he testify that those items were, you
   ·5· ·know, further on here, were supposed to be stored
   ·6· ·inside fire cabinets?
   ·7· · · ·A.· ·I don't remember his entire testimony.
   ·8· ·I'm sure I read it, but I don't remember everything
   ·9· ·about his testimony.
   10· · · ·Q.· ·Items that are supposed to be stored
   11· ·inside fire cabinets, what's the purpose of a fire
   12· ·cabinet?
   13· · · ·A.· ·The purpose of them is to isolate them
   14· ·from potentially viscous sources is one purpose of
   15· ·them.
   16· · · ·Q.· ·Is that because they're --
   17· · · ·A.· ·It's also to contain whatever those items
   18· ·are, so it's to separate them from heat sources so
   19· ·they're in protective cabinets and they're pretty
   20· ·heavy wall cabinets and they have lockable doors.
   21· · · ·Q.· ·In essence, those items are flammable,
   22· ·correct?
   23· · · ·A.· ·Yes.
   24· · · ·Q.· ·Okay.· And canisters filled with flammable
   25· ·solvent, can they explode in a fire?

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   ·1· · · ·A.· ·Certainly.
   ·2· · · ·Q.· ·Solvents within those canisters, can they
   ·3· ·expel flames when that occurs?
   ·4· · · ·A.· ·It depends on what the contents of the
   ·5· ·canister are, but certainly I've seen -- I've seen
   ·6· ·canisters of -- that have material in them that
   ·7· ·would create a flame jet.
   ·8· · · ·Q.· ·Okay.· Mr. Shaffer testified that a
   ·9· ·canister exploded and he could feel the concussion,
   10· ·correct?
   11· · · ·A.· ·Yes.
   12· · · ·Q.· ·Okay.· Isn't it true that canisters filled
   13· ·with flammable solvents when they expel that flame
   14· ·jet you were talking about, they can spread fire to
   15· ·other locations when they explode, correct?
   16· · · · · · MR. BARTON:· Objection.· Vague.· Go ahead.
   17· · · ·A.· ·It depends, again on the contents, how
   18· ·full they are and whether or not -- they may even
   19· ·become projectiles and we saw that in some of the
   20· ·video where some of those -- some of those aerosol
   21· ·containers are actually flying across the -- across
   22· ·the plant floor as is shown in that video.· That
   23· ·video being the video taken by Mr. Tanner.
   24· · · ·Q.· ·(By Mr. Lesnick) Okay.· So you would just
   25· ·say it's possible for them to spread fire, is what

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   ·1· ·your answer is, right?· I'm not saying it happened
   ·2· ·here, but it's possible?
   ·3· · · · · · MR. BARTON:· Object to the extent it
   ·4· ·misstates his testimony.· Go ahead.
   ·5· · · ·A.· ·It depends again what the contents of the
   ·6· ·canisters are, but it is possible they contributed
   ·7· ·to the fire in that area and spread beyond that
   ·8· ·area.
   ·9· · · ·Q.· ·(By Mr. Lesnick) You also discuss Mr.
   10· ·Zimmer's testimony on Page 13 here.· You read Mr.
   11· ·Zimmer's deposition testimony?
   12· · · ·A.· ·I did.
   13· · · ·Q.· ·And all these witnesses.· Larry Shaffer,
   14· ·David Whisler, Brandon Tanner, Adam Zimmer, Gary
   15· ·Horton, Derek Null, each of those witnesses, you
   16· ·read their deposition testimony, correct?
   17· · · ·A.· ·I did.
   18· · · ·Q.· ·On the day of the fire, do you know if Mr.
   19· ·Zimmer walked to the prototype area from the front
   20· ·of the building before the fire?
   21· · · · · · MR. BARTON:· Object to form.· Go ahead.
   22· · · ·A.· ·Well, I mean, he testified that he was
   23· ·near the prototype area.· I'm going to stick to the
   24· ·assumption there, I'm going to assume he walked
   25· ·there, that he didn't go by car or golf cart or

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   ·1· ·some other means, but yeah, he probably walked to
   ·2· ·that area.
   ·3· · · ·Q.· ·(By Mr. Lesnick) Yeah, I think he
   ·4· ·testified that he did.· And didn't he testify that
   ·5· ·that walk occurred about 15 to 20 minutes before
   ·6· ·the fire?
   ·7· · · ·A.· ·You're asking me to remember everything in
   ·8· ·every deposition, I don't recall that, exactly what
   ·9· ·time it was, but...
   10· · · ·Q.· ·Did you note in your report anywhere how
   11· ·long it was before the fire that Mr. Zimmer walked
   12· ·to the prototype area?
   13· · · ·A.· ·No, but he and -- you know, it's my
   14· ·understanding he and Mr. Whisler were originally in
   15· ·the office area and both ended up at the prototype
   16· ·unit, so that's information --
   17· · · ·Q.· ·Did --
   18· · · ·A.· ·-- that's information I have available to
   19· ·me.
   20· · · ·Q.· ·Did Mr. Zimmer testify that he -- that
   21· ·there was anything memorable about the tool crib on
   22· ·his walk from the office area to the prototype area
   23· ·before the fire?
   24· · · ·A.· ·No, I don't believe he did.
   25· · · ·Q.· ·Did he testify that he smelled smoke

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   ·1· ·before the fire?
   ·2· · · ·A.· ·One of the witnesses did.· I would have to
   ·3· ·go through the report testimony, but there was a
   ·4· ·witness that thought they might have smelled
   ·5· ·something.
   ·6· · · ·Q.· ·Okay.· Did Mr. Zimmer?
   ·7· · · ·A.· ·Again I don't remember the details of all
   ·8· ·of these depositions.
   ·9· · · ·Q.· ·If he had, would you have found that to be
   10· ·an important data point in your assessment of this
   11· ·case?
   12· · · · · · MR. BARTON:· Object to form.· Vague.
   13· · · ·A.· ·It depends.· I would have to see the
   14· ·context of it.
   15· · · ·Q.· ·(By Mr. Lesnick) Okay.· Did he testify he
   16· ·saw smoke at any point, Mr. Zimmer, before the
   17· ·fire?
   18· · · ·A.· ·Again, I don't remember everything that
   19· ·Mr. Zimmer said.· I brought forward some summary of
   20· ·what he saw and what he -- and what he observed
   21· ·about the fire.· When he first saw smoke --
   22· · · ·Q.· ·He testified that he didn't smell -- go
   23· ·ahead.
   24· · · ·A.· ·Go ahead.· You've got another question
   25· ·coming, let's hear it.

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   ·1· · · ·Q.· ·He testified that there was nothing
   ·2· ·memorable about the tool crib when he walked past
   ·3· ·it 15 to 20 minutes before the fire, that he didn't
   ·4· ·smell smoke and he didn't see any smoke.· Did you
   ·5· ·take that testimony into consideration when you
   ·6· ·formed your opinions in this matter?
   ·7· · · · · · MR. BARTON:· Object to the extent it
   ·8· ·misstates the testimony of Mr. Zimmer.
   ·9· · · ·A.· ·I took all the testimony into
   10· ·consideration and the path by which he arrived from
   11· ·Point A to Point B, both he and Mr. Whisler, David
   12· ·Whisler, the plant manager.· That was laid out also
   13· ·in those depositions, so he didn't walk by it.· He
   14· ·walked -- he walked through an area of the plant
   15· ·that was parallel to it, but again, that's some 50
   16· ·feet away.
   17· · · ·Q.· ·That was the same path Mr. Zimmer took to
   18· ·get to the prototype section during his walk before
   19· ·the fire.· That's the same location where he saw
   20· ·the fire when he first viewed it, didn't he?
   21· · · ·A.· ·That sounds correct, but without looking
   22· ·at all the testimony again, again it sounds
   23· ·correct.· I don't dispute that that's probably
   24· ·true.
   25· · · ·Q.· ·So I just want to know why where he walked

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   ·1· ·on his way before the fire, the distance, makes a
   ·2· ·difference versus where he was when he first saw
   ·3· ·the fire?
   ·4· · · ·A.· ·I don't understand your question.
   ·5· · · · · · MR. BARTON:· I'm going to say it was
   ·6· ·argumentative and vague.· Go ahead.
   ·7· · · ·Q.· ·(By Mr. Lesnick) You're saying you
   ·8· ·wouldn't expect him to notice -- you said you
   ·9· ·wouldn't expect him to notice anything about the
   10· ·tool crib based on the distance he was from the
   11· ·tool crib when he walked past it to get to the
   12· ·prototype section?
   13· · · · · · MR. BARTON:· Object to form.· Misstates
   14· ·the witness' testimony.
   15· · · ·A.· ·No, I did not say that.· What I said was
   16· ·he was some 50 -- 40, 50 feet away from the tool
   17· ·crib on that path back to the prototype area, both
   18· ·him and Mr. Whisler.· There's a distance, it's
   19· ·misleading to say he walked past the tool crib.· He
   20· ·said he walked through the plant parallel to the
   21· ·tool crib, again it's 50 feet away.· That pathway
   22· ·is 50 feet away from the far edge of the tool crib.
   23· ·There's another 20 feet to the back edge of the
   24· ·tool crib.
   25· · · ·Q.· ·Do you know if there were any obstructions

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   ·1· ·between him and the tool crib when he walked that
   ·2· ·path that we're discussing?
   ·3· · · · · · MR. BARTON:· Objection.· Vague.· Calls for
   ·4· ·speculation.· Go ahead.
   ·5· · · ·A.· ·We can see in the video that there are
   ·6· ·some obstructions, yes.
   ·7· · · ·Q.· ·(By Mr. Lesnick) What obstructions?
   ·8· · · ·A.· ·Well, there's ladders.· There's carts.
   ·9· ·There's a, what I'll call like a large bin.                           I
   10· ·don't know if that's a scrap bin or a parts bin.
   11· ·I'm not sure what they use it for in this plant.
   12· ·And it's also a build-out area.· It's also a
   13· ·build-out area for the slide ins and slide outs,
   14· ·slide ins, slide outs, what they use for the RV
   15· ·industry.
   16· · · ·Q.· ·We were talking about Mr. Whisler.· Mr.
   17· ·Whisler walked on a similar path as Mr. Zimmer
   18· ·prior to the fire, correct, to get to the prototype
   19· ·location?
   20· · · ·A.· ·Similar in that they were both in the
   21· ·office and both at the prototype area, that's
   22· ·correct.
   23· · · ·Q.· ·Do you remember if Mr. Whisler smelled any
   24· ·smoke before the fire occurred?
   25· · · · · · MR. BARTON:· Asked and answered.

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   ·1· · · ·A.· ·Mr. Whisler, I don't believe had observed
   ·2· ·or saw anything until he was alerted to the fire on
   ·3· ·his way back towards the office area.
   ·4· · · ·Q.· ·(By Mr. Lesnick) I'm going to go back to
   ·5· ·Exhibit 2.· I'm going to go to Page 14 and scroll
   ·6· ·this way, at the paragraph here that starts Hackett
   ·7· ·4133, you say in the last sentence, "This data
   ·8· ·contradicted the testimony of Larry Shaffer when he
   ·9· ·testified that his initial observation was fire on
   10· ·top of cardboard boxes stacked outside of the tool
   11· ·crib south of the tool crib door."· Why did you put
   12· ·that contradiction in here?· What's the purpose of
   13· ·that?
   14· · · ·A.· ·Let me read the paragraph first.· I have a
   15· ·copy on the table here, so let me look at the hard
   16· ·copy.· It's the same thing you have on the screen.
   17· ·I'm comparing what is in the Hackett notes versus
   18· ·what Mr. Whisler conveyed, so it's a contradiction.
   19· ·What do you want to know about it?· Why am I
   20· ·pointing out a contradiction?· Because there's a
   21· ·contradiction in the information, so part of the
   22· ·analysis process, any time that you -- first of
   23· ·all, you collect all the data, right?· And then you
   24· ·have to rationalize that data and if there's any
   25· ·contradiction in the data, you have to rationalize

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   ·1· ·those contradictions to the extent you can, and so
   ·2· ·I am discussing that in my report, that there's a
   ·3· ·contradiction.
   ·4· · · ·Q.· ·Later on in your report, I think you
   ·5· ·discuss that Mr. Shaffer is the only one that sees
   ·6· ·fire in this location as compared to the other
   ·7· ·witnesses, correct?
   ·8· · · ·A.· ·Well, Mr. Shaffer is the only one that
   ·9· ·says there is.· There's a contradiction there also,
   10· ·yeah, and again, you have to rationalize those
   11· ·contradictions in your analysis, and so you don't
   12· ·accept them at face value.· You have to rationalize
   13· ·them and say what makes sense based on all the
   14· ·data, and so when you look at all the data, Mr.
   15· ·Shaffer seeing fire south of the door on top of
   16· ·boxes near the tool crib room door does not make
   17· ·any sense because, first of all, there wasn't --
   18· ·there's no evidence of any stored materials south
   19· ·of the tool crib door, and also when you look at
   20· ·the video, the fire appears to be more towards the
   21· ·right of the tool crib door than it is to the left
   22· ·of the tool crib door.· And you can see to the left
   23· ·of the tool crib door, you can see this eight-foot
   24· ·bench that was laid out in that area that had a
   25· ·grinder and a light fixture above it, so there

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   ·1· ·really is no place for boxes to be stacked, so
   ·2· ·there's a contradiction in where he believes -- he
   ·3· ·says he sees fire on those boxes, on top of those
   ·4· ·boxes, but there's a contradiction about whether
   ·5· ·they're on the north or south side of that door.
   ·6· · · ·Q.· ·Was he the first person to see the fire in
   ·7· ·this matter?
   ·8· · · ·A.· ·Was who?
   ·9· · · ·Q.· ·Mr. Shaffer.
   10· · · ·A.· ·I believe Larry Shaffer saw it at the
   11· ·smallest stage, that's correct.
   12· · · ·Q.· ·He was the first eyewitness to the fire,
   13· ·correct?
   14· · · · · · MR. BARTON:· Object to form.· Misstates
   15· ·his testimony.
   16· · · ·A.· ·What I said was he was the one that
   17· ·describes the fire in its smallest stage.
   18· · · ·Q.· ·(By Mr. Lesnick) Do you know if there's
   19· ·any other witnesses in this case that saw the fire
   20· ·before Mr. Shaffer?
   21· · · ·A.· ·I'm not aware of any other witnesses that
   22· ·see it at a smaller stage of fire.· Mr. Shaffer was
   23· ·the first one to leave the prototype area.
   24· · · ·Q.· ·Do you believe there are witnesses that
   25· ·saw the fire -- do you have evidence that there's

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   ·1· ·witnesses that saw the fire before Mr. Shaffer?
   ·2· · · · · · MR. BARTON:· Object to the extent it calls
   ·3· ·for speculation.· Go ahead.
   ·4· · · ·A.· ·So we already talked about the fact that
   ·5· ·there was an ongoing investigation regarding arson,
   ·6· ·so certainly if there was an arson, some act that
   ·7· ·caused this fire to occur, then those people that
   ·8· ·were involved in that matter would have been the
   ·9· ·first ones to see it occur.
   10· · · ·Q.· ·(By Mr. Lesnick) Is there any evidence --
   11· ·other than that evidence, besides that, is there
   12· ·any other evidence that there was somebody else who
   13· ·saw -- who actually saw the fire before Mr.
   14· ·Shaffer?
   15· · · ·A.· ·Of the six employees that were in the
   16· ·plant area, you know, excluding the two individuals
   17· ·that were in the office area and never left the
   18· ·office area, but of the six employees, I believe
   19· ·Mr. Shaffer was probably the first to see it, of
   20· ·the six witnesses that were in the plant at the
   21· ·time this fire was discovered.
   22· · · ·Q.· ·And when he saw the fire, he said the fire
   23· ·was about a foot tall and one to two feet wide on
   24· ·top of cardboard boxes, correct?
   25· · · ·A.· ·That's -- one foot tall and one to two

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   ·1· ·feet wide.· A pretty small fire.
   ·2· · · ·Q.· ·I'm going to pull up what we're going to
   ·3· ·mark as exhibit -- I'm sorry.· What was previously
   ·4· ·marked as Exhibit 4-H. Have you seen this exhibit
   ·5· ·before?
   ·6· · · ·A.· ·Yes, I have.
   ·7· · · ·Q.· ·Okay.· Do you know what this exhibit is?
   ·8· · · ·A.· ·Without comparing it in my entire file, it
   ·9· ·certainly looks like the exhibit that was attached
   10· ·to Mr. Shaffer's testimony, so it's a depiction of
   11· ·where he -- where he originally was and where he --
   12· ·his exit path out of the building and where he saw
   13· ·different features as he's exiting.
   14· · · ·Q.· ·And this purple X above the parts shipping
   15· ·area, let me zoom in on it so there's no
   16· ·misunderstanding which purple X I'm talking about.
   17· ·So the parts shipping area, that's where he
   18· ·testified he was when he first saw the fire in this
   19· ·matter, right?
   20· · · ·A.· ·No.· No.
   21· · · ·Q.· ·Okay.
   22· · · ·A.· ·As he's coming around the corner, he sees
   23· ·a glow on the ceiling which he assumed at that
   24· ·point in time was the tool crib, the tool crib
   25· ·manager.· The maintenance guy, Lanny Kistler.· He

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   ·1· ·assumed it was him over there welding, that's what
   ·2· ·was causing the glow on the ceiling of the
   ·3· ·building, so that's the first place that he had
   ·4· ·indication that there was something going on.· As
   ·5· ·he rounded the corner --
   ·6· · · ·Q.· ·But the first place that he had -- I asked
   ·7· ·the first place where he saw fire was at this
   ·8· ·purple X that we're looking at above the parts
   ·9· ·shipping area, correct?
   10· · · ·A.· ·Well, no, I believe he saw a glow on the
   11· ·ceiling, is what he refers to in his testimony.· He
   12· ·saw a glow on the ceiling, which he assumed was
   13· ·Lanny Kistler welding in the parts shipping area,
   14· ·and as he rounds the corner around the southeast
   15· ·corner of the tool crib, he discovers that there
   16· ·is, in fact, a fire on top of the boxes.
   17· · · ·Q.· ·So the first time that he discovers the
   18· ·fact that there's a fire on top of the boxes,
   19· ·that's where the X is located, right here, correct?
   20· · · ·A.· ·That's my understanding, yes.
   21· · · ·Q.· ·Okay.· Do you know how far away -- let me
   22· ·ask this.· This red square, this is where he
   23· ·testified that he saw the fire, correct?
   24· · · ·A.· ·I don't remember that detail of it.                           I
   25· ·would have to go back and look through his

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   ·1· ·testimony, but it certainly could be.· He said
   ·2· ·south of the tool crib door, and I believe the
   ·3· ·green -- the green square is the tool crib door, so
   ·4· ·it makes sense.
   ·5· · · ·Q.· ·I'll represent --
   ·6· · · ·A.· ·It makes sense that the red square would
   ·7· ·be that.
   ·8· · · ·Q.· ·It makes sense because that's what he
   ·9· ·testified to.· Do you know what the distance is
   10· ·between the purple X and the red square is?
   11· · · · · · MR. BARTON:· Objection to the
   12· ·argumentative statement at the beginning of the
   13· ·question, and the compound nature.· Go ahead.
   14· · · ·A.· ·Precisely, no.· About, yeah, it's probably
   15· ·five or six feet.
   16· · · ·Q.· ·(By Mr. Lesnick) It was about five or six
   17· ·feet when he first discovered that there was
   18· ·actually a fire on top of boxes in that location;
   19· ·correct?
   20· · · ·A.· ·Boxes that don't appear to have been there
   21· ·because there's no stored materials that were ever
   22· ·indicated to be there.· Additionally, when you
   23· ·compare the information to what is shown in the
   24· ·video, there is no fire in that corner of the tool
   25· ·crib, either inside or outside.· All the fire is

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   ·1· ·coming from the other side of the tool crib door.
   ·2· · · ·Q.· ·Was any witness, eyewitness whose
   ·3· ·testimony was taken in this case or that you
   ·4· ·reviewed, did any other witness testify that they
   ·5· ·were closer to observing the fire than Mr. Shaffer?
   ·6· · · ·A.· ·Of the six witnesses that were inside the
   ·7· ·plant at the time of the fire's discovery, I
   ·8· ·believe Mr. Shaffer testified that he was probably
   ·9· ·the closest to that area.
   10· · · ·Q.· ·Was it probably the closest or that he was
   11· ·the closest?· I just want to clarify for the
   12· ·record.
   13· · · ·A.· ·I think they're the same.· He probably was
   14· ·the closest of those.
   15· · · ·Q.· ·Is there a doubt that he wasn't?
   16· · · ·A.· ·Again, based on his testimony, he probably
   17· ·was the closest.
   18· · · ·Q.· ·Page 15 of your report, you discuss a
   19· ·section called video information, and there's a
   20· ·discussion about a video contained in Hackett
   21· ·000830.· How many videos have you viewed of this
   22· ·fire from inside of the building?
   23· · · ·A.· ·I viewed two versions of the same video.
   24· ·I had a low resolution version that I got at one
   25· ·point in time, and then I believe the video in the

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   ·1· ·Hackett file was actually a higher resolution
   ·2· ·version, and by higher resolution, I mean, it had
   ·3· ·more frames per second.
   ·4· · · ·Q.· ·Down towards the bottom of the second --
   ·5· · · ·A.· ·Let me rephrase that.· There's -- well,
   ·6· ·there's a small ten second video from the fire
   ·7· ·department, but that's external to the -- that's
   ·8· ·external to the building.· I thought you were
   ·9· ·talking about the one internal to the building.· So
   10· ·I have two versions of the one internal to the
   11· ·building and then we had that short ten second
   12· ·video that was obtained from the fire department.
   13· · · ·Q.· ·That's fair.· My question was about
   14· ·internal video, though, but I appreciate you
   15· ·elaborating on that.
   16· · · ·A.· ·Okay.
   17· · · ·Q.· ·In the second paragraph here, southwest
   18· ·corner of the tool crib was not burning during most
   19· ·of the video.· And you've talked about this a
   20· ·little bit, but what do you mean by most of the
   21· ·video?
   22· · · ·A.· ·Sure.· At one point in time during the
   23· ·course of the video, and I address that, I address
   24· ·that in figure 9.· So video frame 469 is included
   25· ·in figure 9, so the 469th frame of that video, and

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   ·1· ·so it's 15.6 seconds from the start of the
   ·2· ·recording, so 15 seconds in, we can see a flame jet
   ·3· ·near that southwest corner of the tool room.
   ·4· · · ·Q.· ·You know, I noticed in your photographs
   ·5· ·you have on Pages 16, 17, 18, that's figures 7, 8,
   ·6· ·9, you have this blue wall that's put up, correct?
   ·7· · · ·A.· ·It's not put up.· It's marking,
   ·8· ·delineating the area of the exterior of the tool
   ·9· ·crib, and in front of that -- in front of that is
   10· ·the ladder and, for example, I'm looking at figure
   11· ·7 on Page 16, in front of that is the ladder that
   12· ·you can clearly see in the video, which I've
   13· ·outlined there.· There's a bin that's on the
   14· ·right-hand side that's blocking a portion of that
   15· ·corner that's formed by the tool crib and the north
   16· ·wall, and you can see there's an outline of a cart
   17· ·and then there's the outline of that eight-foot
   18· ·table there.· So all those items are highlighted
   19· ·from the original video image on the left.
   20· · · ·Q.· ·Is there a reason why in all of these --
   21· ·well, let me ask -- yeah.· Is there a reason why
   22· ·you didn't put the tool crib door on any of these
   23· ·photographs?
   24· · · ·A.· ·It's not clearly visible on the video.
   25· · · ·Q.· ·So it could be to the right of where

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   ·1· ·you're seeing flames in the video or to the left?
   ·2· ·You're just not sure?
   ·3· · · ·A.· ·No, that's not true because we know where
   ·4· ·the video -- we know the lay of the land there.
   ·5· ·We've got sketches that show that eight-foot table,
   ·6· ·that eight-foot steel table, and we know that the
   ·7· ·tool crib door is to the north of that.
   ·8· · · ·Q.· ·When I'm looking at figure 7, I mean,
   ·9· ·let's try to figure this out.· I'm trying to orient
   10· ·myself to your discussion.· Figure 7, I see a cart
   11· ·in the middle of the screen, correct?· And then to
   12· ·the left of that, there's, like, a thin line.· I'm
   13· ·assuming that's supposed to be the workbench,
   14· ·correct?
   15· · · ·A.· ·That is the workbench, yes.
   16· · · ·Q.· ·That's what that's supposed to annotate,
   17· ·the workbench, correct?
   18· · · ·A.· ·Not supposed to --
   19· · · ·Q.· ·The location of that?
   20· · · ·A.· ·It does annotate the eight-foot workbench
   21· ·that's there.
   22· · · ·Q.· ·Okay.· And you're saying how far away from
   23· ·the workbench is the tool crib door supposed to be?
   24· · · ·A.· ·I just said north of it.· It's about --
   25· · · ·Q.· ·So --

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   ·1· · · ·A.· ·So the whole tool crib is 20 feet, right?
   ·2· ·So we can see that near that -- near that southeast
   ·3· ·corner on the exterior side, there's an eight-foot
   ·4· ·table, right?· So that leaves an additional 12
   ·5· ·feet.· We know the tool crib door dimensions.                            I
   ·6· ·don't have them in front of me, so let's just say
   ·7· ·for talking purposes that's three feet.· Now, we're
   ·8· ·at 11 feet.· So that leaves an additional nine feet
   ·9· ·on the other side of the door, so that door is
   10· ·roughly centered so it would be roughly behind --
   11· ·behind that four-wheeled cart that you see there.
   12· · · ·Q.· ·Is that drawing of the workbench, is that
   13· ·to scale?
   14· · · ·A.· ·It's an outline of the image that we see
   15· ·in the video on the left, the frame on the left.
   16· · · ·Q.· ·Okay.· So what I'm trying to get at, I'm
   17· ·trying to figure out, that is the exact distance of
   18· ·the workbench along the north -- the east wall of
   19· ·the tool crib?
   20· · · ·A.· ·It is an outline of what I can see in the
   21· ·video frame which is -- which happens to be the
   22· ·outline of that eight-foot bench that's there.
   23· · · ·Q.· ·So then it is to scale is the answer,
   24· ·right?
   25· · · · · · MR. BARTON:· Object to form.· Misstates

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   ·1· ·his testimony.
   ·2· · · ·A.· ·Again we're looking at an angle.· I don't
   ·3· ·know what you mean by to scale.· There's no scale
   ·4· ·on here.· There's no scale bar that would indicate
   ·5· ·a scale, you know, for example, an eighth inch
   ·6· ·equals one foot.· There's no scale bar here, so to
   ·7· ·say that I've drawn that to be exactly eight feet,
   ·8· ·I've drawn the outline of what I see in the video
   ·9· ·frame image, which is the raw image, which is the
   10· ·raw image that's shown on the left, and I've
   11· ·outlined that and included that in the right.
   12· · · ·Q.· ·(By Mr. Lesnick) On your left image here,
   13· ·when I look under where you've outlined as a
   14· ·workbench, do you see fire underneath the workbench
   15· ·in that screenshot?
   16· · · ·A.· ·On the right edge of it, I do.
   17· · · ·Q.· ·Okay.· And then, like we said, you haven't
   18· ·shown where the door is on this, right?· We have an
   19· ·approximation, I think you said it's approximately
   20· ·behind the cart that you drew into the right
   21· ·photograph, correct?
   22· · · · · · MR. BARTON:· Asked and answered and
   23· ·compound.· Go ahead.
   24· · · ·A.· ·Again, the cart, I didn't draw in.· I'm
   25· ·outlining what is shown in the left video frame, so

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   ·1· ·I'm not adding anything to this image other than
   ·2· ·outlining what's there, and so we know that the
   ·3· ·door is to the right of that eight-foot table.
   ·4· · · ·Q.· ·(By Mr. Lesnick) Is there fire located on
   ·5· ·the walls behind where that cart is located?· Can
   ·6· ·you tell?
   ·7· · · ·A.· ·There is fire behind that cart, yes.· On
   ·8· ·the walls, I wouldn't agree with that, but there is
   ·9· ·fire behind there.
   10· · · ·Q.· ·Do you know where that fire is?
   11· · · ·A.· ·Yes, it's behind the cart.
   12· · · ·Q.· ·Do you know what is on fire there?
   13· · · ·A.· ·Well, you have -- now you're talking about
   14· ·one clip, one frame.· Remember, we're at frame --
   15· ·this is video frame 159, so if you look at every
   16· ·frame and watch the progression of the fire, you
   17· ·can tell that there's a fire coming from the right
   18· ·to the left, and you can tell that it is -- it's
   19· ·ventilation affected and it's lapping up over the
   20· ·top of the -- over the top of the tool crib, and so
   21· ·it's lapping up the wall and over the top of the
   22· ·tool crib, so what is burning?
   23· · · ·Q.· ·I guess my question is; do you know what
   24· ·is burning?· Yeah, that was my question, right.
   25· · · ·A.· ·What is burning?· We know that there are

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   ·1· ·stored boxes of materials there and some of those
   ·2· ·materials were still present during the dig-out of
   ·3· ·the fire scene, you know, for example, we had
   ·4· ·evidence of brake cleaner containers that were in
   ·5· ·that area.· We had evidence of other aerosol
   ·6· ·containers that were in that area.· We had evidence
   ·7· ·of rolls of tape.· Those were items that were
   ·8· ·testified that was there and stored in that corner
   ·9· ·in cardboard boxes.
   10· · · ·Q.· ·I'm trying to clarify what area we're
   11· ·talking about because I'm talking about the area
   12· ·behind the cart.· I'm asking what is burning in
   13· ·this frame in the area behind the cart that you see
   14· ·in this frame you've chosen for your report.
   15· · · · · · MR. BARTON:· Objection.· Asked and
   16· ·answered.· Go ahead.
   17· · · ·A.· ·Well, there's -- all of what is burning,
   18· ·we've covered some of the contents that are in that
   19· ·area.· We've got boxes, cardboard boxes of tape,
   20· ·aerosol containers with spray paint, brake cleaner,
   21· ·I believe it's brake cleaner that are in some of
   22· ·the cans.· We've got a rubber floor mat, I think,
   23· ·that's in front of that door, so any or all of
   24· ·those items are involved in the fire at that point.
   25· ·Probably some of those are from the glue and

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   ·1· ·adhesives, those large five-gallon containers of
   ·2· ·adhesives are involved because you can tell when
   ·3· ·you watch the video from start to finish and go
   ·4· ·through the hundreds of frames that we had created,
   ·5· ·you can tell that there is multiple flare-up events
   ·6· ·and each of those flare-up events is another fuel
   ·7· ·package that's being added to the fire.
   ·8· · · ·Q.· ·(By Mr. Lesnick) So everything you just
   ·9· ·said you're saying is potentially stored behind
   10· ·this, and I'm just wanting to make sure I'm on the
   11· ·same page.· I'm talking about the space between the
   12· ·east wall and the cart, okay?· I'm not talking
   13· ·about the northeast corner of the tool crib where
   14· ·the north wall is.· I'm talking about when you're
   15· ·looking at this photograph, what you see behind the
   16· ·cart.· We discussed something appears to be on
   17· ·fire.· You're saying we know that there were items
   18· ·stored in that location that are flammable, that's
   19· ·what you're testifying to?
   20· · · · · · MR. BARTON:· Objection.· Vague.· Compound.
   21· ·Asked and answered in parts of the question.· Go
   22· ·ahead.
   23· · · ·A.· ·Again, we know what's stored in that
   24· ·northwest corner that's formed by the tool crib
   25· ·wall, the east tool crib wall and the north wall of

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   ·1· ·the plant, we know what is stored there.· And what
   ·2· ·the fire that you're seeing, I'm not saying that
   ·3· ·those boxes are stored in front of the tool crib
   ·4· ·door.· The only thing in front of the tool crib
   ·5· ·door that could be contributing directly that was
   ·6· ·there before the fire would be the rubber floor mat
   ·7· ·that was existing that one of the witnesses
   ·8· ·testified was sitting there, but as the fire is
   ·9· ·progressing -- now, keep in mind, Mr. Tanner
   10· ·testified that this video was taken several minutes
   11· ·after discovery of the fire, so everybody else is
   12· ·hauling it out the doors of the plant, but he and
   13· ·Mr. Null decided to stay back and watch this fire a
   14· ·little longer, and so this video that he took
   15· ·wasn't at the discovery of the fire.· This video he
   16· ·took was several minutes later.· He says five to
   17· ·10, okay, so three or four, five, six, who knows
   18· ·exactly how many it was because people's perception
   19· ·of fire can be, during that exciting time can be
   20· ·off a little bit, but he says 5 to 10 minutes, so
   21· ·it's probably somewhere in that range after
   22· ·discovery of the fire.· So we've got a fire that's
   23· ·in a significantly advanced state that started on
   24· ·top of some cardboard boxes, and those cardboard
   25· ·boxes contain flammable materials, and like I said,

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   ·1· ·you can see from the video that we've got several
   ·2· ·flare-up events, each of those flare-up events that
   ·3· ·occur in that video is another fuel package that's
   ·4· ·being introduced to the fire.
   ·5· · · ·Q.· ·(By Mr. Lesnick) I guess my question was,
   ·6· ·because I'm not sure in any sense you answered what
   ·7· ·I was asking.· Do you know what's between the east
   ·8· ·wall of the tool crib in this photograph in that
   ·9· ·cart that's burning in this picture frame that
   10· ·you've chosen?
   11· · · · · · MR. BARTON:· Object to form.· Asked and
   12· ·answered.· Argumentative.· Compound.· Go ahead.
   13· · · ·A.· ·I did just answer that question very
   14· ·clearly.
   15· · · ·Q.· ·(By Mr. Lesnick) Was it a yes, do you
   16· ·know?· I mean, I'm asking in a yes or no form.· Is
   17· ·it a yes or is it a no?
   18· · · · · · MR. BARTON:· Object to form.· Misstates
   19· ·your question.
   20· · · ·A.· ·You asked me what was burning not --
   21· · · ·Q.· ·(By Mr. Lesnick) No, I asked you if you
   22· ·know -- I asked you if you know what is burning
   23· ·between the cart and the photograph and the still
   24· ·frame you chose and the east wall of the tool crib
   25· ·directly behind it.· Do you know what is burning in

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   ·1· ·that figure that we're looking at?
   ·2· · · · · · MR. BARTON:· Asked and answered.· Go
   ·3· ·ahead.
   ·4· · · ·A.· ·We know what fuel load packages were
   ·5· ·present in that area.
   ·6· · · ·Q.· ·(By Mr. Lesnick) Okay.· Fair enough.· Fair
   ·7· ·enough.· The fuel load packages that we've
   ·8· ·discussed were present in that area, correct?
   ·9· · · ·A.· ·Not directly in front of the tool crib
   10· ·door, but to the north of the tool crib door.
   11· · · ·Q.· ·How would they have gotten from that area
   12· ·north of the tool crib door to where we see in this
   13· ·photograph here which is south of the tool crib
   14· ·door?
   15· · · · · · MR. BARTON:· Object to form.· Misstates
   16· ·the evidence.· Go ahead.
   17· · · ·A.· ·We've got five-gallon pods of glue that
   18· ·are on fire and exploding.· We've got aerosol cans
   19· ·that are on fire and exploding.· We've got brake
   20· ·cleaner that's stored in that area, that is full
   21· ·containers of -- this is stuff that's not used yet,
   22· ·so this is stored materials that they're going to
   23· ·use, and so all that's going to add fuel and cause
   24· ·the fire to spread.· Some of those are liquids.
   25· ·Some of them are aerosols, and that's going to add

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   ·1· ·to that fuel load in that corner and that's what's
   ·2· ·creating the flames that we see in that corner.
   ·3· ·The only thing --
   ·4· · · ·Q.· ·(By Mr. Lesnick) And --
   ·5· · · ·A.· ·-- the only thing that's sitting in front
   ·6· ·of that door, that we know of, before the fire is
   ·7· ·a -- that we know of a rubber floor mat that's
   ·8· ·there.· There's also a container of rags.· We don't
   ·9· ·know where that container was, but we know there
   10· ·was a container of rags somewhere just outside the
   11· ·tool crib area.
   12· · · ·Q.· ·I'm going to pull up the video that we've
   13· ·been discussing that was previously marked as
   14· ·Exhibit 20.· I'm going to have you watch it quickly
   15· ·here.· Give me a second and I will share my screen.
   16· ·Are you seeing the video I pulled up?
   17· · · ·A.· ·I see a still image.
   18· · · ·Q.· ·Okay.· I will start it in a second.                           I
   19· ·just wanted to make sure you're seeing what I'm
   20· ·seeing.· There's no audio on this, I don't believe.
   21· ·This was previously marked as Exhibit 20.· I'm
   22· ·going to play this real quickly and I'm going to
   23· ·try to stop it at the 15-second mark.· So right
   24· ·about here, right, is where your photos -- it's
   25· ·probably not exactly the same.· I mean, I don't

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   ·1· ·have it down to the millisecond, but this says 15
   ·2· ·seconds on the video, so it's right about here
   ·3· ·you're discussing?
   ·4· · · ·A.· ·Discussing where?
   ·5· · · ·Q.· ·Page -- Figures 7, 8 and 9, right?
   ·6· · · ·A.· ·No, no, only.
   ·7· · · ·Q.· ·Or just 9.· Just 9, okay.
   ·8· · · ·A.· ·Right.· So approximately -- what you show
   ·9· ·on the screen now approximately replicates what is
   10· ·contained in figure 9, and I'm not sure if what
   11· ·you're showing me is the -- is the higher
   12· ·resolution version of this or the lower resolution.
   13· ·I'm not sure as I sit here.· It would take some
   14· ·analysis to look at the actual file, but keep in
   15· ·mind that there is a version that has about four
   16· ·times the number of frames per second.· I'm not
   17· ·sure which version you have.
   18· · · ·Q.· ·That's fair.· You say in your report that
   19· ·at approximately 15 seconds past the start of the
   20· ·video, a flame jet was visible near the exterior of
   21· ·the southwest corner of the tool crib.· What do you
   22· ·mean by flame jet?
   23· · · ·A.· ·I'm talking about a canister of some
   24· ·material that is venting and is on fire.
   25· · · ·Q.· ·Got it, okay.· What causes a flame jet?

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   ·1· · · ·A.· ·Well, you can -- I mean, using the term
   ·2· ·loosely, there's a lot of things that cause a flame
   ·3· ·jet, but using it relative to a pressurized
   ·4· ·container is when the flammable material in the
   ·5· ·container vents and is ignited --
   ·6· · · ·Q.· ·Is it --
   ·7· · · ·A.· ·-- and it's no different than -- I don't
   ·8· ·know if you've ever seen a kid take a lighter and
   ·9· ·ignite some propellant, for whatever reason.· I've
   10· ·seen -- I've seen that happen in videos before, so
   11· ·you can certainly -- it's a pressurized release in
   12· ·the presence of a flame that causes the material
   13· ·that's leaving the canister to ignite.
   14· · · ·Q.· ·When a canister like this, like we see in
   15· ·this photograph has this flame jet sensation, is it
   16· ·possible that that flame jet can spread the fire to
   17· ·other locations?
   18· · · · · · MR. BARTON:· Objection.· Vague.· Calls for
   19· ·speculation.· And previously asked and answered.
   20· ·Go ahead.
   21· · · ·A.· ·It depends.· In some instances, the flame
   22· ·jet, because there's no other easily flammable
   23· ·materials, it's just going to burn out.· It depends
   24· ·on what other materials are present when that
   25· ·occurs.

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   ·1· · · ·Q.· ·(By Mr. Lesnick) All right.· I'm going to
   ·2· ·go to Page 20 of your report.· I'll scroll down to
   ·3· ·Page 20.· We talked about Page 19 a bit here,
   ·4· ·right -- and actually, let me just ask you quickly
   ·5· ·here.· You've talked about this section at the top,
   ·6· ·"Determination of the origin of fire involved these
   ·7· ·topics here," right?· And this comes from NFPA-921;
   ·8· ·is that correct?
   ·9· · · ·A.· ·Yes, the 2021 edition.
   10· · · ·Q.· ·Right, okay.· All right.· As I scroll down
   11· ·to area of origin data evaluation, you say here,
   12· ·"One of the witnesses" -- "None of the witnesses,"
   13· ·I apologize, "reported seeing fire anywhere else."
   14· ·We talked about Derek Null's testimony a bit,
   15· ·correct --
   16· · · ·A.· ·We talked about --
   17· · · ·Q.· ·-- is that a more accurate statement?
   18· · · ·A.· ·We talked about what he's sure of and not
   19· ·sure of, correct.
   20· · · ·Q.· ·Okay.· Right.· So is there a reason why
   21· ·you didn't add in that he may have seen fire in the
   22· ·inside of the tool crib in this section here?
   23· · · ·A.· ·I did include that in my report earlier
   24· ·where I said he may have.· I said he's not sure,
   25· ·you know, let's go back and look at exactly what I

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   ·1· ·wrote down because that's apparently what you want
   ·2· ·to quote, so let's go back and see what he said.
   ·3· · · ·Q.· ·We're on the page here, on Page 20, right?
   ·4· ·And you say here, "One of the witnesses mentioned
   ·5· ·seeing fire inside the tool crib, but was not
   ·6· ·certain."· Are you discussing Derek Null right
   ·7· ·there?
   ·8· · · ·A.· ·I am, yes.
   ·9· · · ·Q.· ·Okay.· You say in the next paragraph, you
   10· ·discuss again the contrast between Shaffer's
   11· ·testimony and other witnesses indicating the stored
   12· ·materials were present on the north of the tool
   13· ·crib and not the south of the tool crib.· Did any
   14· ·witness say there was not stored material where Mr.
   15· ·Shaffer said there was?
   16· · · ·A.· ·The video does not show any stored
   17· ·material there.· You can see the outline of the --
   18· ·you can see the outline of the bench and, you know,
   19· ·that that area was stacked with boxes, you wouldn't
   20· ·be able to see the outline of that bench, so from
   21· ·that perspective, yeah, I think the video, the
   22· ·information contained in that video, which is like
   23· ·having an another witness to the fire, certainly
   24· ·would help us with that assessment.
   25· · · ·Q.· ·No, I appreciate that's like having

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   ·1· ·another witness to the fire.· I totally understand
   ·2· ·it's a video, like eyes, but I'm asking if any of
   ·3· ·the witnesses that were deposed, if any of them
   ·4· ·said that there was not material stored in that
   ·5· ·location that Mr. Shaffer said there was material
   ·6· ·stored?
   ·7· · · ·A.· ·Again, I don't remember the details of
   ·8· ·every deposition.· I don't specifically remember
   ·9· ·that, whether it was there or not.· I don't know.
   10· · · ·Q.· ·You go on to say here in this next
   11· ·paragraph, "Of the six witnesses, Shaffer's
   12· ·description of the fire indicated that he observed
   13· ·the fire in a very early stage."· Very early stage
   14· ·seems like a term of art.· I don't know if there
   15· ·wasn't a better way to describe it or not, but what
   16· ·do you mean by very early stage?
   17· · · ·A.· ·Well, his description of the fire, as you
   18· ·recall, is one foot wide by one to two feet high
   19· ·compared to others who report the fire being as
   20· ·high as and beyond the height of the fire cabinets,
   21· ·for example, so his observation is that of a much
   22· ·earlier state than the other witnesses, so it's a
   23· ·very early stage to the point we see it starting is
   24· ·fire on top of those boxes.
   25· · · ·Q.· ·In your opinion, did you conclude that Mr.

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   ·1· ·Shaffer did not actually see fire in the location
   ·2· ·he testified to seeing fire?
   ·3· · · · · · MR. BARTON:· Objection.· Vague and
   ·4· ·compound.
   ·5· · · ·A.· ·Well, he saw what he saw and he testified
   ·6· ·the way he testified about what he saw.· But I
   ·7· ·think his -- his observations don't match some of
   ·8· ·the physical data that we have, including the video
   ·9· ·and including where the material -- where the
   10· ·physical evidence showed those materials were
   11· ·stored.
   12· · · ·Q.· ·(By Mr. Lesnick) You put more weight into
   13· ·the physical data than into his testimony is what
   14· ·you're saying?
   15· · · ·A.· ·I'm not putting more weight on either of
   16· ·them.· I'm balancing the two, which is what the
   17· ·scientific method requires you to do is to balance
   18· ·out the witness testimony and the physical evidence
   19· ·together.
   20· · · ·Q.· ·In this last -- second to last paragraph,
   21· ·you say, "It is clear that the early portion of the
   22· ·video does not show any fire at the southeast
   23· ·exterior of the corner -- exterior corner of the
   24· ·tool crib."· You believe that later portions of the
   25· ·video show that, right?

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   ·1· · · ·A.· ·Well, I referred -- again I refer to that
   ·2· ·flame jet that appears to be a pressurized
   ·3· ·container releasing pressure under fire, and so at
   ·4· ·that point in time, there is something burning at
   ·5· ·that southeast corner, but prior to that --
   ·6· · · ·Q.· ·You say --
   ·7· · · ·A.· ·-- prior to that flame jet occurring,
   ·8· ·there is no fire at that southeast corner.
   ·9· · · ·Q.· ·Okay.· I want to make sure when you say
   10· ·southeast corner, are you talking about the area --
   11· ·the entire area south of the tool crib door?
   12· · · ·A.· ·No, I said the southeast corner, the
   13· ·southeast corner.
   14· · · ·Q.· ·How many --
   15· · · ·A.· ·So you can --
   16· · · ·Q.· ·How many feet along the eastern wall
   17· ·encapsulates the southeast corner?
   18· · · · · · MR. BARTON:· Object to form.· I'm not sure
   19· ·I'm following that.
   20· · · · · · THE WITNESS:· I'm trying to understand
   21· ·what he's saying.
   22· · · · · · MR. BARTON:· Yeah, Ben, can you rephrase?
   23· · · · · · MR. LESNICK:· Yes.
   24· · · ·Q.· ·(By Mr. Lesnick) You said southeast
   25· ·corner, I'm trying to get the -- what the

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   ·1· ·dimensions of the southeast corner mean.· Does it
   ·2· ·mean the area between, just for example, the tool
   ·3· ·crib door and the south portion of the east wall
   ·4· ·all the way to the corner, is that part of the
   ·5· ·southeast corner?
   ·6· · · ·A.· ·Let's go back and talk about the video and
   ·7· ·what we talked about earlier.· We can see in the
   ·8· ·video the out -- I can see in the video and I've
   ·9· ·outlined location of the eight-foot table, and
   10· ·during portions of that video, the early portions
   11· ·of that video, most of that table with the
   12· ·exception of the very north end had no fire going
   13· ·on anywhere around the table, and so from -- if we
   14· ·call the exact southeast corner reference point
   15· ·zero and when we say that door, that door of the
   16· ·tool crib is about center, right?· So it's about
   17· ·center, so we've got a foot and a half of that door
   18· ·that's on the south half, right?· So that leaves us
   19· ·with -- that leaves us with 10 and a half feet,
   20· ·eight of that is the table, and so we can -- the
   21· ·only place we see fire is at the north end of that
   22· ·table, maybe the first two feet, the north two feet
   23· ·of that table had fire, so there was about six
   24· ·feet, and I can't tell exactly if the table was
   25· ·lined up with the south exterior wall or not or if

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   ·1· ·it's inset a little bit, but we know at least six
   ·2· ·feet of that has no fire in it.
   ·3· · · ·Q.· ·Okay.· So when you say southeast corner,
   ·4· ·that's the area you're referring to, right?
   ·5· ·Without, that you didn't see fire?
   ·6· · · ·A.· ·I don't see fire at that southeast corner,
   ·7· ·right.
   ·8· · · ·Q.· ·You say here, "The view angle of the video
   ·9· ·did not show the entire north wall area between the
   10· ·tool crib wall and the overhead Number 2 door."
   11· ·Can you see any of the north wall between that
   12· ·location in the video?
   13· · · ·A.· ·Well, I'm talking about angle, so the
   14· ·angle of the video, we can't tell what's going on
   15· ·beyond the right door frame of the break room door.
   16· · · ·Q.· ·Right.· But you know, it says here, "The
   17· ·view of the angle of the video does not show the
   18· ·entire north wall between the tool crib wall and
   19· ·the overhead door Number 2," which would insinuate
   20· ·some of the north wall is seen in the video in that
   21· ·location, and I'm asking you, do you see any of
   22· ·the -- I didn't see any of the north wall in
   23· ·between the tool crib wall and the overhead door
   24· ·Number 2, so if you can point me to where in the
   25· ·video we see some of that wall, I can -- that's

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   ·1· ·what I'm trying to figure out is where do you view
   ·2· ·that?
   ·3· · · ·A.· ·So because there is -- because there's a
   ·4· ·large volume of fire at the time of this video, we
   ·5· ·can't physically see the wall, but there are
   ·6· ·portions of the video where the -- where the angle
   ·7· ·is taking -- taken with the viewpoint further to
   ·8· ·the left of the break room door and he moves a
   ·9· ·little bit to the right, then he moves a little bit
   10· ·left, so he moves back and forth changing the view,
   11· ·so I would expect that at portions of that, that
   12· ·you would be able to see that north corner where
   13· ·the -- where the crib, exterior wall of the crib
   14· ·meets that north wall, however, because of the
   15· ·volume of fire, all you can see is fire.
   16· · · ·Q.· ·In the video, there's a lot of smoke and
   17· ·fire and flame directionally going over the top of
   18· ·the tool crib; is that correct?
   19· · · ·A.· ·It's lapping up over the top of the tool
   20· ·crib, that's correct.
   21· · · ·Q.· ·Okay.· If there was a fire inside of
   22· ·the tool -- what was the tool crib made of?
   23· · · ·A.· ·Well, from witness testimony and from some
   24· ·of the physical evidence, we know that it was a
   25· ·wood framed wall that had an exterior covering of

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   ·1· ·some wood material.· Some of that material was
   ·2· ·particle board.· I'm not saying all of it was
   ·3· ·particle board, but some of the exterior was either
   ·4· ·particle board or plywood material based on the
   ·5· ·testimony and based on the physical evidence.
   ·6· · · ·Q.· ·There's a ceiling on the tool crib, right?
   ·7· · · ·A.· ·There is, and the north wall is the
   ·8· ·concrete block wall, so we've got three walls that
   ·9· ·are wood frame with a wood, 2x4 wood sill plate,
   10· ·and then we've got an exterior covering of wood
   11· ·material that enclosed the walls and then it had a
   12· ·ceiling.
   13· · · ·Q.· ·Did the wall go all the way down to the
   14· ·floor?
   15· · · ·A.· ·Yes.
   16· · · ·Q.· ·And the only opening to get into the tool
   17· ·crib was the door, correct?
   18· · · ·A.· ·That's my understanding, yes.
   19· · · ·Q.· ·And the top of the tool crib, that was a,
   20· ·I think you said, heavy gauged wire, correct?
   21· · · ·A.· ·The tool crib door?
   22· · · ·Q.· ·Yes, the tool crib door.· Apologies.· Yes.
   23· · · ·A.· ·The tool crib door was -- had a metal
   24· ·frame and had a heavy gauged wire mesh and
   25· ·depending --

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   ·1· · · ·Q.· ·Was the --
   ·2· · · ·A.· ·And depending on what testimony you look
   ·3· ·at, it may or may not have a wood covering over the
   ·4· ·bottom half of the door.
   ·5· · · ·Q.· ·If there was a fire inside of the tool
   ·6· ·crib, how would the smoke escape from the tool
   ·7· ·crib?
   ·8· · · · · · MR. BARTON:· Object to form.· Vague.
   ·9· ·Calls for speculation.· Go ahead.
   10· · · ·A.· ·What fire are you talking about?
   11· · · ·Q.· ·(By Mr. Lesnick) I'm asking, if there was
   12· ·a fire inside that tool crib that's enclosed and
   13· ·four walls on the sides going all the way down.
   14· ·There's a ceiling on the top, isn't it true the
   15· ·only place for the smoke to vent out of that tool
   16· ·crib or the biggest place for the smoke to vent out
   17· ·of that tool crib would be the metal gauged door?
   18· · · · · · MR. BARTON:· Object to form.· Improper
   19· ·hypothetical.· Assumes facts not in evidence.
   20· ·Contradicts facts in evidence.· Calls for
   21· ·speculation.· Go ahead if you know.
   22· · · ·A.· ·It depends is my answer.· It depends.
   23· · · ·Q.· ·(By Mr. Lesnick) In a fire in a home, if a
   24· ·window is open, does smoke ventilate out of the
   25· ·window?

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   ·1· · · · · · MR. BARTON:· Objection.· Improper
   ·2· ·hypothetical.· Go ahead.
   ·3· · · ·A.· ·It depends.
   ·4· · · ·Q.· ·(By Mr. Lesnick) So there would be a
   ·5· ·situation potentially where it wouldn't ventilate
   ·6· ·out of a window?
   ·7· · · · · · MR. BARTON:· Same objections.· Calls for
   ·8· ·speculation.· Improper hypothetical.· Go ahead.
   ·9· · · ·A.· ·It depends.
   10· · · ·Q.· ·(By Mr. Lesnick) Okay.· So when we see the
   11· ·smoke in the video and the flames in the video, you
   12· ·don't believe that any of that fire is coming out
   13· ·of the top of the door of the tool crib, do you?
   14· · · ·A.· ·I see no evidence of that.
   15· · · ·Q.· ·Okay.· On Page 21, the section called fire
   16· ·patterns, I think this is part of the NFPA-921
   17· ·investigation discussion we talked about before,
   18· ·correct?
   19· · · ·A.· ·Well, this is not 921.· This is my
   20· ·applying the scientific method to the facts of this
   21· ·case.
   22· · · ·Q.· ·Right.· But that's fire patterns is
   23· ·supposed to be considered under 921 fire
   24· ·investigation, right?
   25· · · ·A.· ·There -- that is one data point.

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   ·1· · · ·Q.· ·Right.· That's one data point, and you say
   ·2· ·at the end of Paragraph 1, "Burn pattern analysis
   ·3· ·provided no reliable indication of the area of
   ·4· ·origin."· Did you review Mr. Atkins' report?
   ·5· · · ·A.· ·I did.
   ·6· · · ·Q.· ·Did you read any of the sections where he
   ·7· ·discussed burn patterns in his report?
   ·8· · · ·A.· ·I did.
   ·9· · · ·Q.· ·Okay.· And do you agree with his ability
   10· ·to conclude that there was evidence of burn
   11· ·patterns in his report?
   12· · · · · · MR. BARTON:· Objection.· Vague and
   13· ·compound.· Go ahead.
   14· · · ·A.· ·I'm going to review a copy of the report
   15· ·real quick.
   16· · · · · · THE WITNESS:· Do you have a copy?
   17· · · · · · MR. LESNICK:· Is your attorney providing
   18· ·you information for you to review right now?
   19· · · · · · THE WITNESS:· No, I asked him for a copy
   20· ·of the report.· Do you want to provide a copy of
   21· ·his report for me so I can review it?
   22· · · · · · MR. BARTON:· I don't mind having you do
   23· ·it, Ben.
   24· · · ·A.· ·If you want to provide the report, I'm not
   25· ·going to answer that question without looking at

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   ·1· ·what he says in his report.· I don't recall the
   ·2· ·details of everything in his report as I sit here.
   ·3· · · ·Q.· ·(By Mr. Lesnick) If you don't recall -- if
   ·4· ·you don't recall, I mean, that's the answer.
   ·5· ·That's what I was asking.
   ·6· · · · · · MR. BARTON:· If you --
   ·7· · · ·Q.· ·(By Mr. Lesnick) If you don't know, we can
   ·8· ·move on.
   ·9· · · ·A.· ·Well, here's what I do recall.· I recall
   10· ·him talking about making an issue out of one
   11· ·pattern he sees.· The one pattern I recall him
   12· ·talking about is a pattern on a file cabinet.
   13· ·We're talking about a pattern that's documented
   14· ·weeks after this fire occurred, after this evidence
   15· ·has been sitting out in the weather, and so we've
   16· ·got a metal file cabinet that has an oxidation
   17· ·pattern that he's trying to elude to as being a
   18· ·directional burn pattern that could have originated
   19· ·only in one place and that's at the desk, which is
   20· ·a false statement.· First of all, if, in fact, that
   21· ·pattern is a valid fire pattern, I don't believe it
   22· ·is, but if, in fact, it is a valid pattern that
   23· ·needs to be considered, then that pattern does
   24· ·nothing more than tell us we have a fire moving
   25· ·from east to west.· That doesn't stop us -- because

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   ·1· ·we're talking about one pattern here.· It doesn't
   ·2· ·stop us at the desk.· It tells us we've got a fire
   ·3· ·that's moving from east to west, including a fire
   ·4· ·that could have and did originate outside the tool
   ·5· ·crib and burn into the tool crib and create the
   ·6· ·same pattern, so any pattern that's there that's
   ·7· ·showing a pattern from east to west could be on
   ·8· ·either side of that tool crib wall or even further
   ·9· ·east of the tool crib and have their same net
   10· ·results, because what you're talking about is total
   11· ·consumption of nearly all combustible materials
   12· ·that were in that area, and when that happens, it's
   13· ·not going to be an origin pattern, it's going to be
   14· ·a fuel load pattern, and once you collapse the
   15· ·structure and metal panels on top of it, and let
   16· ·those burn underneath the steel, any pattern that
   17· ·was there is going to be obliterated by that
   18· ·continuing to burn while they try to get the
   19· ·pressure water under the steel case.
   20· · · ·Q.· ·Under fire dynamics, you talk about fuel
   21· ·sources present in this area and that's the area of
   22· ·all the other witnesses, where they observed fire,
   23· ·correct?· Not where Mr. Shaffer said he observed
   24· ·fire?
   25· · · · · · MR. BARTON:· Object to the extent it

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   ·1· ·misstates the report.· Go ahead.
   ·2· · · ·A.· ·So I'm listing out what -- it's a listing
   ·3· ·of fuel load packages that were stored north of the
   ·4· ·tool crib door based on census prepared by Midwest
   ·5· ·and based on deposition testimony and based on the
   ·6· ·physical evidence after the fact that shows that we
   ·7· ·had boxes stored in that area, so it's a
   ·8· ·combination of -- it's a combination of all that
   ·9· ·information, you know, when they did the dig-out,
   10· ·you could see that we had rolls of tape still
   11· ·sitting in that north corner formed by the east
   12· ·tool crib door and the north wall of the plant.
   13· ·You can see that we had --
   14· · · ·Q.· ·So this doesn't --
   15· · · ·A.· ·Go ahead.
   16· · · ·Q.· ·Sorry.· So this doesn't include anywhere
   17· ·south of the tool crib door is what you're
   18· ·describing, though, right?
   19· · · ·A.· ·I'm not sure what your question is.
   20· · · ·Q.· ·You say the fuel source is present in this
   21· ·area, right?· I'm just clarifying, this area means
   22· ·north of the tool crib door, not south of the tool
   23· ·crib door, right?
   24· · · ·A.· ·We have no physical evidence or video
   25· ·evidence that material was south of the tool crib

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   ·1· ·door.· The only person that had anything to say
   ·2· ·about storage on the south side was Mr. Shaffer.
   ·3· · · ·Q.· ·Okay.· You say in the last paragraph on
   ·4· ·Page 21, "Following the fire, very little
   ·5· ·combustible materials remained in the area where
   ·6· ·the fire was first witnessed."· You say very little
   ·7· ·combustible materials, what combustible materials
   ·8· ·did remain in that area?
   ·9· · · ·A.· ·Well, you had some along that east wall of
   10· ·the tool crib.· We have evidence of some rolls of
   11· ·tape that were still present.· We had some solvent
   12· ·containers.· I think there were brake cleaner
   13· ·containers that had paper labels on them.· We had
   14· ·the base plate, the sill plate of the tool crib
   15· ·wall that was still present, and in some areas on
   16· ·the east wall, you could see the wood material
   17· ·attached to that base plate on the exterior of the
   18· ·wall.
   19· · · ·Q.· ·Okay.· You say the fire damaged remains of
   20· ·several containers believed to be glue pods were in
   21· ·the debris in front of the fire cabinets.· Remnants
   22· ·of brake cleaner containers were observed in the
   23· ·corner formed by the east wall of the tool crib."
   24· ·Then you say, "Additionally, numerous aerosol
   25· ·containers in degraded condition were present in

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   ·1· ·that area."· You're talking about the corner formed
   ·2· ·by the east wall and the north wall, correct?
   ·3· · · ·A.· ·I believe that's correct, yes.
   ·4· · · ·Q.· ·Page 22, we have area of origin hypothesis
   ·5· ·evaluation.· Are these the three hypotheses that
   ·6· ·you formed in this case?
   ·7· · · ·A.· ·Yes.
   ·8· · · ·Q.· ·Did you form any other hypotheses other
   ·9· ·than these three hypotheses?
   10· · · ·A.· ·Relative to the area of origin, no, these
   11· ·are the three.
   12· · · ·Q.· ·Okay.· For hypothesis 1, why did you
   13· ·hypothesize that the area of origin was inside of
   14· ·the tool crib?
   15· · · ·A.· ·It's a hypothesis that needs to be
   16· ·considered and evaluated.
   17· · · ·Q.· ·Why did it need to be considered and
   18· ·evaluated?
   19· · · ·A.· ·Fair question.· Well, first of all, the
   20· ·plate, it's the plaintiff's experts' opinion, so it
   21· ·needed to be evaluated from that perspective.· Mr.
   22· ·Hackett's opinion that the fire was inside the tool
   23· ·crib, and so that needed to be evaluated to see is
   24· ·it true against the data?· When you compare it
   25· ·against the data, that hypothesis is easily

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   ·1· ·excluded.
   ·2· · · ·Q.· ·This wasn't a hypothesis you came up with
   ·3· ·then?· It sounds like this was something you came
   ·4· ·up with because somebody else did?
   ·5· · · ·A.· ·No, it's a hypothesis that I include in my
   ·6· ·analysis here.· What a reasonable hypotheses is
   ·7· ·based on everything we know about this fire.
   ·8· · · ·Q.· ·So this was reasonable to hypothesize
   ·9· ·based off everything you knew about the fire?
   10· · · ·A.· ·It's certainly something you would want to
   11· ·consider, yeah.· It's reasonable to include it as a
   12· ·hypothesis, but it's certainly not reasonable to
   13· ·conclude that the hypothesis should be selected
   14· ·based on the available data.
   15· · · ·Q.· ·Bullet Point 3 says, "Larry Shaffer
   16· ·reported seeing a glow on the ceiling as he walked
   17· ·from the rear of the plant toward the east.· The
   18· ·tool crib had a solid ceiling and the fire was
   19· ·initially observed to be a small fire.· The glow of
   20· ·a small fire inside the tool crib would not create
   21· ·a glow in the ceiling."· With regard to that, did
   22· ·Mr. Shaffer ever testify whether he was able to see
   23· ·the -- whether the wall behind the boxes where he
   24· ·saw fire was on fire, do you know?
   25· · · ·A.· ·Again, consistent with what I've said all

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   ·1· ·day, I don't remember every detail of every
   ·2· ·deposition as I sit here.· I don't remember him
   ·3· ·saying that.· But I don't -- again, the position of
   ·4· ·those boxes is called into question based on the
   ·5· ·totality of the evidence and the physical evidence
   ·6· ·would suggest that there were no boxes stored there
   ·7· ·and the video of the fire would suggest that there
   ·8· ·were no boxes there.
   ·9· · · ·Q.· ·Okay.· So the answer to my question was
   10· ·you don't remember if he testified to that,
   11· ·correct?
   12· · · ·A.· ·I don't remember his -- every detail of
   13· ·his testimony as I sit here.· We certainly can go
   14· ·through it if you'd like to.
   15· · · ·Q.· ·This hypothesis, it says witness in the
   16· ·first bullet point, says witness in the second
   17· ·bullet point, you say Larry Shaffer's witness
   18· ·testimony in the third bullet point, Gary Horton's
   19· ·witness testimony in the fourth bullet point.· Was
   20· ·there any physical evidence other than witness
   21· ·testimony that you relied on to exclude hypotheses
   22· ·Number 1?
   23· · · · · · MR. BARTON:· Objection.· Vague.· Go ahead.
   24· · · ·A.· ·I took the totality of all of the evidence
   25· ·into consideration.

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   ·1· · · ·Q.· ·(By Mr. Lesnick) Okay.· So these four
   ·2· ·bullet points aren't a complete summation of why
   ·3· ·you excluded it, they're just some of the reasons
   ·4· ·why?
   ·5· · · ·A.· ·Let me think about that for a minute.· I'm
   ·6· ·trying to think if there's anything else and I
   ·7· ·can't think of anything else, you know, knowing the
   ·8· ·construction details of what was there and
   ·9· ·comparing that against some of the other issues
   10· ·that we have, you know, for example, you know,
   11· ·knowing the details of construction of the tool
   12· ·crib factor into that because certainly --
   13· ·certainly an OSB wall is not going to sustain shape
   14· ·and form very long when there's a fire burning
   15· ·inside, so it's really considering all of the data
   16· ·including the construction of that tool crib.
   17· · · ·Q.· ·Hypothesis 2, origin outside the tool crib
   18· ·south of the tool crib door.· Why did you create
   19· ·this hypothesis?
   20· · · ·A.· ·Because Mr. Shaffer's testimony where
   21· ·he -- that's where he's pointing to seeing the
   22· ·fire, but again, we've discussed ad nauseam why I
   23· ·don't believe that's true.
   24· · · ·Q.· ·Hypothesis 3 is origin north of the tool
   25· ·crib door in the corner formed by the east tool

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   ·1· ·crib and the north wall of the plant.· You had a
   ·2· ·drawing in your report, which page is that?· On
   ·3· ·Page 24, is that the area you're referring to here
   ·4· ·when you say the corner formed by the east tool
   ·5· ·crib wall and the north wall of the plant, that
   ·6· ·highlighted area on Page 24, the top picture?
   ·7· · · ·A.· ·The yellow box, right.
   ·8· · · ·Q.· ·Yeah, the yellow box.· That's what you're
   ·9· ·talking about?
   10· · · ·A.· ·Yes, the not-to-scale sketch, right.
   11· · · ·Q.· ·Okay.· In this -- let me go to that figure
   12· ·10 real quickly on Page 24.· Where would the door
   13· ·for the tool crib fit in on this sketch?· Let me
   14· ·ask it differently.· Would it be in -- sorry.                            I
   15· ·apologize.· Would it be within the yellow
   16· ·highlighted area or on the outside of it?
   17· · · ·A.· ·It would probably overlap the south end of
   18· ·that highlighted area.
   19· · · ·Q.· ·So it would be within the yellow
   20· ·highlighted area?
   21· · · · · · MR. BARTON:· Object to form.· Misstates
   22· ·his testimony and the diagram.· Go ahead.
   23· · · ·A.· ·It would be roughly centered -- again
   24· ·that's what all the testimony is, it's roughly
   25· ·centered on the east wall of the tool crib wall, so

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   ·1· ·it's roughly centered north and south on that east
   ·2· ·wall of the tool crib, and it would be roughly at
   ·3· ·that -- it would straddle, I believe, that south
   ·4· ·edge of that L-shaped area, so I believe that L
   ·5· ·shape would capture part of the door.
   ·6· · · ·Q.· ·(By Mr. Lesnick) What ignition sources
   ·7· ·were located in that area that we're looking at?
   ·8· · · ·A.· ·I don't go through that analysis.· Mr.
   ·9· ·Sacco evaluated all the electrical items in that
   10· ·area, and so I'll defer to him on what electrical
   11· ·things were there, but we can talk about some of
   12· ·the other possibilities that are contained in the
   13· ·other documents that we've been discussing.· Some
   14· ·human action or inaction in that area.· We know
   15· ·we've got improperly stored flammable materials.
   16· ·We know we have Mr. -- the disgruntled --
   17· ·potentially disgruntled employee leaving out
   18· ·through that area, Tommy McGuffey, we know he's
   19· ·smoking in that area.· We know Lanny Kistler had
   20· ·been welding in that area earlier in the day.· All
   21· ·those things would need to be further vetted.                             I
   22· ·have not done that, so we have other potential
   23· ·ignition sources there, plus anything electrical
   24· ·that Mr. Sacco would have testified to.
   25· · · ·Q.· ·You're not going to testify, are you, as

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   ·1· ·to any other potential ignition sources to this
   ·2· ·fire other than what's found in your report, are
   ·3· ·you?
   ·4· · · ·A.· ·I just listed out several possibilities,
   ·5· ·but I don't go into detail to further analyze any
   ·6· ·of those.
   ·7· · · ·Q.· ·You didn't come to any causal -- any
   ·8· ·conclusions as to -- with regards to any other
   ·9· ·ignition sources, right?
   10· · · · · · MR. BARTON:· Objection.· Vague.
   11· · · ·A.· ·I just listed for you other possible
   12· ·sources of ignition that we know were present in
   13· ·that area on the day of the fire.
   14· · · ·Q.· ·(By Mr. Lesnick) And of the ones you
   15· ·listed out.· And just all of them in general,
   16· ·besides the ones listed in your report, you're not
   17· ·anticipating testifying to any of those causing the
   18· ·fire in that matter, are you?
   19· · · ·A.· ·I will not -- I will not be testifying
   20· ·that I can conclude that one of those items was
   21· ·indeed in fact the cause of this fire, that's
   22· ·correct, but that they were possible ignition
   23· ·sources that were not fully vetted or explained.
   24· · · ·Q.· ·Your Hypothesis 3 is the one that you
   25· ·determined was the correct one of your three

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   ·1· ·hypotheses in your report, correct?
   ·2· · · ·A.· ·My Hypotheses 3 was the selected
   ·3· ·hypotheses, that's correct.
   ·4· · · ·Q.· ·Fire analysis.· What's this section about?
   ·5· · · ·A.· ·I think you cut out, we only got a couple
   ·6· ·of words.
   ·7· · · ·Q.· ·Fire cause analysis, what is this section
   ·8· ·about?
   ·9· · · ·A.· ·This is about ignition sources, potential
   10· ·ignition sources and causes for the fire.
   11· · · ·Q.· ·Battery and battery-related artifacts
   12· ·evaluations, those are the only ignition sources
   13· ·you, as we discussed, fully evaluated in this
   14· ·matter, correct?
   15· · · ·A.· ·Those are the ones that I was specifically
   16· ·asked to discuss in my report, that's correct.
   17· · · ·Q.· ·Besides addressing them in your report,
   18· ·did you fully evaluate any other ignition sources?
   19· · · ·A.· ·I took them into consideration and I just
   20· ·listed for you several of those that were taken
   21· ·into consideration.
   22· · · ·Q.· ·Did you fully evaluate those taken into
   23· ·consideration?
   24· · · ·A.· ·I did not.
   25· · · · · · MR. BARTON:· Asked and answered.

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   ·1· · · ·Q.· ·(By Mr. Lesnick) In the middle of Page 27
   ·2· ·here, you provide a description of the tool crib
   ·3· ·and its contents.· If I scroll down, tool crib is
   ·4· ·constructed of this, et cetera, et cetera.· Do you
   ·5· ·know if the tool crib contained any combustible
   ·6· ·materials?
   ·7· · · ·A.· ·There were plenty of flammable materials.
   ·8· ·I don't know what you mean by combustible.· So the
   ·9· ·packaging, cardboard, all those things would be
   10· ·combustible.· The walls of the tool crib would be
   11· ·combustible.
   12· · · ·Q.· ·There was a desk in the southeast corner
   13· ·of the tool crib, correct?
   14· · · ·A.· ·That's correct.
   15· · · ·Q.· ·Do you know how far away that desk was
   16· ·from where Mr. Shaffer indicates he first saw fire
   17· ·in this matter?
   18· · · ·A.· ·It was on the opposite side of the -- it
   19· ·was on the opposite side of the east tool crib
   20· ·wall.
   21· · · ·Q.· ·Okay.· Was the wall that was between those
   22· ·two items combustible?
   23· · · ·A.· ·Yes.
   24· · · ·Q.· ·You say in the bottom of Page 27, the
   25· ·battery -- I'll skip that question.· Page 29, we're

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   ·1· ·running out of time here so I'm trying to get
   ·2· ·everything I can.· 29, there's a big heading that
   ·3· ·says fire cause hypothesis evaluation, and then
   ·4· ·there are three hypotheses listed.· Are these all
   ·5· ·the hypotheses that you came up with in this matter
   ·6· ·as far as your fire cause hypotheses evaluation
   ·7· ·went?
   ·8· · · ·A.· ·No.· So we talked about, again we talked
   ·9· ·about others that I did not fully dive into.· It
   10· ·was beyond the scope of what I was asked to write a
   11· ·report on, but these are the three related to the
   12· ·subject matter of a battery or battery-powered
   13· ·tools and equipment.
   14· · · ·Q.· ·So the reason you focused on battery
   15· ·chargers, thermal run-away and internal battery
   16· ·results of an ignition is because you were told to?
   17· · · ·A.· ·No, not because I was told to.· It's what
   18· ·they -- it's what I was asked to address.· So they
   19· ·didn't give me any hypotheses.· I formulated a
   20· ·hypothesis on my own.· Nobody gave me hypotheses to
   21· ·evaluate.· If you go back to the scope, these are
   22· ·what I formulated in response to the scope that I
   23· ·was asked to focus on.
   24· · · ·Q.· ·Which was what role, if any, the
   25· ·battery-powered tools and related chargers and

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   ·1· ·battery had in the cause of this fire?
   ·2· · · ·A.· ·That's correct.
   ·3· · · ·Q.· ·-- limited on what you were looking at in
   ·4· ·this matter?
   ·5· · · ·A.· ·I didn't catch all that question.                           I
   ·6· ·apologize.
   ·7· · · ·Q.· ·It was limited in what you were looking
   ·8· ·at?
   ·9· · · · · · MR. BARTON:· Object to the
   10· ·characterization.
   11· · · ·A.· ·Again, the scope, it's the general scope
   12· ·that I was asked to address and to get there
   13· ·requires a lot of other data analysis and I did
   14· ·conduct all that other analysis.
   15· · · ·Q.· ·(By Mr. Lesnick) Why did you choose -- is
   16· ·the only reason you chose to focus on these
   17· ·ignition sources because these fit your scope that
   18· ·you were working on?
   19· · · · · · MR. BARTON:· Objection.· Vague.
   20· · · ·A.· ·I don't know what you mean by fit.· These
   21· ·are reasonable hypotheses that would need to be
   22· ·addressed if one were to consider, for example, a
   23· ·battery-powered tool having a role in causing the
   24· ·fire, so these are the ones that would need to be
   25· ·evaluated.

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   ·1· · · ·Q.· ·(By Mr. Lesnick) Your first and second
   ·2· ·hypotheses appear to exclude -- be excluded on the
   ·3· ·basis that no evidence of the ignition --
   ·4· · · ·A.· ·We lost you.
   ·5· · · · · · MR. BARTON:· Yeah, you broke up.
   ·6· · · · · · MR. LESNICK:· Can you guys hear me?
   ·7· · · · · · MR. BARTON:· We can now.
   ·8· · · · · · MR. LESNICK:· Do you want me to repeat?
   ·9· · · · · · MR. BARTON:· Yes.· You're coming in and
   10· ·out right now, Ben.· I'm not sure what changed.
   11· · · · · · MR. LESNICK:· I don't know what changed,
   12· ·but of course, it's something.· Can you hear me
   13· ·now?
   14· · · · · · MR. BARTON:· Yes, yes.
   15· · · ·A.· ·Yes.
   16· · · ·Q.· ·(By Mr. Lesnick) Okay.· Your first and
   17· ·second hypotheses both appear to be excluded on the
   18· ·basis that no evidence of the ignition source in
   19· ·your hypotheses were found in your area of origin.
   20· ·Is that not a correct characterization of what
   21· ·happened there?
   22· · · ·A.· ·No, I would say that's short-sighting
   23· ·what's stated there.· For example, in hypothesis 1,
   24· ·we had the video, which shows no fire near the
   25· ·southeast corner of the tool crib door, so you're

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   ·1· ·kind of short-sighting what I'm stating there.
   ·2· ·There is no fire near the southeast corner of the
   ·3· ·tool crib.
   ·4· · · ·Q.· ·If your potential ignition source is found
   ·5· ·outside of your area of origin, can it still be
   ·6· ·considered an ignition source?
   ·7· · · ·A.· ·It depends.
   ·8· · · ·Q.· ·And Hypotheses 3, scroll down here, which
   ·9· ·is thermal runway -- thermal run-away internal to a
   10· ·battery resulting in ignition of combustible
   11· ·materials remote from the battery location.· In
   12· ·bullet 2 -- I'm sorry.· Bullet 3 you say the
   13· ·first -- where is that?· Here we go.· The first
   14· ·person to observe the fire condition was Larry
   15· ·Shaffer and Mr. Shaffer first observed the glow on
   16· ·the ceiling and observed the small --
   17· · · · · · MR. BARTON:· You broke up.
   18· · · · · · MR. LESNICK:· Can you hear me?
   19· · · · · · MR. BARTON:· We can now.
   20· · · · · · MR. LESNICK:· I don't know what keeps
   21· ·happening.
   22· · · · · · MR. BARTON:· Ben, is this a good time for
   23· ·a five-minute break because I think you're getting
   24· ·a little technical issue here?
   25· · · · · · MR. LESNICK:· I guess, but I'm running out

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   ·1· ·of time.
   ·2· · · · · · THE WITNESS:· We lost him again.
   ·3· · · · · · MR. BARTON:· We lost you.
   ·4· · · · · · MR. LESNICK:· I prefer not to because I
   ·5· ·think we're running out of time here.
   ·6· · · · · · MR. BARTON:· We're not running out of time
   ·7· ·at all.· Whatever you want to do, that's up to you.
   ·8· ·The problem is whatever is going on on your end,
   ·9· ·we're not able to hear your questions because
   10· ·you're breaking up, so I would suggest to use it as
   11· ·an opportunity to reset it so you can moving along,
   12· ·but go ahead.
   13· · · ·A.· ·Yeah, go ahead.· What's the next question?
   14· · · ·Q.· ·(By Mr. Lesnick) Okay.· Under Hypothesis
   15· ·3, you said a battery thermal run-away event often
   16· ·includes a noticeable sound when the battery vents.
   17· · · · · · MR. BARTON:· We heard you read part of the
   18· ·statement and then it broke up.
   19· · · · · · MR. LESNICK:· All right.· Let me take two
   20· ·minutes here.· I'll reset this and see what's going
   21· ·on and we'll come back.
   22· · · · · · MR. BARTON:· Okay.
   23· · · · · · VIDEOGRAPHER:· We are off the record at
   24· ·2:37 p.m.
   25· · · · · · · · · · · · ·(Recess.)

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   ·1· · · · · · VIDEOGRAPHER:· We are back on the record
   ·2· ·at 2:43 p.m.
   ·3· · · ·Q.· ·(By Mr. Lesnick) Mr. Reagan, we were
   ·4· ·talking about Page 21 of your report under your
   ·5· ·Hypothesis 3, bullet point 3, you say, "A battery
   ·6· ·thermal run-away event often includes a noticeable
   ·7· ·sound when the battery vents."· What do you mean by
   ·8· ·noticeable sound?
   ·9· · · ·A.· ·Well, it depends on the way it vents, but
   10· ·you'll hear a hiss and sometimes a pop, some form
   11· ·of a --
   12· · · ·Q.· ·(Inaudible) -- that you have?
   13· · · ·A.· ·Again that depends on the amount of energy
   14· ·in the battery when it vents.
   15· · · ·Q.· ·You say at the bottom, "No explosion was
   16· ·heard prior to earliest fire being observed."· Are
   17· ·you saying an explosion is a noticeable sound?
   18· · · ·A.· ·An explosion is a noticeable sound, yes.
   19· · · ·Q.· ·Bullet point 4 here, you say, "Under some
   20· ·scenarios, a cell will separate from the battery
   21· ·pack and travel a few feet or until it hits some
   22· ·obstruction."· Are you talking about a cell that
   23· ·initially failed?· I'm sorry.· A cell that's in
   24· ·thermal run-away?
   25· · · ·A.· ·No, for any reason, a cell that is --

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   ·1· ·could be under fire attack or a cell that is for
   ·2· ·some reason in thermal run-away, yes.
   ·3· · · ·Q.· ·You say, "In some scenarios, it will
   ·4· ·travel a few feet or until it hits an obstruction."
   ·5· ·Can it travel more than a few feet under other
   ·6· ·scenarios?
   ·7· · · · · · MR. BARTON:· Object to form.· Improper
   ·8· ·hypothetical.· Go ahead.
   ·9· · · ·A.· ·So I've seen and documented battery travel
   10· ·10 to 15 feet, so I don't know what you mean by a
   11· ·few feet, but to me a few feet means it's going to
   12· ·travel -- a few to me is 10 to 15.· I imagine there
   13· ·are some batteries under some charge conditions can
   14· ·go further than that, but keep in mind, they are
   15· ·contained within -- first of all, they're attached
   16· ·with bussing to form a pack and then they're
   17· ·contained within a plastic housing, so it depends
   18· ·on the construction of the product that you're
   19· ·talking about also.
   20· · · ·Q.· ·You conclude on this bullet, "The
   21· ·witnesses reported seeing fire in only one
   22· ·location."· It's true that one of the witnesses
   23· ·reported seeing fire in a different location, isn't
   24· ·that correct?
   25· · · · · · MR. BARTON:· Objection.· Vague.

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   ·1· · · ·A.· ·There was a witness that reported seeing a
   ·2· ·fire at a different location, but they all saw it
   ·3· ·in one location and his location was called into
   ·4· ·question because of the lack of any evidence of
   ·5· ·stored material in that area.
   ·6· · · ·Q.· ·(By Mr. Lesnick) Bullet 5, you say, "The
   ·7· ·tool crib was cramped and congested.· Accordingly,
   ·8· ·it was difficult to move around.· Several
   ·9· ·obstructions existed between the reported location
   10· ·of the batteries and the area of origin."· What
   11· ·were the obstructions that existed?
   12· · · ·A.· ·The desk itself.· The shelving that was
   13· ·just inside the tool crib door, and then the steel
   14· ·cage construction of the tool crib door, and if the
   15· ·bottom half of the door was enclosed by wood as
   16· ·some witnesses said it was, then only the top half
   17· ·of the door would have been available as a
   18· ·passageway from the inside of the tool crib and the
   19· ·outside, and then you've got tool crib walls
   20· ·itself, which are made of, we know for sure in some
   21· ·areas OSB.
   22· · · ·Q.· ·Section 32 is analysis of plaintiff expert
   23· ·opinions and the heading on top.· What is this
   24· ·section supposed to be about?
   25· · · ·A.· ·Exactly what the title says, analysis of

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   ·1· ·the plaintiff's expert opinions.
   ·2· · · ·Q.· ·Are you discussing all of the plaintiff's
   ·3· ·expert opinions in this section?
   ·4· · · ·A.· ·I'm addressing all those that I took
   ·5· ·exception to.
   ·6· · · ·Q.· ·Correct.· So this is just those that you
   ·7· ·took exception to in this section, not those you
   ·8· ·agreed with, correct?
   ·9· · · · · · MR. BARTON:· Objection.· Vague.
   10· · · ·A.· ·I would have to read through it in its
   11· ·entirety to see if there's anything in there that I
   12· ·agree with, but these are generally the flawed
   13· ·methodology.
   14· · · ·Q.· ·(By Mr. Lesnick) Section 1, you have,
   15· ·"Hackett expert opinion review."· You discuss how
   16· ·Zimmer contradicted himself -- I see what you're
   17· ·basically saying here, the data contradicted --
   18· ·Zimmer contradicted himself in his deposition three
   19· ·years after the fire as compared to what the 911
   20· ·call reported in the Midwest report, correct?
   21· ·That's what you're discussing in this section?
   22· · · · · · MR. BARTON:· Object to form.· Misstates
   23· ·the documents, the evidence in the case and his
   24· ·report.· Go ahead.
   25· · · ·A.· ·It identifies what Mr. Hackett included

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   ·1· ·was only that to which supported his opinion, where
   ·2· ·Mr. Zimmer testified later where he saw the fire
   ·3· ·clearly was not in the tool crib, even though
   ·4· ·that's what someone transcribed on the other end of
   ·5· ·the 911 call.
   ·6· · · ·Q.· ·(By Mr. Lesnick) You believe what was
   ·7· ·transcribed was not accurate?
   ·8· · · ·A.· ·Does not accurately align with what Mr.
   ·9· ·Zimmer and all of the other witnesses stated.· No
   10· ·one testified that they saw fire -- for sure saw
   11· ·any fire inside the tool crib, and for example,
   12· ·Horton, when he was asked, "Did you see any fire
   13· ·inside the tool crib?"· "Absolutely not."
   14· · · ·Q.· ·Exhibit 2, Section 1-B, you say that, "Mr.
   15· ·Hackett's testimony indicated that the area of
   16· ·origin opinion was reached on May 14th, 2019, and
   17· ·you cite to Page 150 of his deposition."· I'm going
   18· ·to go to Page 150 of his deposition.· We're going
   19· ·to mark that as Exhibit 17.
   20· · · · · · (Plaintiff's Exhibit 17 marked for
   21· · · · · · · · · · ·identification.)
   22· · · ·Q.· ·So it says here, this is the section
   23· ·you're quoting, "As of May 14th" -- let's see here.
   24· ·"Had you already decided your area of origin by May
   25· ·14th, 2019?"· And he says, "Yes," right?· That's

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   ·1· ·the section you're quoting?
   ·2· · · ·A.· ·That's the answer I'm quoting, correct.
   ·3· · · ·Q.· ·Okay.· Do you know what his area of origin
   ·4· ·was as of that date?
   ·5· · · ·A.· ·Yeah, the next line down says -- the next
   ·6· ·question, "As of May 14th, what was the area of
   ·7· ·origin that you identified or that you decided?"
   ·8· ·Answer, Line 17, "In the tool crib area."
   ·9· · · ·Q.· ·Keep reading.
   10· · · ·A.· ·"Did that include the tool crib?"· "In and
   11· ·around the tool crib."· Again I also point out that
   12· ·Mr. Hackett's report and his testimony are
   13· ·internally inconsistent.· His report says in the
   14· ·tool crib, and then all over his report, he changes
   15· ·from inside the tool crib, outside the tool crib,
   16· ·the area of the tool crib, but in the tool crib, so
   17· ·his testimony is very unclear on his opinion.
   18· · · ·Q.· ·So the question on Line 20 is, "So it
   19· ·included inside and also included outside" and the
   20· ·answer on Line 22 is what, Mr. Reagan?· Can you
   21· ·read it for me?
   22· · · ·A.· ·"It included an area identified
   23· ·approximately 30 by 90, I believe."
   24· · · ·Q.· ·And that was the area that was gridded out
   25· ·in this matter for the investigation; is that

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   ·1· ·correct?
   ·2· · · ·A.· ·Correct.
   ·3· · · ·Q.· ·On Page 32 -- actually, give me one second
   ·4· ·here to get my questions in order.· Let me go to
   ·5· ·Page 34, Section -- make sure I have it right.
   ·6· ·B-1, I'll pull that back up for you.· You say in
   ·7· ·this section, "Several witnesses reported the fire
   ·8· ·in an early stage and described a small fire that
   ·9· ·appeared controllable."· Which witnesses are you
   10· ·describing?
   11· · · ·A.· ·I believe Whisler and one other.· I can't
   12· ·remember who it was, but I know Whisler for sure.
   13· ·He said we've got a one foot by one -- I'm sorry.
   14· ·Shaffer says we've got a one-foot wide by two-foot
   15· ·high fire, and the plant manager, Whisler, said,
   16· ·yeah, it looked controllable.· I went to get a fire
   17· ·extinguisher to try to put it out.
   18· · · ·Q.· ·With regard to Mr. Shaffer, how long after
   19· ·Mr. Shaffer first witnessed the fire did the
   20· ·canisters explode?
   21· · · ·A.· ·Well, the first explosion occurred while
   22· ·he was still there, still in that area, but moving
   23· ·away, so he saw the fire, backed up about four
   24· ·feet, is my recollection, and then that was when
   25· ·the first canister exploded.

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   ·1· · · ·Q.· ·And then after Mr. Whisler first saw the
   ·2· ·fire, when he went to go get the fire extinguisher,
   ·3· ·I believe he testified it doubled or tripled in
   ·4· ·size by the time he went to go get it.· Do you know
   ·5· ·how long it was between when he first saw it and
   ·6· ·when it doubled and tripled in size?
   ·7· · · ·A.· ·From when -- when you say he, make sure
   ·8· ·I've got the right question.· Who are you talking
   ·9· ·about?· When Whisler saw --
   10· · · ·Q.· ·Whisler.
   11· · · ·A.· ·And where did I testify -- when did I
   12· ·testify about doubling and tripling in size?
   13· · · ·Q.· ·He testified to that and I do think you
   14· ·quoted that and --
   15· · · ·A.· ·Let's me se.
   16· · · ·Q.· ·-- or at least discussed that in your
   17· ·report.
   18· · · · · · MR. BARTON:· Can you point us to it?
   19· · · · · · MR. LESNICK:· Yes, give me a second.· It's
   20· ·on your report, Page 13 under Whisler.
   21· · · ·A.· ·Right.· So there I state, this is from
   22· ·him, "The fire appeared to be manageable.· Mr.
   23· ·Whisler testified that in the early stages, he was
   24· ·thinking they could still battle the blaze.· He
   25· ·left to find a fire extinguisher.· When he

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   ·1· ·returned, the fire doubled or tripled in size."
   ·2· ·Correct.· That's what he said.· I didn't testify to
   ·3· ·that.· He did.
   ·4· · · ·Q.· ·(By Mr. Lesnick) I never said that.                           I
   ·5· ·asked you; do you know how long it was between the
   ·6· ·time when he first viewed the fire and how long it
   ·7· ·was between then and when it doubled or tripled in
   ·8· ·size.· Do you know the time?
   ·9· · · ·A.· ·Not in terms of seconds, no.
   10· · · ·Q.· ·Let me go to Page 36 of your report.
   11· ·Eskra opinion review.· This section is your issues
   12· ·with Mr. Eskra's report, correct?
   13· · · ·A.· ·Pointing out deficiencies in his analysis.
   14· · · ·Q.· ·Okay.· Section 1-B, you state, "The ETP
   15· ·report battery cell evaluation methodology is an
   16· ·approach similar to the evaluation of electrical
   17· ·arc sites on electrical conductors at fire scenes."
   18· ·What is the evaluation of electrical arc sites on
   19· ·electrical conductors that you're describing?
   20· · · ·A.· ·As we discussed a little earlier, probably
   21· ·about 9:30 this morning, there was a -- there was a
   22· ·long string of attempts to determine if an arc on a
   23· ·conductor was the cause or a result of a fire, and
   24· ·there were many hypotheses formed that were
   25· ·attempts to evaluate is this arc a cause or result

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   ·1· ·of a fire, and ultimately, every one of those
   ·2· ·hypotheses that were formed were tested and
   ·3· ·determined to ultimately be unreliable.· The same
   ·4· ·thing is true here.· We have an untested
   ·5· ·hypothesis, which is yet to be tested to be proven,
   ·6· ·similar to what was done with electrical arc beads
   ·7· ·in the nineties and late and early 2000s.
   ·8· · · ·Q.· ·That's where I was getting confused at.
   ·9· ·Are you saying the steps Mr. Eskra outlined in
   10· ·coming to his methodology that he utilized to come
   11· ·to his conclusions are literally similar to the
   12· ·steps utilized in this methodology related to arc
   13· ·mapping or are you just saying they're analogous
   14· ·because neither of them are provable?
   15· · · ·A.· ·They're analogous.· And what is analogous
   16· ·is we had -- relative to electrical arcing and
   17· ·shortages, we had untested hypotheses that when
   18· ·they were put to the test, the scientific rigors of
   19· ·testing those hypotheses, they're ultimately
   20· ·determined to be invalid, and at this point in
   21· ·time, Mr. Eskra's analogy or methodology has not
   22· ·been put through the scientific rigors of proving
   23· ·that it has any validity.· Right now it's just it
   24· ·is because he says it is.
   25· · · ·Q.· ·Section 3-B here, you talk about his

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   ·1· ·analysis.· "The ETP report and analysis skipped
   ·2· ·steps that are a part of the systematic
   ·3· ·methodology.· Appendix B stated that the
   ·4· ·investigation needs to be performed in a systematic
   ·5· ·manner.· Skipping steps could lead to erroneous
   ·6· ·conclusions."· And then some examples of the
   ·7· ·skipped steps are, you said, "The analysis did not
   ·8· ·take into account the artifact location at the fire
   ·9· ·scene."· I think this one is self-explanatory.· You
   10· ·said, "The analysis did not carefully examine the
   11· ·data from the fire scene, including the condition
   12· ·of the battery-powered tools."· What data did he
   13· ·not carefully consider from the fire scene other
   14· ·than the condition of the battery-powered tools?
   15· · · · · · MR. BARTON:· Objection to form.· Compound.
   16· ·Combines two sections.· Go ahead.
   17· · · ·A.· ·So Mr. Eskra has no idea where the
   18· ·batteries he evaluated were at the fire scene,
   19· ·whether they were in the tool crib, outside the
   20· ·tool crib.· He can't correlate -- did not correlate
   21· ·the evidence to the fire scene.
   22· · · ·Q.· ·(By Mr. Lesnick) Right.· That's what you
   23· ·say in Section A, and then Section B says, "The
   24· ·analysis did not carefully examine the data from
   25· ·the fire scene, including the condition of the

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   ·1· ·battery-powered tools," so my question is; other
   ·2· ·than him not considering to carefully examine --
   ·3· ·I'm sorry, the data from the fire scene including
   ·4· ·the condition of the battery-powered tool, what
   ·5· ·other data are you talking about when you say data?
   ·6· · · ·A.· ·So the data is, for example, we have in
   ·7· ·evidence a drill with a drill bit in the Chuck.· We
   ·8· ·looked at that photograph in my notes earlier this
   ·9· ·morning, and he did not correlate what he's saying
   10· ·about a battery being the ignition source for the
   11· ·fire to a tool that was recovered from that area,
   12· ·so if that -- you know, again, we've got two
   13· ·batteries that are reportedly in the area of the
   14· ·desk.· There were probably more than that based on
   15· ·the physical evidence, but we have two that Mr.
   16· ·Lanny Kistler says were on the desk, one in the
   17· ·charging cradle and one on the tool, so he made no
   18· ·analysis of comparing where these batteries -- what
   19· ·these batteries were attached to, including the
   20· ·drill and the charger, as part of his analysis, in
   21· ·comparing the damage between the two.· We've got a
   22· ·drill that's in pretty good shape, considering the
   23· ·condition of this building, and if that battery
   24· ·that was on that drill was the ignition source of
   25· ·that fire, I wouldn't expect that battery-powered

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   ·1· ·tool to be in the condition it was in.· If that --
   ·2· · · ·Q.· ·What type of condition would you expect it
   ·3· ·to be in?
   ·4· · · ·A.· ·I would expect it to be -- all of the
   ·5· ·combustible materials consumed, which they were
   ·6· ·not.
   ·7· · · ·Q.· ·Section 3-C stating the analysis does not
   ·8· ·address if the alleged failed battery was connected
   ·9· ·to a charger, connected to a tool or was in
   10· ·storage.· What -- why should he have considered
   11· ·whether the failed battery was connected to a
   12· ·charger?
   13· · · ·A.· ·Well, certainly based on the timing of
   14· ·when Mr. Kistler left, he leaves around noontime,
   15· ·and his indication was that he has one battery on
   16· ·the charger and one on the tool, so that we know
   17· ·from that information that the one on the tool,
   18· ·unless he just swapped them as he was leaving,
   19· ·would be in a somewhat depleted state of charge,
   20· ·and that the charged state of the one on the
   21· ·charger would be fully charged, because the charge
   22· ·time on either the BL1830 or through an 1850, which
   23· ·I think are the ones which are alleged to possibly
   24· ·be in this area, would be less than an hour, so
   25· ·those would have a full state of charge.

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   ·1· · · ·Q.· ·Why did that state -- why does the state
   ·2· ·of charge matter in this scenario, in this
   ·3· ·analysis?
   ·4· · · ·A.· ·Well, it matters in the analysis because
   ·5· ·it's going to impact the ability of -- the state of
   ·6· ·charge is going to impact the ability of it to be
   ·7· ·an ignition source.· Zero state of charge, it's no
   ·8· ·longer a potential ignition source.
   ·9· · · ·Q.· ·Is there any literature that supports what
   10· ·you're discussing about zero state of charge not
   11· ·being an ignition source?
   12· · · ·A.· ·Directly, I don't believe so, not that I
   13· ·can think of.· It would be, like, it would be
   14· ·equivalent to saying is there any literature out
   15· ·there that says that a table lamp that's turned off
   16· ·could not be an ignition source for a fire.· Well,
   17· ·if there's no energy available in it, then it
   18· ·wouldn't be an ignition source.
   19· · · ·Q.· ·How does one know that a battery is
   20· ·completely out of energy in the first place?
   21· · · ·A.· ·How would one know that?· Is that your
   22· ·question?
   23· · · ·Q.· ·Well, let me ask you differently.· It was
   24· ·a poor question.· Do batteries -- power tool
   25· ·batteries, battery packs, do they lose a complete

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   ·1· ·state of charge when they've been -- at any point?
   ·2· ·I mean, can they do that after use?
   ·3· · · · · · MR. BARTON:· Objection to the question.
   ·4· · · ·A.· ·So I don't -- I believe there's a cut-off
   ·5· ·that they're going to stop functioning, and that
   ·6· ·cut-off will be an indication to the user to let go
   ·7· ·of the trigger and put it on the charger.
   ·8· · · ·Q.· ·(By Mr. Lesnick) So it never loses --
   ·9· ·completely loses its state of charge?
   10· · · ·A.· ·It would be in a very low state of charge,
   11· ·right.
   12· · · ·Q.· ·Section D, top of Page 38, you say, "Eskra
   13· ·opinion -- the Eskra opinion that the fire at
   14· ·Forest River was most probably caused by the
   15· ·failure of Makita tool battery is not adequately
   16· ·identifying an ignition sequence, that it connected
   17· ·to the fire scene data and the witness statements."
   18· ·What do you mean by did not adequately identify an
   19· ·ignition sequence?
   20· · · ·A.· ·Well, his opinion is I can look at this
   21· ·battery and tell you this was the one -- well,
   22· ·which opinion?· So his -- at one point, he says it
   23· ·was the cause of the fire.· At other points he says
   24· ·it's the probable cause of the fire.· I have not
   25· ·seen Deposition Number 2 yet, but he says it was

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   ·1· ·most probably caused, you know, most probable, most
   ·2· ·probably caused by the failure of the Makita tool
   ·3· ·battery, so when he makes that statement, it's
   ·4· ·quoted, so it must have been quoted somewhere.· To
   ·5· ·make that statement, you would have to identify an
   ·6· ·ignition sequence, which is what 921 tells you you
   ·7· ·would need to do, so you say, okay, I've got an
   ·8· ·ignition source, what was the first material
   ·9· ·ignited and how did that fire get to be what it
   10· ·grew to be, and how does that align with the
   11· ·witness data that we have.· So in a vacuum he makes
   12· ·an analysis, I looked at the battery, I can tell
   13· ·you this one caused the fire based on these
   14· ·features, but he doesn't tie that back to anything
   15· ·else relative to the fire scene and the witness
   16· ·data.· How does that battery account for what the
   17· ·witnesses saw, so it's an incomplete -- incomplete
   18· ·evaluation.
   19· · · ·Q.· ·Page 39, Section 7-A, "The ETP report
   20· ·opinions are not supported by the available data.
   21· ·The ETP report included the allegation that the
   22· ·battery management system was designed in such a
   23· ·manner that the cell became unstable due to normal
   24· ·intended use.· The report further alleged that the
   25· ·battery management system caused damage to the

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   ·1· ·battery cell's solid electrolyte interface," and
   ·2· ·then you say, "The allegation is made without
   ·3· ·knowledge of the age, charge history, state of
   ·4· ·charge, historical use and historical potential
   ·5· ·misuse/abuse of the battery."· And then it's your
   ·6· ·testimony that he had no knowledge of the history
   ·7· ·and use of the Makita produce.· In Mr. Eskra's
   ·8· ·opinions, did the history of the product matter at
   ·9· ·all based on his understanding of the defects in
   10· ·the battery management system?
   11· · · · · · MR. BARTON:· Object to the extent it calls
   12· ·for speculation, and misstates Mr. Eskra's
   13· ·testimony.
   14· · · ·A.· ·So his testimony about the defect in the
   15· ·battery management system suggests that the battery
   16· ·can be damaged by what he alleges is a defect in
   17· ·the charging system of the battery and the battery
   18· ·management system, but he has not demonstrated that
   19· ·any of those conditions existed on the subject --
   20· ·on any of the batteries that were present at the
   21· ·Forest River plant, and so, there's a huge leap.
   22· ·He says, well, I did some testing and I believe
   23· ·that this testing causes damage.· A, he's not
   24· ·proven that that testing causes damage, and B, to
   25· ·say that that's what caused this particular battery

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   ·1· ·to be in the condition it is is made without any
   ·2· ·prior knowledge of what else has happened to that
   ·3· ·battery throughout its life, you know, if he's
   ·4· ·right that there was damage to that battery, then
   ·5· ·the user of it would have noticed some performance
   ·6· ·change in the battery and the user of the battery
   ·7· ·did not indicate any performance change in the
   ·8· ·battery and as a matter of fact, still purchases
   ·9· ·Makita products to use today, so he's not tying it
   10· ·back to anything relative to this case other than,
   11· ·"I've done some testing and I think this is what
   12· ·happens.· I've not been able to prove that that's
   13· ·what happened, but I think this is what happens and
   14· ·I think that applied to the battery in question"
   15· ·without knowing anything about the history of the
   16· ·battery in question.
   17· · · ·Q.· ·(By Mr. Lesnick) So in Part B, you say,
   18· ·"The allegation does not take into consideration
   19· ·the battery pack parts found in the tool crib
   20· ·desk."· Did you believe that those battery pack
   21· ·parts provided evidence that the tools -- that a
   22· ·cell caused a fire?
   23· · · ·A.· ·No, the battery pack parts in the tool
   24· ·crib desk certainly provide a suggestion that Mr.
   25· ·Kistler was repairing or at least disassembling

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   ·1· ·battery packs.
   ·2· · · ·Q.· ·And did he testify he did that?
   ·3· · · ·A.· ·No, he said he has done that in the past,
   ·4· ·but he didn't do it -- he hasn't done it at this
   ·5· ·facility, and yet we find in the desk drawer, we
   ·6· ·find battery component parts, for example, printed
   ·7· ·circuit boards that were loose in the drawer.
   ·8· · · ·Q.· ·You say in Section C, "The available data
   ·9· ·does not support any prior reported issue with
   10· ·battery performance."· Are you talking about
   11· ·battery performance of Mr. Kistler's Makita
   12· ·products that were located in the tool crib that he
   13· ·testified were located in the tool crib?
   14· · · ·A.· ·Correct.· Mr. Kistler did not report that
   15· ·he had any problems with that Makita tool, and if
   16· ·the battery was damaged in the manner which Mr.
   17· ·Eskra says it was, then he would have noticed
   18· ·performance problems with that product.
   19· · · ·Q.· ·Okay.· D, "The allegation is based on
   20· ·testing of Makita products that have not been
   21· ·established to be substantially similar to the
   22· ·battery that is alleged to have failed."· What
   23· ·products did he test that were not substantially
   24· ·similar to the battery that's alleged to have
   25· ·failed?

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   ·1· · · ·A.· ·This relates to the brand of the cell.
   ·2· ·His testing, I believe, was performed on Sony, Sony
   ·3· ·batteries, and he says the batteries that were in
   ·4· ·the alleged failure were made by what he refers to
   ·5· ·as Tepin, T-E-P-I-N, is what's in his testimony.
   ·6· · · ·Q.· ·Section F, "None of the batteries
   ·7· ·subjected to testing by ETP never failed."· Is that
   ·8· ·a requirement for the analysis to take a battery to
   ·9· ·failure?
   10· · · ·A.· ·If you're going to make the allegation
   11· ·that when you -- when you subject a battery to the
   12· ·testing that he subjected -- to use the testing
   13· ·that he subjected them to, if you're going to make
   14· ·the allegation that when you do that, it's going to
   15· ·cause the battery to fail, I find it interesting
   16· ·that none of the testing he performed caused the
   17· ·batteries to fail.· None of those ever resulted in
   18· ·a fire condition, so to say that this condition
   19· ·occurs and results in fires, and yet he's done this
   20· ·testing and none of them have ever failed or caught
   21· ·on fire, so there's no proof there with that
   22· ·testing that that actually is a fire ignition
   23· ·scenario.
   24· · · ·Q.· ·You say, "There's no supporting research
   25· ·referenced by Eskra that identifies damage to the

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   ·1· ·SEI layer being causal to the fire."· Did you read
   ·2· ·all the references in his report?
   ·3· · · · · · MR. BARTON:· Object to form.· Vague.
   ·4· · · ·A.· ·Yeah, I looked over his entire file
   ·5· ·materials, so if there's references in his report
   ·6· ·that were not there, I can't say I've read -- again
   ·7· ·I'd have to look at the list to answer that
   ·8· ·question, to look at all of the references and tell
   ·9· ·you which ones I did and didn't do.
   10· · · ·Q.· ·(By Mr. Lesnick) Right.· But you say you
   11· ·did because you said there's no supporting research
   12· ·referenced by Eskra that identifies damage to the
   13· ·SEI layer as being causal, so I assume that means
   14· ·you read all of the supporting research referenced
   15· ·by Dr. Eskra, right?
   16· · · ·A.· ·No.· What I'm saying there is his own
   17· ·testimony says, "No, I don't have a document to
   18· ·point to that says this."· That's his testimony
   19· ·about his research.· His own research has not
   20· ·identified one, it's just his opinion that his
   21· ·testing that he has done demonstrates damage to the
   22· ·SEI layer, and furthermore, nor has he ever
   23· ·disassembled a cell to demonstrate that that damage
   24· ·to the SEI layer exists.· Again it's a hypothesis
   25· ·that he's not tested and he can point to no

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   ·1· ·referenced research where anyone has made that
   ·2· ·connection.
   ·3· · · ·Q.· ·Mr. Eskra's report contained a number of
   ·4· ·references to research papers, correct?
   ·5· · · ·A.· ·It did.
   ·6· · · ·Q.· ·Did you read all of the research papers
   ·7· ·that he referenced?
   ·8· · · ·A.· ·I don't recall.· I would have to look at
   ·9· ·the list again, but whether I read them or not is
   10· ·not what I'm commenting on here in G.· I'm
   11· ·commenting on Mr. Eskra's own testimony -- I'm
   12· ·commenting on Mr. Eskra's own testimony about the
   13· ·research he's conducted and he says, "I have not
   14· ·found any that contain that information."
   15· · · ·Q.· ·I get that.· But your testimony is you
   16· ·don't remember if you read all of his research
   17· ·papers that he referenced?
   18· · · · · · MR. BARTON:· Misstates his testimony.
   19· · · ·A.· ·I would have to look at the list again.
   20· · · · · · MR. BARTON:· Are these the research papers
   21· ·you withheld after his deposition?
   22· · · · · · MR. LESNICK:· That's not really relevant
   23· ·to what I'm asking here.
   24· · · · · · MR. BARTON:· It is if this witness is
   25· ·supposed to read them and you withheld them from

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   ·1· ·production.· You only gave them to me after, I
   ·2· ·don't know, the second deposition.
   ·3· · · · · · MR. LESNICK:· Was there an objection
   ·4· ·there, Jon?
   ·5· · · · · · MR. BARTON:· No, I was just pointing out a
   ·6· ·fact of misconduct.
   ·7· · · · · · MR. LESNICK:· Got you.
   ·8· · · ·Q.· ·(By Mr. Lesnick) All right.· So some basic
   ·9· ·questions I want to ask you, Mr. Reagan.· What
   10· ·materials make up a lithium-ion battery cell?
   11· · · · · · MR. BARTON:· Objection.· Vague.
   12· · · ·A.· ·Are you talking about what materials are
   13· ·included in the construction of a lithium-ion
   14· ·battery or what is the general construction
   15· ·features?· I'm not clear on what your question is.
   16· · · ·Q.· ·(By Mr. Lesnick) Yeah.· What materials
   17· ·make up a lithium-ion battery cell?
   18· · · ·A.· ·Well, you've got --
   19· · · · · · MR. BARTON:· Same objection.· Vague.· Go
   20· ·ahead.
   21· · · ·A.· ·It is vague, but to try to answer so we
   22· ·can move on, you know, you've got a steel case
   23· ·that, in most cases, has a nickel coating to it.
   24· ·You've got a copper current collector with a
   25· ·coating material on it, referred to the SEI layer.

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   ·1· ·You've got an aluminum layer and it's wrapped with
   ·2· ·a separator between the two, the copper and the
   ·3· ·aluminum, and it's filled with an organic solvent.
   ·4· ·If you go to specifics, if you go to the Makita
   ·5· ·production, there are material data sheets in there
   ·6· ·that will give you specifics and percentages of
   ·7· ·each of those materials, steel, copper, the
   ·8· ·electrolyte solution and some of the other
   ·9· ·materials we just talked about.
   10· · · ·Q.· ·(By Mr. Lesnick) You know --
   11· · · ·A.· ·It varies --
   12· · · ·Q.· ·-- I'm looking at your references of
   13· ·documents back on Page 3, documents that have been
   14· ·reviewed.· You've put in here various discovery
   15· ·materials, including but not limited to the Makita
   16· ·production.· Are you talking about all the Makita
   17· ·documents that were produced in this matter and
   18· ·that's what you're referencing when you're saying
   19· ·the Makita production?
   20· · · ·A.· ·In the Makita production, there are
   21· ·material -- they used to call them MSDS, now they
   22· ·just call them material data sheets, so those data
   23· ·sheets include various percentages of the different
   24· ·materials that are included in the -- in each of
   25· ·the batteries.· It's a little bit different from

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   ·1· ·battery vendor to battery vendor, but even amongst
   ·2· ·the battery vendors, they have different -- some
   ·3· ·variations between different cell IDs, so even, for
   ·4· ·example, the Sony energy batteries cells, those
   ·5· ·cells can have different chemical make-up depending
   ·6· ·on which version you have.
   ·7· · · ·Q.· ·Lithium-ion battery cells contain a
   ·8· ·cathode, right?
   ·9· · · ·A.· ·A cathode, anode, cathode, right.
   10· · · ·Q.· ·What material are cathodes made of?
   11· · · · · · MR. BARTON:· Objection.· Vague, but go
   12· ·ahead.
   13· · · ·A.· ·Those would be aluminum sheet primarily
   14· ·with a coating on it.
   15· · · ·Q.· ·(By Mr. Lesnick) Lithium ion batteries
   16· ·contain anodes, right?
   17· · · ·A.· ·Correct.· That would be your copper sheet,
   18· ·your copper layer.
   19· · · ·Q.· ·My question would be; what material is an
   20· ·anode made of?
   21· · · ·A.· ·The copper layer with an SEI coating on
   22· ·it.
   23· · · ·Q.· ·How does a lithium-ion battery operate?
   24· · · ·A.· ·It's an energy -- it's an electrical
   25· ·energy storage device, so after it's manufactured

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   ·1· ·and assembled.· There's an additional charge put on
   ·2· ·it.· It's shipped as a cell and then it goes to a
   ·3· ·manufacturing facility where they assemble it into
   ·4· ·a battery pack with a battery management system
   ·5· ·attached.
   ·6· · · ·Q.· ·How does it provide power?· Like, how do
   ·7· ·you get power from a lithium-ion battery cell?
   ·8· · · ·A.· ·It's electric.
   ·9· · · ·Q.· ·Is there a chemical reaction that needs to
   10· ·occur or anything like that?
   11· · · ·A.· ·It's an electrical chemical reaction
   12· ·inside the cell.
   13· · · ·Q.· ·Other than copper, are there any other
   14· ·materials that an anode can be placed on?
   15· · · · · · MR. BARTON:· Objection.· Vague.
   16· · · ·A.· ·I believe, in this matter, what is
   17· ·indicated in the -- in the safety, the material
   18· ·data sheets is that they're copper anodes.
   19· · · ·Q.· ·What material are you talking about?
   20· · · ·A.· ·The Makita production.
   21· · · ·Q.· ·Did you ever -- did you ever determine if
   22· ·any -- if the cells that Mr. Eskra -- the cell that
   23· ·Mr. Eskra determined was causal was a Makita cell
   24· ·that was used in Makita power tools?· Did you ever
   25· ·come to a conclusion on that issue?

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   ·1· · · ·A.· ·The tabbing -- again there's some
   ·2· ·confusion in Mr. Eskra's file about what cell he's
   ·3· ·actually talking about.· I discuss that in my
   ·4· ·report, so if we go to that portion of the report,
   ·5· ·just to make sure we're clear, he refers to the
   ·6· ·battery as being marked 3-C.
   ·7· · · ·Q.· ·What page are you on?· Sorry.
   ·8· · · ·A.· ·Yeah, let's get there.· I'm on Page 37,
   ·9· ·Item 2, where he has Exhibit 267.· Are you with me
   10· ·on 2-A?
   11· · · ·Q.· ·Yes.· This is in answer to the -- if you
   12· ·addressed whether or not the cells were Makita
   13· ·cells, right?· Cells that would be from Makita
   14· ·power tools?
   15· · · ·A.· ·Right.· Because one of the -- one portion
   16· ·of your question says the Makita battery that Mr.
   17· ·Eskra said was the cause of this fire, and there's
   18· ·some confusion in that, in that if you look at his
   19· ·suspect cell analysis, which is Exhibit 267
   20· ·included in his file, he identifies a pair of
   21· ·batteries coming from area 3-C, and actually if you
   22· ·look at 3-C, 3-C is actually a bag that contains
   23· ·five cells, not a pair of cells, so what was
   24· ·actually scanned and attached to his 3-C analysis
   25· ·turned out to be, when we compared his imaging to

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   ·1· ·our imaging, was that that bag was actually from
   ·2· ·3-B, not from 3-C, and that battery was not -- that
   ·3· ·bag was not a bag of five cells, it was a bag of
   ·4· ·two cells, so I think there's a little confusion in
   ·5· ·there in his analysis as to which cells he's
   ·6· ·actually referring to.· However, if you look at --
   ·7· ·if you look at the tabbing on 3-D, 18, tabbing
   ·8· ·would be consistent with a Makita, with Makita
   ·9· ·battery tabbing.
   10· · · ·Q.· ·Let me ask you about SEI layers.· What is
   11· ·a solid electrolyte interface?
   12· · · ·A.· ·So it's the interface between -- so
   13· ·there's -- between the separator and between the
   14· ·layers, there's an SEI layer and that's what helps
   15· ·with the chemical reaction with the organic
   16· ·solvents.
   17· · · ·Q.· ·And what does an SEI layer do on the
   18· ·anode?
   19· · · · · · MR. BARTON:· Objection.· Vague.
   20· · · ·A.· ·It's part of the chemical make-up of the
   21· ·battery and part of the chemical process that
   22· ·occurs when you charge and discharge the battery.
   23· · · ·Q.· ·(By Mr. Lesnick) Does it have a chemical
   24· ·interaction, the SEI layer, with the anode?
   25· · · ·A.· ·It's electrical chemical reaction between

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   ·1· ·a solid --
   ·2· · · ·Q.· ·It has a similar -- does it have a similar
   ·3· ·reaction with the cathode?
   ·4· · · · · · MR. BARTON:· Were you done with your
   ·5· ·answer?
   ·6· · · ·A.· ·The two have different -- the two have
   ·7· ·different coatings on them, on the current
   ·8· ·collector.· So the aluminum current collector has a
   ·9· ·coating and the copper current collector has a
   10· ·coating.· One is graphite or carbon-based and the
   11· ·other -- I can't remember the other one, but I
   12· ·would have to look at the safety data sheets or the
   13· ·material data sheets to see what these particular
   14· ·batteries are using on different layers.
   15· · · ·Q.· ·Have you ever designed a battery cell
   16· ·before?
   17· · · ·A.· ·No.
   18· · · ·Q.· ·Have you ever designed a battery pack
   19· ·before?
   20· · · ·A.· ·No.
   21· · · ·Q.· ·Have you ever tested a battery cell to
   22· ·failure before?
   23· · · · · · MR. BARTON:· Objection.· Vague.
   24· · · ·A.· ·I'm not clear about how you would test a
   25· ·battery to failure.· So I've done some battery

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   ·1· ·testing, but I'm not sure what you mean by testing
   ·2· ·it to failure.
   ·3· · · ·Q.· ·(By Mr. Lesnick) I thought you wrote in
   ·4· ·here that Mr. Eskra had never tested a battery cell
   ·5· ·to failure before, right?· Didn't -- isn't that the
   ·6· ·words you used in your report?
   ·7· · · ·A.· ·I don't recall that.· If you want to point
   ·8· ·me to it, we can talk about it.
   ·9· · · ·Q.· ·Okay.· Where were we?· Page 38.· Page 37.
   10· ·We were just talking about how he didn't test it.
   11· ·I want to find it.· This is on Page 39, F here,
   12· ·7-F, "None of the batteries subjected -- subject to
   13· ·testing by ETP ever failed."· So in your definition
   14· ·of failed here, have you ever done similar type
   15· ·testing to get a battery to fail?
   16· · · · · · MR. BARTON:· Objection.· It confuses and
   17· ·misstates Paragraph 7-F.· Subject to that, go
   18· ·ahead.
   19· · · ·A.· ·And what I'm talking about, just so we're
   20· ·clear, when I'm talking about F is that none of the
   21· ·testing that he had done has he ever proven that
   22· ·what he says existed in the battery after he
   23· ·completes that test, in fact, exists, and that's
   24· ·what that is talking about.· And even after abusing
   25· ·these batteries during his testing, none of them

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   ·1· ·resulted in any fire condition and so, what
   ·2· ·failure, you know, where has he proven that his
   ·3· ·testing causes this damage to the SEI layer.
   ·4· · · ·Q.· ·(By Mr. Lesnick) Well, what did you mean
   ·5· ·by failed in Number F -- Letter F here?
   ·6· · · ·A.· ·Well, none of the tests -- well, none of
   ·7· ·them ever failed in a manner that he's alleging
   ·8· ·that the particular battery in this case failed.
   ·9· ·He's saying this battery after proper use sat there
   10· ·and all of a sudden became an ignition source for
   11· ·this fire.· He's abused these batteries in his lab
   12· ·and has never replicated that condition.· That's
   13· ·what I mean.
   14· · · ·Q.· ·Have you ever tested batteries to cause
   15· ·them to ignite to the point where they ignite?
   16· · · ·A.· ·By exposing them to fire, yes, certainly.
   17· · · ·Q.· ·Other than exposing them to the fire, any
   18· ·other ways that you've ever tested them to cause
   19· ·them to ignite?
   20· · · ·A.· ·I've never had -- no, I have not.
   21· · · ·Q.· ·How many different failure modes are there
   22· ·for a lithium-ion battery cell?
   23· · · · · · MR. BARTON:· Objection.· Improper
   24· ·hypothetical.· Vague.· Calls for speculation.· Go
   25· ·ahead.

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   ·1· · · ·A.· ·Yeah, there's many.· We'll leave it at
   ·2· ·that.· You can have mechanical abuse, electrical
   ·3· ·abuse, thermal abuse, any of those can lead to
   ·4· ·failure of a battery.
   ·5· · · ·Q.· ·(By Mr. Lesnick) Can you have an internal
   ·6· ·short lead to the failure of a battery?
   ·7· · · ·A.· ·Under some circumstances, I think that's a
   ·8· ·very remote -- a very remote issue, but yes, you
   ·9· ·could have that.
   10· · · ·Q.· ·How would that occur under those
   11· ·circumstances you're referencing?
   12· · · · · · MR. BARTON:· Objection.· Calls for
   13· ·speculation.· Improper hypothetical.· Go ahead.
   14· · · ·A.· ·How could that occur or how did that
   15· ·occur?· Is this a hypothetical?
   16· · · ·Q.· ·(By Mr. Lesnick) Yeah.· How could that?
   17· ·You said under certain circumstances.· So give me
   18· ·one of the circumstances you're talking about.
   19· · · · · · MR. BARTON:· Same objections.
   20· · · ·A.· ·So this is -- this particular issue is
   21· ·addressed in some context in part by the reference
   22· ·document that I included under K on Page 4, where I
   23· ·talk about the lithium-ion batteries hazard and use
   24· ·assessment, K-4, so that's addressed to some extent
   25· ·in that document where it talks about mechanical

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   ·1· ·abuse, electrical abuse, thermal abuse to
   ·2· ·batteries, and how that can cause an event.
   ·3· ·Others, and it's a very small percentage, could be
   ·4· ·manufacturing defects in the battery itself.
   ·5· · · ·Q.· ·(By Mr. Lesnick) Can an electrical short
   ·6· ·within a lithium-ion battery cause it to fail?
   ·7· · · · · · MR. BARTON:· Object to form.· Calls for
   ·8· ·speculation.· Improper hypothetical.· Go ahead.
   ·9· · · ·A.· ·An electrical short in a battery could
   10· ·cause it to go into thermal run-away, that's
   11· ·correct.· And there's a lot of ways to create that
   12· ·electrical short, including an external fire.
   13· · · ·Q.· ·(By Mr. Lesnick) I'm going to go to Page
   14· ·40 here.· These Eskra cell elimination criteria,
   15· ·E-1 through E-6, you say his causal cell criteria
   16· ·are C-1 through C-6.· Did you test E-1 through E-6
   17· ·and see C-1 and C-6 on all of the batteries you
   18· ·examined in this matter?
   19· · · ·A.· ·I'm not clear on what you mean by that.                             I
   20· ·don't understand your question.
   21· · · ·Q.· ·Let me do it in a more succinct way here.
   22· ·On Page 44 here, you say, "The following analysis
   23· ·was performed by Schaefer Engineering.· When
   24· ·measured, the relatively flat" -- you can read what
   25· ·it says, "Due to the damage to and partial ejection

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   ·1· ·of the cell contents, the spacing between the jelly
   ·2· ·roll and the negative end could not be measured.
   ·3· ·The measured bowing of the negative end does not
   ·4· ·indicate any difference."· So I see a few things
   ·5· ·listed here.· You're talking about E-3, and in
   ·6· ·parentheses E-1.· Did you examine, with regard to
   ·7· ·battery pair 3-B 15, the E-1 through E-6 and the
   ·8· ·C-1 through C-6 items that you reference?
   ·9· · · · · · MR. BARTON:· Object to form.· Compound.
   10· ·Misstates the quotation of the report.· Go ahead.
   11· · · ·A.· ·And so what I'm doing here is, first of
   12· ·all, I am, as best as possible from Mr. Eskra's
   13· ·testimony and report, I come -- I try to take and
   14· ·help him formulate an organized criteria, so E-1
   15· ·through E-6 is my best interpretation of what he's
   16· ·saying both combined with his report and his
   17· ·testimony in this case.· If I went to a different
   18· ·case, it might be different, but again in this
   19· ·case, this is what he's saying in terms of his
   20· ·elimination criteria and his causal criteria, and
   21· ·by the way, he also says that that criteria could
   22· ·exist on a cell that was not causal to a fire.· For
   23· ·example, you know, these six causal criteria, C-1
   24· ·through C-6, these are things that I would look for
   25· ·in the causal cell, but all of these, any one of

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   ·1· ·these or all of these things could exist on a
   ·2· ·battery that was exposed to fire damage, so there
   ·3· ·is that about it.· So the examples I'm giving on
   ·4· ·the following pages after that discussion are
   ·5· ·pointing out inconsistencies in the application --
   ·6· ·when you apply his criteria and try to do some
   ·7· ·quantitative analysis, for example, on the bowing
   ·8· ·of the negative ends.· I'm trying to take this past
   ·9· ·where he says a little bit bowed or somewhat bowed,
   10· ·you know, he uses this soft terminology, so I'm
   11· ·trying to pinpoint, you know, what is he really
   12· ·saying here, so when I compare his cells, the
   13· ·bowing of the negative end or lack of bowing in the
   14· ·negative end and compare it to his cells and the
   15· ·other cells, these other cells appear to be more
   16· ·fit to the criteria than the cell he selected as
   17· ·the causal cell.
   18· · · ·Q.· ·(By Mr. Lesnick) So when you examined
   19· ·battery 3-B 15, did you go through E-1 through E-6
   20· ·as described in your report to analyze battery pair
   21· ·3-B 15?
   22· · · ·A.· ·Well, I'm only pointing out the items
   23· ·that -- it's not in the report, it's not something
   24· ·I evaluated on that particular cell for those
   25· ·particular points.

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   ·1· · · ·Q.· ·Okay.· So for battery pair 3-B 15, which
   ·2· ·Eskra methodology points, whether it's E-1 through
   ·3· ·E-6 or C-1 through C-6, did you utilize -- or I
   ·4· ·guess is discussed here in your report?· Let's ask
   ·5· ·it that way.
   ·6· · · ·A.· ·Sure.· I mean, the report speaks for
   ·7· ·itself.· If we look on Page 44, I talk about the
   ·8· ·bowing at the negative end there on the second to
   ·9· ·last paragraph, so there's no significant
   10· ·difference between the two, so how -- yeah, we've
   11· ·got how these pass the group cell with similar
   12· ·appearance and the bowing negative end criteria, so
   13· ·it's E-1 and E-3 that I'm talking about there,
   14· ·appears to be subjectively defined by Eskra as he
   15· ·simply cites external area difference, the bottom
   16· ·is rounded outward versus relatively flat, so I'm
   17· ·trying to come up with a measurable criteria by
   18· ·which we can apply the analysis of the bowing of
   19· ·the negative end and there just isn't any -- any
   20· ·number that works, because when you look at other
   21· ·cells and you compare group pairs of cells, I've
   22· ·got flat and more bowed or more flat and less bowed
   23· ·and those were ones that weren't evaluated.
   24· · · ·Q.· ·Okay.· I got you on what you evaluated,
   25· ·you talk about E-3 and E-1, and so you didn't

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   ·1· ·evaluate E-2, E-4, E-5 or E-6?
   ·2· · · ·A.· ·Let's look.· Let me break this report
   ·3· ·apart here so I can get the two in front of me.
   ·4· ·For this pair, I'm talking about criteria E-1 and
   ·5· ·E-3 of his elimination criteria.
   ·6· · · ·Q.· ·Did you evaluate E-2, E-4, E-5 and E-6 for
   ·7· ·this pair?
   ·8· · · ·A.· ·I don't believe so.· It's not included
   ·9· ·here in the analysis.
   10· · · ·Q.· ·Okay.· You talk about -- let me ask you
   11· ·this.· Did you evaluate C-1, C-2, C-3, C-4, C-5 or
   12· ·C-6 for that battery pair 3-B 15?
   13· · · ·A.· ·Some of these are corollaries to the
   14· ·other, and to the extent that, for example, C-6 is
   15· ·a corollary to E-3, to that extent, I did.· So I
   16· ·compared it on the E-3 criteria, so the corollary
   17· ·is C-6 where we got group cells with dissimilar
   18· ·appearance, which is the corollary E-3, which is
   19· ·group cells with similar appearance, so to that
   20· ·extent, yes.
   21· · · ·Q.· ·Page 46 here -- I'm sorry.· Not 46.· 48
   22· ·here, you analyzed cell pair 3-B 11, correct?
   23· · · ·A.· ·On Page 46?
   24· · · ·Q.· ·Sorry.· That's 48, I apologize.
   25· · · ·A.· ·Yes, okay.· So I'm on Page 48.· Now what's

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   ·1· ·the question?· Cell pair 3-B 11.
   ·2· · · ·Q.· ·You analyzed that cell pair, correct?
   ·3· · · ·A.· ·I used that as a reference to where the --
   ·4· ·his criteria does not work, correct.
   ·5· · · ·Q.· ·Okay.· I see that there's a C-1, C-2 and
   ·6· ·C-4 referenced here on the page.· Did you analyze
   ·7· ·C-3, C-5 or C-6?
   ·8· · · ·A.· ·I don't mention that.· I'm giving examples
   ·9· ·here, so I don't mention that in my example, but
   10· ·certainly I could go back and do that.· Again, I'm
   11· ·pointing out examples as to how his criteria just
   12· ·doesn't work.
   13· · · ·Q.· ·Have you done that already?· Analyzed
   14· ·those other three factors?
   15· · · ·A.· ·I don't talk about it in the report, so I
   16· ·would say that I have not done that analysis for
   17· ·this pair of cells.
   18· · · ·Q.· ·Page 50 talks about analysis of cell pair
   19· ·3-B 16, and as I look at the top --
   20· · · ·A.· ·I'm sorry?
   21· · · ·Q.· ·-- of Page 51 --
   22· · · ·A.· ·50, okay.
   23· · · ·Q.· ·50 talks about cell pair 3-B 16, figure 23
   24· ·and, any of 51, I think you discuss the analysis of
   25· ·it and you cite to C-1, C-2 and C-4.· For that one,

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   ·1· ·did you address or analyze C-2, C-3, C-5 -- I'm
   ·2· ·sorry.· C-3, C-5 or C-6?
   ·3· · · ·A.· ·I have not given that analysis of that
   ·4· ·pair of cells prior to today, but certainly I can
   ·5· ·do that.
   ·6· · · ·Q.· ·Page 52, you say the cell grouping meets
   ·7· ·all of expert Eskra's causal criteria, C-3.01,
   ·8· ·right?· That's what it says here?
   ·9· · · ·A.· ·That's what it says.· In fact, he refers
   10· ·to, in his suspect cell paper, he refers to 3-C,
   11· ·but the scans that are attached to it are not C-3.
   12· · · ·Q.· ·Where is the analysis that shows that it
   13· ·met C-1 through C-6 for this grouping in this
   14· ·report?
   15· · · ·A.· ·What do you mean where is the analysis?
   16· · · ·Q.· ·You say cell groupings meet all of Eskra's
   17· ·causal criteria, C-1 through C-6, so is there an
   18· ·analysis that accompanies that statement?· Maybe I
   19· ·missed it.· I'm just trying to figure out where in
   20· ·the report you discuss how it meets C-1 through
   21· ·C-6.
   22· · · ·A.· ·So I don't expound about that in a great
   23· ·amount of detail, but we can do that if you'd like.
   24· · · ·Q.· ·No, that's okay.· I was just asking where
   25· ·to find it in the report.· It's not in the report?

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   ·1· · · ·A.· ·No, but we can cover it right now, if
   ·2· ·you'd like.· We show it, clearly, if you look at
   ·3· ·the image in Figure 25 and the image in Figure 26,
   ·4· ·it points out some of the details of those battery
   ·5· ·cells.· For example, in Figure 25, looking at the
   ·6· ·center cell, the center cell looks generally flat,
   ·7· ·and the two outer cells look generally bowed, so
   ·8· ·from a quick visual, that would be -- that would
   ·9· ·cover C-1 where we got little to no bowing on the
   10· ·negative end of that center cell, little to no
   11· ·jelly roll extension to where the jelly roll hasn't
   12· ·moved on that center cell, little to no primary
   13· ·crimp extension applies.· If you look at the image,
   14· ·the crimp is still there and intact and not pushed
   15· ·out.· The jelly roll pushed to both the negative
   16· ·and positive end.· There's some encroachment of the
   17· ·jelly roll material into the head space near the
   18· ·cap end, and there's also encroachment into the
   19· ·head space at the negative end.· So it meets all
   20· ·that criteria.· The outer layers intact compared to
   21· ·the inner layers.· If you look at the material in
   22· ·the image there, you can see that we've got melting
   23· ·all the way into that center mandrel where we've
   24· ·got alteration of the cell layer all the way into
   25· ·the center mandrel with some of the outer layers

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   ·1· ·still intact, especially at the negative end.· And
   ·2· ·then group cells with dissimilar appearance,
   ·3· ·clearly we've got dissimilar appearance between the
   ·4· ·three cells in that grouping, so it meets all the
   ·5· ·criteria of C-1 through C-6 and yet --
   ·6· · · ·Q.· ·Let me back up --
   ·7· · · ·A.· ·-- that one was not --
   ·8· · · ·Q.· ·I'm sorry.· Was there more?
   ·9· · · ·A.· ·Yes.· And that one was not scanned by
   10· ·Eskra and it was already eliminated, however, if
   11· ·you go to his -- again if you go back to that
   12· ·exhibit we talked about earlier, he starts talking
   13· ·about 3-C being his suspect cell, but the images
   14· ·that he attaches in his report are not of 3-C.
   15· · · ·Q.· ·So on Page 48 and 49, we're talking about
   16· ·3-B 11.· Did you find any -- in this section here,
   17· ·did you find any distortion along the walls of the
   18· ·cell in Figure 20?
   19· · · · · · MR. BARTON:· In 20?
   20· · · ·A.· ·In Figure 20, we've got a cell pair and if
   21· ·we call the cell on top the A battery and the cell
   22· ·on the bottom of Figure 20, we have more distortion
   23· ·in the B cell than we do in the A cell.
   24· · · ·Q.· ·(By Mr. Lesnick) Did you address that in
   25· ·your report anywhere?

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   ·1· · · ·A.· ·No, it's obvious in the image, so I
   ·2· ·address it by including the image to show what the
   ·3· ·image shows.
   ·4· · · ·Q.· ·In Figure 23 on Page 50, is there
   ·5· ·distortion along the walls in the cells on Figure
   ·6· ·23?
   ·7· · · ·A.· ·Okay.· So you're on Figure 23 on 50?
   ·8· · · ·Q.· ·Yes.
   ·9· · · ·A.· ·Again so we've got two cells in Figure 23
   10· ·called the top cell A and bottom cell B for
   11· ·reference.· The top cell has some distortion along
   12· ·the walls at various points and the bottom cell has
   13· ·distortion towards the cap end or the positive end
   14· ·in the bottom section.· You're not here so I can't
   15· ·mark to show that distortion, but certainly there
   16· ·are areas of distortion in that cell.
   17· · · ·Q.· ·Let's go to Page 53.
   18· · · ·A.· ·And it looks very similar to what's in
   19· ·Figure 22.
   20· · · ·Q.· ·Page 53 has CT cross-sections of group 3-B
   21· ·12 and you have an analysis of that.
   22· · · ·A.· ·What --
   23· · · ·Q.· ·Did you analyze --
   24· · · ·A.· ·What page are you on?
   25· · · · · · MR. BARTON:· 53.

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   ·1· · · ·Q.· ·(By Mr. Lesnick) 53.
   ·2· · · ·A.· ·Yes.
   ·3· · · ·Q.· ·53, there's a picture of 3-B 12, what
   ·4· ·steps of the Eskra method you outlined did you
   ·5· ·perform in your analysis of 3-B 12?
   ·6· · · ·A.· ·Let me walk through this just for a
   ·7· ·minute.· I'm comparing that grouping of cells to
   ·8· ·3-B 15, and what we're really talking about there
   ·9· ·is E-3, C-6, where you've got a grouping of cells
   10· ·that externally are different that you want to do a
   11· ·further deep dive on, and yet, what we see in 3-B
   12· ·12 is we've got cells that are -- that have
   13· ·combinations of ejected/not ejected, bulged
   14· ·ends/not bulged ends, flat ends, various states of
   15· ·condition of the jelly roll and two that appear to
   16· ·be almost nearly ejected, so when you compare that,
   17· ·when you compare those images to what we have in
   18· ·3-B 15, the criteria wasn't applied to what has
   19· ·been done in 3-B 12, that dissimilar material.
   20· · · ·Q.· ·Other than addressing E-3 and C-6 that you
   21· ·talk about, did you analyze the other Es and Cs
   22· ·with these images?
   23· · · · · · MR. BARTON:· Asked and answered.· The
   24· ·witness literally just testified to that.
   25· · · ·A.· ·Yes, if you look at the left image of

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   ·1· ·Figure 27, there are five cells there and some of
   ·2· ·those have flat anodes and some of them have bulged
   ·3· ·anodes and flat and bulged is a subjective thing
   ·4· ·because there's not a measurement that Mr. Eskra
   ·5· ·can tell us fits his criteria, how flat and how
   ·6· ·bowed is it that puts it into one category or the
   ·7· ·other, and that's part of what we're seeing here in
   ·8· ·this section of the report.· The other part is you
   ·9· ·can see we've got various stages of pushing of the
   10· ·jelly roll into the head space of the anode and
   11· ·cathode ends to various degrees.· We've got a gas
   12· ·pocket, for example, on the fourth cell down on the
   13· ·left and no gas pocket on the third cell down, so
   14· ·when you start applying all these criteria, you can
   15· ·tell that 3-B 12 is one that fits his criteria for
   16· ·requiring further analysis, and yet, there was no
   17· ·further analysis done.· It was just skipped over
   18· ·and when you compare that criteria to what he's
   19· ·saying about 3-B 15, they're very similar in the
   20· ·differences between the cells.· One of these things
   21· ·is not like the other.
   22· · · ·Q.· ·(By Mr. Lesnick) I'm going to pull up what
   23· ·we're going to mark as Exhibit 18, and I promise
   24· ·you.· I'm very close to being finished.
   25· · · · · · (Plaintiff's Exhibit 18 marked for

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   ·1· · · · · · · · · · ·identification.)
   ·2· · · ·Q.· ·This was a document that was provided to
   ·3· ·us last night called Samsung Specification of a
   ·4· ·Product, supposedly it's in your file material.· Do
   ·5· ·you recognize this document?
   ·6· · · ·A.· ·Yes.
   ·7· · · ·Q.· ·Okay.· What is this?
   ·8· · · ·A.· ·Actually.· I didn't have it in the actual
   ·9· ·project file one from -- one from -- it's based on
   10· ·a spec sheet on a particular Samsung battery.· It
   11· ·has one of the batteries that the Makita production
   12· ·says they include in their battery packs.· So
   13· ·they've got this battery from Samsung plus two
   14· ·others from Sony or some later Sony company,
   15· ·Murata.
   16· · · ·Q.· ·Okay.
   17· · · ·A.· ·So this is just one --
   18· · · ·Q.· ·Did you find any Samsung battery -- did
   19· ·you find any Samsung batteries at the site or
   20· ·collected from the site when you gathered the
   21· ·evidence?
   22· · · ·A.· ·None of the cells had cell identification
   23· ·markings on them that survived, with the exception
   24· ·of the one that was in the parking lot, and we went
   25· ·over that in my notes this morning.· I'd have to go

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   ·1· ·back and look and see what that one says.· It's
   ·2· ·been a long time ago.
   ·3· · · ·Q.· ·Now, in terms of this matter, you've
   ·4· ·completed all the investigation and review of the
   ·5· ·materials that you're required in order to
   ·6· ·determine an area of origin, right?
   ·7· · · ·A.· ·Correct.
   ·8· · · ·Q.· ·Okay.· In this particular matter, you've
   ·9· ·completed all of the investigation review of
   10· ·materials required in order to determine that a
   11· ·battery or battery tool or battery charger did not
   12· ·cause the fire, correct?
   13· · · ·A.· ·Can you give that to me one more time?· It
   14· ·was kind of a long question there.
   15· · · ·Q.· ·Yeah.· In terms of this particular matter,
   16· ·you've completed all of the investigation and
   17· ·review of the materials you required in order to
   18· ·determine that a battery or a battery tool or
   19· ·battery charger was not the cause of the fire,
   20· ·correct?
   21· · · ·A.· ·That's correct.
   22· · · ·Q.· ·Your ultimate opinion about the fire's
   23· ·cause, you didn't come up with an opinion on that,
   24· ·correct?
   25· · · · · · MR. BARTON:· Object to form.· Misstates

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   ·1· ·the testimony today and his report.· Go ahead.
   ·2· · · ·A.· ·Presently, it's undetermined.· The cause
   ·3· ·is undetermined.· That is an --
   ·4· · · ·Q.· ·(By Mr. Lesnick) That okay.· So your
   ·5· ·present opinion is that it's undetermined?
   ·6· · · ·A.· ·It's undetermined.
   ·7· · · ·Q.· ·You didn't analyze any other ignition
   ·8· ·sources, right?· Other than the ones we discussed
   ·9· ·during this deposition, correct?
   10· · · · · · MR. BARTON:· Asked and answered.
   11· · · ·A.· ·There's been a lot discussed, other
   12· ·ignition sources discussed during this deposition,
   13· ·so if you include all those, yes.· I've not done
   14· ·anything other than what we've talked about.                           I
   15· ·gave you some examples of other potential ignition
   16· ·sources.
   17· · · ·Q.· ·(By Mr. Lesnick) Was there any material or
   18· ·evidence that you weren't able to review that
   19· ·hindered your conclusions in that matter or forming
   20· ·of your conclusions in this matter?
   21· · · · · · MR. BARTON:· Objection.· Vague and
   22· ·compound.· Calls for speculation and parts of it
   23· ·were asked and answered earlier today.· Go ahead.
   24· · · ·A.· ·I wasn't able to look at the x-rays that
   25· ·form the bases of some of the opinions that have

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   ·1· ·been offered by the plaintiff expert team.· They
   ·2· ·relied on those x-rays as part of their
   ·3· ·investigation.· I have not seen those.· I have
   ·4· ·requested them.· Other than that, I can't think of
   ·5· ·anything else at this point.
   ·6· · · ·Q.· ·All right.· Give me two minutes.· I may be
   ·7· ·done.· I don't have any more questions for you, Mr.
   ·8· ·Reagan, so thank you for your time today.· I know
   ·9· ·this was really long, so I appreciate you sitting
   10· ·through this whole thing.
   11· · · · · · MR. BARTON:· The witness will read and
   12· ·sign.
   13· · · · · · VIDEOGRAPHER:· This deposition is
   14· ·concluded at 3:53 p.m.
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   ·1· · · · · · · STATE OF MISSOURI.
   ·2
   ·3· · · · · · · · · · · · · · · · · ·SS.
   ·4· · · · · · CITY OF ST. LOUIS
   ·5
   ·6· · · · · · I, Margaret M. Perry, qualified and
   ·7· ·authorized to administer oaths and to certify to
   ·8· ·depositions, do hereby certify that pursuant to
   ·9· ·Notice in the civil cause now pending and
   10· ·undetermined in the United States District Court,
   11· ·Eastern District of Missouri, Eastern Division, to
   12· ·be used in the trial of said cause in said court, I
   13· ·was attended by the aforesaid witness; and by the
   14· ·aforesaid attorneys; on MAY 10, 2023.
   15· · · · · · That the said witness, being of sound mind
   16· ·and being by me first carefully examined and duly
   17· ·cautioned and sworn to testify the truth, the whole
   18· ·truth, and nothing but the truth in the case
   19· ·aforesaid, thereupon testified as is shown in the
   20· ·foregoing transcript, said testimony being by me
   21· ·reported in stenotype and caused to be transcribed
   22· ·into typewriting, and that the foregoing pages
   23· ·correctly set forth the testimony of the
   24· ·aforementioned witness, together with the questions
   25· ·propounded by counsel and remarks and objections of

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   ·1· ·counsel thereto, and is in all respects a full,
   ·2· ·true, correct and complete transcript of the
   ·3· ·questions propounded to and the answers given by
   ·4· ·said witness; that the signature of the deponent
   ·5· ·was not waived by agreement of counsel.
   ·6· · · · · · · · ·I further certify that I am not of
   ·7· · ·counsel or attorney for either of the parties to
   ·8· · ·said suit, not related to nor interested in any
   ·9· · ·of the parties or their attorneys.
   10· · · · · · Witness my hand at St. Louis, Missouri,
   11· ·this 16th day of May, 2023.
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   ·1· · · · · ·May 16, 2023
   ·2· · · · · ·Mr. Jonathan Barton
   ·3· · · · · ·Ms. Megan Oliver
   ·4· · · · · ·Stanton Barton
   ·5· · · · · ·8000 Maryland Avenue
   ·6· · · · · ·Clayton, Missouri· 63105
   ·7· · · · · ·(314) 455-6500
   ·8· · · · · ·jbarton@stantonbarton.com
   ·9· · · · · ·moliver@stantonbarton.com
   10
   11· · · · · RE:· Deposition of John Reagan
   12· · · · · Date:· May 10, 2023
   13· · · · · Case:· American Assurance vs. Makita
   14
   15· · · · · Mr. Barton,
   16
   17· · · · · Your witness did not waive the right to
   18· ·read and sign his/her deposition in the
   19· ·above-referenced matter.· Enclosed is the copy
   20· ·of the deposition you ordered, together with
   21· ·errata sheets and additional signature page.
   22· ·Please instruct your witness to read the
   23· ·transcript, list any corrections (including page
   24· ·and line number) On the errata sheets, sign and
   25· ·date the errata sheets and signature page.

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   ·1
   ·2· · · · · Within 30 days, please return the errata
   ·3· ·sheets and signature page to our office for
   ·4· ·further processing.· Your prompt cooperation
   ·5· ·will be appreciated.
   ·6
   ·7· · Sincerely,
   ·8
   ·9
   10· · 360 Litigation Services
   11· · Production Department
   12· · 10097 Manchester Road, Suite 102
   13· · St. Louis, Missouri· 63122
   14· · (314) 394-2206 (main)
   15· · (314) 394-2287 (fax)
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   ·1· · · ·Comes now the witness, JOHN REAGAN, and
   ·2· ·having read the foregoing transcript of the
   ·3· ·deposition taken, acknowledges by signature
   ·4· ·hereto that it is a true and accurate transcript
   ·5· ·of the testimony given on the date hereinabove
   ·6· ·mentioned.
   ·7
   ·8
   ·9
   10· · · · · __________________________________
   11· · · · · JOHN REAGAN
   12
   13
   14· · · · · Subscribed and sworn to me before
   15· ·this_____day of _______________________, 2023.
   16
   17
   18· · · · · My Commission expires:
   19
   20
   21
   22
   23· · _______________________________
   24· · · · · Notary Public.
   25

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   ·1· · · ·COURT REPORTER'S CERTIFICATE
   ·2· · FOR FILING OF ORIGINAL TRANSCRIPT
   ·3
   ·4
   ·5· ·American Assurance vs. Makita
   ·6· ·Deposition of John Reagan
   ·7· ·May 10, 2023
   ·8
   ·9· ·Reported by:· Margaret M. Perry, CCR.
   10
   11
   12· ·ATTORNEY HOLDING ORIGINAL TRANSCRIPT:
   13
   14· ·Mr. Ben Lesnick
   15· · Denenberg Tuffley
   16· · 28411 Northwestern Highway
   17· · Southfield, Michigan· 48034
   18· · (248) 549-3900
   19· · blesnick@dt-law.com
   20
   21
   22· ·TAXING INFORMATION
   23
   24· ·Tax Behalf of PLAINTIFF
   25· ·Mr. Ben Lesnick

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   ·5· · blesnick@dt-law.com
   ·6· · ORIGINAL/COPY· · · · ·$
   ·7
   ·8· · ATTENDANCE· · · · · · $
   ·9
   10· · OTHER· · · · · · · · ·$
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   12· · TOTAL TAX· · · · · · ·$
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   15
   16· ·TAX BEHALF DEFENDANT
   17· ·Mr. Jonathan Barton
   18· · Ms. Megan Oliver
   19· · Stanton Barton
   20· · 8000 Maryland Avenue
   21· · Clayton, Missouri· 63105
   22· · (314) 455-6500
   23· · jbarton@stantonbarton.com
   24· · moliver@stantonbarton.com
   25· ·COPY· · · · · · · · · ·$

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